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 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Frid ay, June 30 , 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 9:03 a.m.

13      THIS TRANSCRIPT REPRESENTS THE PRODUCT
        OF AN OFFICIAL REPORTER, ENGAGED BY
14      THE COURT, WHO HAS PERSONALLY CERTIFIED
        THAT IT REPRESENTS TESTIMONY AND PROCEEDINGS              AS
15      RECORDED AND REQUESTED BY COUNSEL.

16      APPEARANCES:

17      On behalf of the Plaintiff:

18      DEBORAH JOHNSTON, Esquire
        BONNIE GREENBERG, Esquire
19
        On behalf of the Defendants:
20
        MICHAEL MONTEMARANO, Esquire
21      ANTHONY MARTIN, Esquire
        MARC HALL, Esquire
22      TIMOTHY MITCHELL, Esquire
        PETER WARD, Esquire
23      EDWARD SUSSMAN, Esquire
        HARRY MCKNETT, Esquire
24
   Tracy Rae Dunlap, RPR, CRR                         (301) 344-3912
25 Official Court Reporter




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 1                              I N D E X

 2                               CROSS

 3 Christopher Sakala             4

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23 Reporter's Certificate                                   180

24 Concordance                                              181

25



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 1            THE COURT:       I think we're down one juror right

 2 now , but let 's see if that 's change d.

 3            MS. JOHNSTON:       Your Honor , we had some

 4 discussion s las t night , and the          witness    who 's at John s

 5 Hopkins    and on vacation       next week we've decide d just to

 6 call him on Tuesday , July 11 .

 7            THE COURT:       Okay .

 8            MS. JOHNSTON:       We don't have to interrupt

 9 cross-examination       .

10            MR. MONTEMARANO:          Regard ing scheduling , Your

11 Honor , is it your intention           to do next Friday     what you

12 have done the last two Friday s?             Not that we need an

13 answer    now , but I want ed to bring it to the Court 's

14 attention     soon er is better       than later .

15            THE COURT:       It 's a good question      because    --

16 maybe .    I have a den tist appointment         at 8:00 and I've

17 got a sentenci ng at 9:00 that I'm going to try to move ,

18 and I don't know        what success      we've had in try ing to do

19 it .   If we -- if I have        success    in it , I'll try to

20 start at 9:00 and do the same thing .                Worst case

21 scenario     is it 's at 10:00 and I'm not going to go all

22 the way until 4:30 on a Friday .

23            MR. MONTEMARANO:          Just asking , Your Honor .

24            THE COURT:       We'll start next week on Wednesday

25 at 10:00 .




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 1            THE CLERK:      They're    here .     Are you ready ?

 2            THE COURT:      Yeah .    Bring them in .

 3            (Witness    resume s the stand        at 9:06 a.m. )

 4            (Th e jury return s at 9:06 a.m. )

 5            THE COURT:      Good morn ing , ladies and gentlemen           .

 6 We're on our Friday         drill today .        I'm going   to get you

 7 out of here by 2:00 .         We will resume        next Wednesday    at

 8 10:00,     and I'm going to try to see if we can do the

 9 same thing next Friday , maybe , but I've got one

10 scheduling      issue I've got to work out , and I'll let you

11 know next week on that .

12            MR. HALL:     Thank you , your Honor .

13            BY MR. HALL:

14 Q.         Sergeant , I believe       when we left off yesterday ,

15 we were talk ing about a series               of phone call s on April

16 25 and 26 .        Do you recall     that ?

17 A.         Do you have a page number ?

18 Q.         Yeah .    Let me direct     you to Page 38 6, Call

19 B4426 .

20 A.         38 6?

21 Q.         Yes .

22 A.         Okay .

23 Q.         Do you have that call ?

24 A.         Yes .

25 Q.         I believe    that you had ex press ed an opinion          that




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1 you believe d that Mr. Whiting            was going   to come over to

2 Ms. Martin 's house follow ing that phone call , that that

3 was the implication ; is that correct ?

4 A.          Yes .

5 Q.          Okay .   Now , I've noticed      that in past

6 circumstance s, when two individuals             that are allege d to

7 be part of this conspiracy             were meet ing , that a number

8 of time s you or somebody          else at the listening       post

9 would dis patch someone         to do surveillance ; is that

10 correct ?

11 A.         Sometimes    we would , yes .

12 Q.         And there was no surveillance          set up on this

13 particular      occasion    with the thought     that Mr. Whiting

14 might be comi ng over , was there ?

15 A.         I don't know     without    look ing at the surveillance

16 report s.      I could n't tell you .

17 Q.         And you -- at the time there was a pole video

18 camera     providi ng individual       tape d record ing of people

19 going in and out of the house ; is that correct ?

20 A.         That is correct .

21 Q.         Okay .   And you would agree with me that there 's

22 been no video shown here in the courtroom               of Mr.

23 Whiting     comi ng over that day , has there ?

24 A.         I do not know .      I haven't    been in here the whole

25 time , but it has not been shown with me .




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1 Q.          During    the time you've     been in here , nothing         has

2 been shown ; is that right ?

3 A.          That 's correct .

4 Q.          Okay .    Now , let me jump ahead to one of the

5 other call s in the series          we were talk ing about

6 yesterday       that occur s on Page 390.        It's call B4442 for

7 the record .         Do you have that one ?

8 A.          Yes , I do .

9 Q.          There 's a discussion      in that phone call of an

10 individual      not being able to go to see Gwen Levi at the

11 Baltimore      jail ; is that correct ?       No one could go in to

12 see her on Sunday ?

13 A.         Yes , that 's correct .

14 Q.         Okay .    And are you aware that at the Baltimore

15 city jail , that there is no visiting            allow ed on Sunday s

16 even for attorney s?

17 A.         No , I am not familiar       with that .

18 Q.         You're    more familiar    with the visiting

19 practice s, I guess , at Seven Lock s or --

20 A.         I don't even know that I'd go that far .             I'm not

21 familiar     with the visiting       practice s of either      jail .

22 Q.         All right .     Now , do you recall     yesterday    we also

23 talk ed about a Telephone         Call No. 4456 , which was on a

24 loose piece of paper that was hand ed out to the jury ?

25 A.         Yes .




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 1 Q.         Okay .   And I believe     you ex press ed in the answer

 2 to one of the government 's question s that Mr. Whiting ,

 3 to your knowledge , was not admitted             to the bar

 4 any place ; is that correct ?

 5 A.         I don't know     if I said any place .      I think

 6 Maryland , but .

 7 Q.         Okay .   You did    check Maryland ?

 8 A.         Yes.

 9 Q.         Ar e you aware whether       or not   Mr. Whiting     went to

10 law scho ol ?

11 A.         I can't say that I am , no .

12 Q.         Okay .   All right .     That 's fine .    All right .

13 Now , let me ask you to jump forward             to Page 39 6, Call

14 4506 .     Tell me when     you have that one .

15 A.         I have it .

16 Q.         Okay .   Now , in that telephone        call , there is

17 some discussion       of Mr. Whiting      taking   a look at the

18 charge s against      Ms. Levi ; is that correct ?

19 A.         That is correct .

20 Q.         Okay .   Now , as a police officer , I am well aware

21 of the fact that you , any number           of time s, would have

22 fill ed out a chargi ng document          when you've    made an

23 arrest     on somebody ; is that correct ?

24 A.         That 's correct .

25 Q.         And in state court , the procedure          is get a




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 1 chargi ng document , you take it to the commission er , it

 2 become s part of the district          court file ; is that right ?

 3 A.         That 's correct .

 4 Q.         Okay .   And that 's a matter       of public   record ; is

 5 it not ?

 6 A.         I believe    so .   I'm not a hundred      percent , but I

 7 believe     that it is public      record .

 8 Q.         Okay .   Now , I want to direct       your attention      not

 9 to a specific       phone call for a few minute s but to a

10 period     of time mid -May of 2004 .         Would you agree with

11 me that there were a series           of phone call s in which Ms.

12 Martin     ex press ed concern    about a neighborhood       meet ing ?

13 A.         Yes .

14 Q.         And the gist of that -- of those phone call s was

15 that a number       of neighbor s had had a meet ing with the

16 Takoma     Park police ; correct ?

17 A.         Correct .

18 Q.         And that as a result       of that , you ex press ed some

19 opinions     that Ms. Mart in move d her operation          drug

20 business , whatever       you want to call it , from the house

21 on Hayward      to the studio , which is in Washington ,

22 D. C.; is that correct ?

23 A.         That is my opinion .       I think that 's what she

24 said , yes .

25 Q.         Would you agree with me that there were a number




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1 of phone call s in which she had contact              with either

2 individuals       who may be on trial here or other

3 individuals       in which she repeat ed that story ?

4 A.          That is correct .

5 Q.          Okay .   And would you also agree with me that if

6 somebody      is in the drug business , that moving           the

7 location      of their operation       from one place to another

8 is a rather       significant     event ?

9 A.          Yeah .   I would say you could say that , yes .

10 Q.         Well , your customers      would need to know where

11 they could meet you , right ?

12 A.         Yeah .   I don't know     that I'd say your customers

13 necessarily      need to know where you keep your drug s, but

14 certain ly they need to know where to meet you , yes .

15 Q.         And it certain ly would have been a significant

16 event in your investigation , something             you would

17 certain ly have taken note of , right ?

18 A.         Sure, and we did , yes .

19 Q.         And would you agree with me that follow ing the

20 re location , that there is no record           in any of the call s

21 that were play ed before         the jury of Ms. Martin       tell ing

22 Mr. Whiting      that she had re locate d her drug operation ?

23 A.         I believe    that 's accurate , yes .

24 Q.         In fact , if you turn to Page 535 , which would be

25 in the third of the book s, Ms. Whiti ng speak s to Mr.




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 1 -- I mean , excuse     me , Ms. Martin    speak s to Mr.     Whit ing

 2 that day , does she not ?       In the call on Page 535 ?

 3 A.       Yes , she does .

 4 Q.       Okay .   And that would be the 17 th of May ;

 5 correct ?

 6 A.       Yes .

 7 Q.       That would be the day after she move d

 8 everything ; correct ?

 9 A.       Yeah , I believe    the 16th , yes .

10 Q.       Okay .   Now , I believe    you indicated      that your

11 investigation     in this case was about two year s in this

12 case ?

13 A.       Prior to the arrest .       It continued      after .

14 Q.       The bulk of the arrest       or as Mr. Montemarano

15 call ed it , raid day , was the 1st of June , 2004 ; is that

16 correct ?

17 A.       Yes .

18 Q.       I belief   it was   the 1st .

19 A.       Yes , 1st and 2nd .

20 Q.       First an d second .     And the investigation           would

21 have been two year s prior to that ; correct ?

22 A.       A little   le ss than two year s.

23 Q.       Little   less than two year s.       Okay .    And so , out

24 of this -- would you agree with me that out of this

25 two -year time period , you had a wiretap          going for about




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1 three month s of it ?

2 A.        Yes .

3 Q.        And would you also agree with me that during

4 this three -month time period         that there has not been

5 play ed in front of this jury a single           phone call in

6 which Ms. Martin       and Mr. Whiting     make an agreement       and

7 Mr. Whiting       buy s drug s, set a price and set a time and

8 place to meet ?

9 A.        I would agree with those parameter s, yes .

10 Q.       Okay .    Now , I want to show you an exhibit           that

11 has been introduced .       This is referred     to as Hayward -7.

12 Are you familiar      with this particular      document ?

13 A.       yes , I am .

14 Q.       Okay .    And for the record , this is a notebook ;

15 correct ?

16 A.       Correct .

17 Q.       Okay .    And in the notebook , I believe        you

18 testifi ed earlier      that there were a series       of figure s

19 which you gave the opinion        were drug transactions         --

20 drug talli es or figure s; is that correct ?

21 A.       Correct .

22 Q.       Okay .    Now , would you agree with me also , and

23 feel free to take a look at the book again if you need

24 to , that there 's a lot of thing s in this notebook ?

25 A.       I agree with that , yes .




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 1 Q.       Okay .   There is phone number s and address es ?

 2 A.       Yes .

 3 Q.       Okay .   There 's note s that somebody       has written

 4 such as to -do list s or re mind er s of various        thing s; is

 5 that correct ?

 6 A.       That is correct .

 7 Q.       And some of the phone number s may be people            that

 8 we've heard about during        the course    of this case and

 9 some of them may be totally        un related ; is that correct ?

10 A.       They may be people      we have not heard about .

11 Q.       Okay .   There 's also phone number s for business es

12 in here , right ?

13 A.       There may be .     I don't recall     off the top of my

14 head .

15 Q.       Let 's take a look .

16          For example    on this page , which would be the

17 back of the fourth      page of the book , do you see a phone

18 number   for a doctor , for example ?

19 A.       Are you talk ing about the top line here ?

20 Q.       Yes .

21 A.       It says Dr. Shu or Shub and appears to            have a

22 phone number .

23 Q.       Has a phone number ; correct ?

24 A.       Yes .

25 Q.       On very next page , there 's a phone number .           It




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 1 says Larue Hill , or there 's a name Larue Hill and phone

 2 number .     And what does it say above Larue Hill right in

 3 the middle     of the page ?

 4 A.         Seam stress   Larue Hill and then a phone number .

 5 Q.         Okay .   And just another    example   of a business

 6 that might be in here , what is the name and phone

 7 number     at the top of the very next page after that ?

 8 A.         Look s like Amtrak .   I think it might say

 9 convention , and then it has a series          of phone number s

10 follow ed by time s underneath .

11 Q.         Appear s to be train time s; right ?

12 A.         I don't know .

13 Q.         It may be?

14 A.         Could be .

15 Q.         Now , let me show you another      page .    There 's a

16 notation     of children 's clothe s; is that correct ?

17 A.         It says children 's clothe s, sweat er s for self ,

18 and then it has par en , Larry , just for Paula 's

19 information , and then it 's got what may be a poem of

20 some type .

21 Q.         Okay .   Let me show you this page .        Do these --

22 read down to the phone number          and what it says there .

23 A.         Under wear /silk /top -- oh , top L; bottom      M; two

24 dash pack s of T-shirt ; four under wear , bottom          M; one

25 black belt ; sock s, black , brown , blue , gray; sleep wear ,




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1 silk .   1-80 0- 584 -3666 .

2 Q.        You would agree with me , would you not , those

3 appear   to be reference s to clothi ng ; would n't you ?

4 A.        I would agree that that reference          right there

5 does , yes .

6 Q.        No reason    to believe    that under wear has -- is a

7 drug code ; right ?

8 A.        Not with that context , no .

9 Q.        Would you also agree with me that in that book ,

10 there is no notation      for Reece Whiti ng 's phone number ?

11 A.       I was look ing through      that this morn ing and I

12 think it might be in there .         I'd have to look .

13 Q.       Do you think it is?        Could you find it ?

14 A.       If you give me the book .        I'd   have to look

15 again , but I think it is .        I may be wrong .

16 Q.       Hand ing him the book .

17 A.       I do not see it .

18 Q.       Okay .    Now , Mr. Whiting    was arrested    on June

19 1s t; is that correct ?

20 A.       I don't remember      if he was arrested      on the 1st

21 or the 2nd .      One of those two day s yes .

22 Q.       He was arrested      at the beginning     of June ; right ?

23 A.       Yes .

24 Q.       No drug s were    found on him when he was arrested ;

25 were they ?




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1 A.         I'm not aware of any , no .

2 Q.         And nothing   found at the house where he was

3 living ?

4 A.         I do not believe       we search ed his house .

5 Q.         Okay .   All right .     And would you agree with me ,

6 out of the universe       of phone call s that were play ed

7 here in court , all of Mr. Whiting 's phone call s were

8 with Ms. Martin ; is that correct ?             The ones we play ed

9 in court ?

10 A.        I belie ve that is correct , yes .

11 Q.        There is no phone call s between         Mr. Whiting   and

12 Mr. Goodwin ; right ?

13 A.        There were no phone call s play ed in court

14 between   Mr. Whiting    and Mr. Goodwin ; that is correct .

15 Q.        The same would be true for Mr. Bynum , Ms. Dobie ,

16 Ms. Harden ; is that correct ?

17 A.        There were no phone call s play ed in court

18 between   those individuals .

19 Q.        That 's what I'm asking      you .    Finally , there was

20 one phone call in which Ms. Ali answered             the phone at

21 Ms. Martin 's house ; is that right ?

22 A.        Yes , there was .

23 Q.        And Mr. Whiting     and Ms. Ali ex changed

24 pleasant ries ; is that right ?

25 A.        That 's correct .




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 1 Q.        You would agree with me that there was no

 2 discussion    of drug s in that phone call between              Ms. Ali

 3 and my client , Mr. Whiting ; is that right ?

 4 A.        Yeah .   I think she just answer ed the phone and

 5 put Ms. Martin     on .    That 's my recollection .

 6 Q.        Let me direct      you to the phone call then .          Look

 7 on Page 610 , Call 8064 on May 28 , 2004 .

 8 A.        Yes , that 's -- she answer s the phone .         They talk

 9 brief ly and then Ms. Martin        get s on the line .

10 Q.        Okay .   So it 's just an ex change        of pleasant ries

11 between   those two ?

12 A.        That 's correct .

13 Q.        Thank you .

14           MR. HALL:       That 's all I have , Your Honor .

15           THE COURT:       All right .   Mr. Mitchell ?

16                            CROSS-EXAMINATION

17           BY MR . MITCHELL:

18 Q.        Good morn ing , Detective      Sakala .

19 A.        Good morning .

20 Q.        I'm sorry , it's Sergeant       Sakala ; correct ?

21 A.        Yes .

22 Q.        I'm going to try not to repeat            a lot of the

23 question s, but I'm going to direct            your question s to

24 issue s that relate       to my client , Derrick      Bynum .

25           Going back to your qualification s and how you




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 1 came to your opinion , you based all of your opinion s on

 2 your train ing and experience ; correct ?

 3 A.       Train ing , experience     and the phone call s

 4 themselves    and document s re covered , I think I've been

 5 asked about .

 6 Q.       Right .   But reach ing that opinion , you look to

 7 your train ing and experience        to come up with     theori es

 8 of what these call s meant ; correct ?

 9 A.       That is certain ly part of it , yes .

10 Q.       And these theori es that you came to result ed in

11 your opinion s that you present ed to the jury ; correct ?

12 A.       I'm sorry , could you say that one more time .

13 Q.       The theori es that you reach ed on each one of

14 these phone call s result ed in your ex pert opinion            to

15 the jury ; correct ?

16 A.       I would agree with that , yes .

17 Q.       Because   really , they're     theori es because    you

18 certain ly don't know exact ly what the call er s were

19 say ing ; correct ?

20 A.       I would dis agree with that .

21 Q.       Well , I mean , you -- at least       as far as    I know ,

22 there are very few people        that can actual ly read minds ;

23 correct ?

24 A.       As far as    I know , that 's correct .

25 Q.       You could n't read the minds of these call er s?




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 1 A.        That is correct .

 2 Q.        And you weren't      present   for any of the phone

 3 call s, so you didn't       see what they did ?

 4 A.        I was as present      as either    participant    was to

 5 the phone call .

 6 Q.        But I'm say ing you weren't        in side the house or

 7 next to these people        to watch what they were do ing .

 8 A.        Neither    was the other person      on the other phone

 9 line , so I was as present        as you could be for a phone

10 call .

11 Q.        For example , when Ms. Martin        was speak ing , you

12 weren't    stand ing next to    her listen ing to     her and

13 watch ing her direct ly ?

14 A.        I was not stand ing next to        Ms. Martin    when she

15 was on the       phone , that 's correct .

16 Q.        Would you also agree with me you could n't really

17 say for certain       what it is that individuals         were

18 physically       do ing when they got off the phone or even

19 when they were on the phone because           you weren't        there ?

20 A.        That 's not correct .

21 Q.        So would you -- are you say ing , then , that you

22 know what Ms. Martin        did within   her home ?

23 A.        There are time s, yes .

24 Q.        You watch ed her in her home ?

25 A.        No .




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 1 Q.       How would you know what she was do ing In side her

 2 home if you weren't       watch ing ?

 3 A.       To provide     an example , you can hear background

 4 noise of what she 's do ing .         She will de scribe    what

 5 she 's do ing .     That 's not in every case to say what

 6 she 's physically      do ing Be sides talk ing on the phone ,

 7 but there are certain       instance s where you can tell

 8 exact ly what she 's do ing .

 9 Q.       When she's no t on the phone , you have           no idea

10 what she 's do ing .

11 A.       When she is not on the         phone , that is correct .

12 I think your question       said when she was on the phone ,

13 but when she is not on the           phone , that is correct .

14 Q.       Okay .     Now , because    you've   reach ed these

15 theori es , is there any chance         that your theori es might

16 be slight ly off , might be slight ly different            than what

17 you reach ed -- how you reach ed your opinion ?             Or are

18 you certain       that your opinion s are , without     fail ,

19 correct ?

20 A.       I'm not sure what you mean by theori es , but I am

21 confident   in the opinion s I've state d here in court ,

22 yes .

23 Q.       Okay .     Now , relating    to Mr. Bynum , when was the

24 first time that you learn ed of Mr. Bynum within               this

25 conspiracy ?




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 1 A.       He was identifi ed pretty        early on .   We had

 2 intercept ed call s, I think , and had him as Bo or Bolo ,

 3 but I think very early on I went down to the

 4 surveillance      and observe d Mr. Bynum , and that 's how we

 5 initial ly identifi ed him .        His name probably , and I'm

 6 sure did , probably      come up on the pin register s that

 7 were up before      we were intercept ed , but that would just

 8 be as a subscriber       to telephone .

 9 Q.       Let 's go to how you identifi ed Mr. Bynum .

10          Did y ou ever speak to Mr. Bynum ?

11 A.       I've heard him speak , yes .

12 Q.       No .     Did you ever speak direct ly to him during

13 the period      of your investigation ?

14 A.       Yes , I have , as a matter of fact       .

15 Q.       Direct ly ?

16 A.       Yes .

17 Q.       How did that come about ?

18 A.       During a court -ordered       test .

19 Q.       I don't understand     .

20 A.       I spoke with Mr. Bynum during          a court -ordered

21 test .

22 Q.       Okay .     Was that in one of these phone cal ls or

23 was this a direct      --

24 A.       It was a direct     result    of an order issue d by

25 this court .




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 1 Q.        The first record ed phone call that was play ed

 2 here was March 9; is that correct , 2004 ?

 3 A.        The first record ed phone call was on March 8.

 4 Q.        I'm sorry , March 8.        Of Mr. Bynum ?     I'm say ing

 5 Mr. Bynum 's first record ed phone call was March 9; is

 6 that correct ?

 7 A.        That 's not correct .       He was inter cepted    on March

 8 8, Call B28 on Page 2.

 9 Q.        I stand correct ed .       And the last phone call was ,

10 I believe , sometime      in May .    May 14 ?   Was that his last

11 record ed phone call on the wiretap ? If you want , I can

12 give you the page reference .          Would that help ?

13 A.        I believe    that -- I'm checking      the date s prior

14 to that to make sure .

15 Q.        It was Page 519 .      6695 -- B6695 .       Would you

16 agree with me that was the last record ed phone call

17 that was play ed to the jury ?

18 A.        I'm sorry , the date you had again ?

19 Q.        It 's Page 519 .    May 14 .

20 A.        I would agree that was the last call play ed in

21 court .   Without     consult ing the log s, I would not say

22 that 's the   last call intercept ed.        That was the last

23 call that was play ed for the jury .

24 A.        Yes .

25 Q.        It was your opinion        that he was buying     cocaine




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 1 from Ms. Martin ?

 2 A.         That is correct .

 3 Q.         It was also your opinion      that he was sell ing

 4 this -- these drug s to other s; correct ?

 5 A.         The amount s he was buy ing would indicate

 6 sell ing , yes .

 7 Q.         During   this period   of time when you had that

 8 opinion , did you ever get a wiretap          on Mr. Bynum 's

 9 phone ?

10 A.         No , we did not .

11 Q.         And why is that ?

12 A.         I don't know    that that was one of the goal s of

13 the investigation .       It would certain ly be

14 counter intuitive     in an investigation .      You don't

15 normally     go , what we call , down the food chain ; in

16 other words , get wiretap s on someone 's customers             and in

17 Ms. Martin 's case , we went up , we got wiretap s on her

18 source .

19 Q.         Okay .   So were you just not concerned        with what

20 he was do ing ?

21 A.         I think the fact that he 's here would say we are

22 -- we were concerned       with what he was do ing .

23 Q.         You weren't    concerned   about whether    or not    your

24 opinion    that he was sell ing drug s was actual ly correct

25 or not ?




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 1 A.       I don't think     I was concerned      about my opinion ,

 2 no .

 3 Q.       Did you ever investigate        anyone   that he may have

 4 sold drug s to ?

 5 A.       We may have , yes .

 6 Q.       Did you even get a name ?

 7 A.       We may have .

 8 Q.       Were any of those name s --

 9          MS. JOHNSTON:      Your Honor , if I could ask that

10 the witness     be allow ed to finish     his answer .

11          THE COURT:      Yeah , don't interrupt .

12          THE WITNESS:      As I sit here now , I can't say we

13 have , but we certain ly may have       explore d that

14 possibility .

15          BY MR. MITCHELL:

16 Q.       And do you know what he was actual ly sell ing to

17 these un known people ?

18 A.       Do I know ?     I'm sorry .

19 Q.       What he was sell ing to these un known people ?

20 A.       I don't know     that we've identifi ed customer , no .

21 Q.       Now , with Mr. Bynum -- with Ms. Martin , you did

22 a number   of investigative      technique s.     Did you utilize

23 the same technique s with Mr. Bynum ?

24          Let me go through      a list of thing s that you've

25 done and I want to see if you've          done that with Mr.




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1 Bynum .    For example , as I recall , you did a trash run

2 of Ms. Martin 's house .        Did you do that for Mr. Bynum ?

3 A.        I think Mr. Bynum live d in an apartment , so I

4 don't think     we did , no .

5 Q.        Did you do any surveillance         of him by send ing

6 officer s out to watch his deal ing drug s with these

7 un known people ?

8 A.        Yes , we did .

9 Q.        You did ?    And did they come back with report s of

10 him sell ing drug s to anybody ?

11 A.       I'd have to look at the report s to say what they

12 came back -- the observation s they came back with .

13 Q.       Offhand , do you know ?

14 A.       I do not know , no .

15 Q.       Do you have any picture s of him sell ing drug s to

16 these un known people ?

17 A.       I do not believe      so , no .

18 Q.       Did you ever set up a pole camera            for Mr.

19 Bynum 's residence     to watch what he was do ing ?

20 A.       We did not .

21 Q.       What about send ing any officer s to go out an d

22 take videos    of him or follow      him to wherever     he was

23 going to sell ing these drug s to un known people ?

24 A.       Again , we did surveillance       of him .     I don't know

25 if there 's videotape     in that surveillance .        I'd just




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1 have to look at the report s.

2 Q.        Okay .   Did you ever locate        anyone , arrest

3 anyone , and get them to cooperate            against   Mr. Bynum ?

4 A.        I want to say yes , that Bynum 's name has been

5 mention ed by cooperator s, but I cannot           -- as I sit

6 here , I cannot     recall   who , but I want to say yes .

7 Q.        I am sure -- I am certain          that you would want to

8 say yes because      that would certain ly help the

9 government , but do you know that ?

10 A.       My recollection     is that Mr. Bynum has been

11 identifi ed in our photo book by individuals , yes .

12 Q.       But you don't know who those are ?

13 A.       Not as I sit here .          I certain ly could find out

14 for you .

15 Q.       Did you get any under cover officer s to go and

16 buy drug s from Mr. Bynum ?

17 A.       Oh , and I do want to correct         my -- I do know

18 name s of people    who have told us about Mr. Bynum , and

19 I'm sorry your second       question ?      Your question   now ?

20 Q.       The second    question       is , did you ever get anyone

21 under cover to buy any drug s from Mr. Bynum ?

22 A.       I do not believe      so .     That 's correct .

23 Q.       What about put ting a GPS on his car to follow

24 him where he was going ?

25 A.       We did not do that , no .




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 1 Q.        Is there any particular       reason    why if you had

 2 this interest       in Mr. Bynum , you didn't      utilize   any of

 3 these technique s to confirm         the opinion s that you

 4 reach ed as a result      of your theori es ?

 5 A.        I think you will see evidence          later in the trial

 6 that will corroborate       my opinion .

 7 Q.        I'm not asking    that .    I'm asking    why didn't    you

 8 utilize     these technique s?

 9 A.        I'm tell ing you , we did get corroborati ng

10 evidence .     That 's why I dis agree with your question          is

11 what I'm say ing .

12 Q.        All right .    Any of   the other thing s that you do

13 as part of your determination          to reach your opinion s is

14 you look to see if there 's any other communication

15 between     the co -conspirator s; correct ?       And that will

16 help solidify       relationship s between    the parti es ;

17 correct ?

18 A.        Yeah .    I'm not sure what you mean by other

19 communication s.

20 Q.        Well , on the wiretap s, you don't have Mr. Bynum

21 speak ing to any of the other individuals            sea te d at this

22 table except       for Ms. Martin ; is that correct ?

23 A.        I don't know    if I could say that 's correct .         Off

24 the top of my head , I can't recall          whether   he ever

25 spoke to anybody       else , but it 's certain ly possible      that




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 1 there were time s that somebody        got on the    phone with

 2 him .

 3 Q.       Well , for example , you don't have him on any

 4 record ed phone call s speaking       with Luis Mangual , for

 5 example ?

 6 A.       No, I don't think      he spoke with Mr. Mangual .

 7 Q.       Or Mr. Echarte     or Mr. King or any of these other

 8 phone cal ls you've     play ed ?

 9 A.       Not with Mr. Ech arte , and I do not belie ve with

10 Mr. King either .

11 Q.       The only person     that you have him record ed and

12 play ed for the jury is speak ing with Ms. Martin ; is

13 that correct ?

14 A.       I belie ve that 's accurate , yes .

15 Q.       As far as    -- so because     there 's no other

16 conversation      with any of these other individuals , you

17 don't have him call ing them -- any of the other

18 co-conspirators      -- co -defendant s here to buy or sell

19 drug s or ex change    money or anything      else that you've

20 been talk ing about throughout        the course    of this trial ;

21 correct ?

22 A.       I believe    that statement     is accurate , yes .

23 Q.       Okay .    Now , one of the thing s that you play ed

24 for the jury is some pole camera -- while            he 's get ting

25 this tape ready , there were some pole camera            picture s




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 1 taken , correct ?       For example , I think that 's -- correct

 2 me if I'm wrong .        Is this one of the video s -- this was

 3 Video 6.      I think it was April -- that says March 30 .

 4            MS. JOHNSTON:         Your Honor , can we approach          the

 5 bench for a moment,         please ?

 6                    (At the bar of the Court.)

 7            MR . MITCHELL:    I     apologize    Your Honor .     Working

 8 with technology .

 9            MS. JOHNSTON:         And I wait for Mr. Ward to get up

10 here so I don't get in any trouble .               Your Honor , I'm

11 not object ing to what counsel 's do ing , but this is a

12 video that has not been identifi ed by anyone              as a video

13 on a particular      date , so it 's not been admitted            into

14 evidence , so it 's not like --

15            THE COURT:     Is this one you play ed before ?

16            MS. JOHNSTON:         No , it is one we have not play ed

17 before , so I think counsel            needs to show him the video

18 and ask him if he 's familiar            with that video and then

19 move to play it .        We also don't know what time s Mr.

20 Mitchell    want s play ed , so that 's -- these are all just

21 practical     consideration s.

22            I don't want it confusing           with the jury that

23 this is a video that 's been previous ly played                 for them .

24 It 's got a government 's exhibit           sticker   on it .     We

25 didn't   play it for any number           of reason s, one being




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 1 moving   the case along more than anything            else , so there

 2 are a number    of video s that have been mark ed but have

 3 not been play ed , so ,

 4          MR . MITCHELL:     All right .      I can skip this one .

 5          THE COURT:     I mean , do you want to play another

 6 one ?

 7          MR. MITCHELL:      Let me ex plain the purpose          --

 8 yeah , they can play another        one .    Any one of the four ,

 9 ask them to cue up for my cross is fine .              I'm simply

10 going to ask Detective       Sakala      to explain   how he

11 certain ly know s that that 's him , this individual ,

12 little   small individual       on the screen    and whether     he

13 know s for certain     that Mr. Bynum was carry ing drug s,

14 how he can identify       drug s on his person .

15          THE COURT:     Would it be easier       for you to play a

16 tape that 's already      been play ed of Mr. Bynum ?

17          MR. MITCHELL:      That will be fine .

18          MS. JOHNSTON:      I    don't    want him pull ing this

19 tape back now because       it look s to the jury like the

20 government    has object ed to the presentation          of this

21 tape .   I don't object .

22          MR. MITCHELL:      No.    I'll just explain      that

23 technical    difficulti es and we'll move on to the next

24 one .

25          THE COURT:     I agree with the government .            If the




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 1 tape has n't been play ed , th en you get          to mention   that

 2 to the witness .

 3           MS. JOHNSTON:         Ask him to identify    the tape and

 4 then you can proceed.

 5           THE COURT:       That 's fine .    Jus t ask him to

 6 de scribe    the tape .    If there 's another      tape you want to

 7 have play ed --

 8           MR . MITCHELL:        I've given them a list .     All

 9 right .

10           MS. GREENBERG:           The list does n't have time s.

11 The surveillance       log s have the time s.

12           MR. WARD:       I have     a most press ing question .

13           THE COURT:       Yes .

14           MR. WARD:       Judge , I need to visit the facilities

15 down the hall .

16           MR. MITCHELL:         Why don't we take a brief recess

17 and I'll work with them on these video s.

18           THE COURT:       All right .

19           MR. WARD:       Before     I get up , you know .

20           THE COURT:       You mean you want to break before

21 you --

22           MR. WARD:       No.

23           THE COURT:       Can you wait until Mr. Mitchell

24 finishes ?

25           MR. WARD:       I don't know .     How long are you going




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 1 to be ?

 2             MR. MITCHELL:      A while .

 3             THE COURT:     How long is a while ?

 4             MR. MITCHELL:      Another     25 , 30 minute s.

 5             THE COURT:     Can you hang on for that time ?

 6             MR. WARD:     I don't know .

 7             MR. MITCHELL:      I have     no problem    with if we take

 8 a brief re cess and we can -- I can work with them on

 9 the video s.

10             THE COURT:     This is awful early with take a

11 re cess .

12             MR. WARD:     I don't mind missing         the

13 scintillati ng cross .

14             THE COURT:     I can guarantee      you , you will not be

15 cross -examining        without     a pot ty break .    We will take

16 care of you .

17             MR. MITCHELL:      The problem     is , Your Honor , I

18 don't have      control    over their video s.         I don't have

19 them .      I could n't take them home .

20             THE COURT:     If you know what the other videos

21 you want to play --

22             MR. MITCHELL:      It list s Video 6 and it show s

23 video of Derrick         Bynum .     Now , if they want me to sit

24 down and go through         these time s, that 's fine , but I

25 gave them prior notice             this morn ing and assume d that




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 1 they know the time s when my client             come s in .

 2            MS. JOHNSTON:       If we could have -- one thing

 3 that needs to be clear .          For the record , defense

 4 counsel    have had copies       of all of these video s

 5 available     to them .

 6            THE COURT:     I understand .        Why don't we resume .

 7 All you have to do is clarify              with this one witness

 8 this is not one that you play ed before              and do you

 9 recognize     this tape and you're          safe .

10            MS. JOHNSTON:       That 's fine .

11                         (Back in open court .)

12            THE COURT:     All right .       We're re ady to proceed ,

13 ladies and gentlemen       .   We had to work out        some

14 technical     issue s on the tape , but I think we're re ady

15 to go now .

16            BY MR. MITCHELL:

17 Q.         Sargent    Sakala , if I'd like to        ask you , can you

18 identify     any particular      video ?

19 A.         I believe    I did on direct , if you give me a

20 minute .     This is Derrick      Bynum 's vehicle     arrivi ng and

21 him going in side .

22 Q.         Okay .    Now , you just gave the opinion          that Mr.

23 Bynum pull ed up in a truck ; is that correct ?

24 A.         That 's correct .

25 Q.         And then walk ed into Ms. Paulette           Martin 's




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1 house ?

2 A.        Yes .

3 Q.        Now , was there any particular        identify ing

4 feature s that gave you the opinion          that that was Mr.

5 Bynum ?

6 A.        No .    I reli ed on other information .

7 Q.        Which was ?

8 A.        The phone call say ing he was comi ng over the

9 next morn ing to      pick up a quantity     of drug s, and then

10 that vehicle     being observe d at his residence        later in

11 the day .

12 Q.       And so it would be your theory , your ass umption,

13 that the individual      in that picture      is who you believe

14 it was , not necessarily        that you saw that was Mr. Bynum

15 and could identify      him ; is that correct ?

16 A.       On all the information       I have , I believe       that

17 was Mr. Bynum entering         the -- arrivi ng in the vehicle

18 and entering     the house .

19 Q.       But it 's mere ly your theory ; correct ?

20 A.       If I had only the video , I don't know           that I

21 would give an opinion       based on everything      I had .    I'm

22 confident   that 's Mr. Bynum .

23 Q.       Correct .     So look ing at an individual       on that

24 pole camera , it 's very difficult        to actual ly identify

25 facial   feature s; correct ?




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 1 A.         Yes , I would agree sometimes      that 's the   case ,

 2 but there are other videos        where it 's -- the person         is

 3 readily    identifiable .

 4 Q.         Sure .   And there were occasion s where you

 5 focused    in on the person     because   you could zoom ;

 6 correct?

 7 A.         Correct .

 8 Q.         But in that case , it look s like an individual ,

 9 African-American , drivi ng a vehicle         which you believe

10 to be Mr. Bynum 's truck ?

11 A.         Look ing just at that video , it was a person

12 general ly match ing Mr. Bynum 's description          drivi ng a

13 vehicle    register ed to him that general ly appear s to be

14 the same vehicle .      Going on no other information .

15 Q.         To save some time , there were some other video s

16 that were play ed for the jury with Mr. Bynum walk ing up

17 to Ms. Martin 's house .      Would your opinion       be the same

18 for all of those , that it appear ed as though           it were

19 him but it 's no close -up ?

20 A.         Again , if there was no other information         -- for

21 example , on some of those call s, we had surveillance

22 out that identifi ed Mr. Bynum , but if there was no

23 other information , I would agree with that , but I think

24 with video s we play ed , there was other information            we

25 reli ed upon for identification .




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 1 Q.         So again , it 's mere ly your theory     based on other

 2 factor s that have come into play ?

 3 A.         You know , I don't know     if I would go with my

 4 theory , because      if someone    says I'm out front , if Mr.

 5 Bynum calls and goes I'm out front , and we see him out

 6 front , I don't know      that I would classify      it as a

 7 theory .     I guess you can , but I certain ly would not .

 8 Q.         Would you also agree with me , moving         into these

 9 phone call s, that one of the thing s that you look ed for

10 to reach your theori es to determine          the quantity     of

11 drug s, the amount      paid , is you look for number s and

12 reference s to amount s to help you identify           what amount

13 they're    talk ing about .    Would you agree with that ?           A.

14 Yes , sometimes .

15 Q.         For example , when you heard the word eight ball

16 or eight , size eight , if it was also associate d with

17 some type of figure , that would help you determine

18 whether    it 's an eighth    of an ounce or if it 's an eighth

19 of a kilo ?

20 A.         Yes .   If you had a money amount      to go with that

21 eighth , it would make it much easier          to identify     the

22 amount .

23 Q.         And you would expect      to hear from those talk ing

24 about the purchase       and sale of drug s to have some type

25 of reference       to an amount .    Would you agree ?




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 1 A.        No, I would not agree with that .

 2 Q.        Would you agree that there should         be some type

 3 of discussion       about payment , or at least     some reference

 4 to it in some of these call s, at least          you would expect

 5 to find , would you not ?

 6 A.        I would not agree with that .

 7 Q.        Why would you not agree with that ?

 8 A.        I think we've seen call after call where people

 9 arrange    drug deal s in this case and no amount         of drug s

10 or money is mention ed .        For example , if you know that

11 I'm your customer       an d every time I come over , I buy an

12 ounce to , pick a number , and I pay $1,000          for that ,

13 there 's certain ly no need for me to call you and say ,

14 hey , I'm comi ng over to pick up that ounce or use a

15 code word .       I'd just say I'm co min g over to see you ,

16 and you'd know exactly what it's for.            So I do not

17 agree that you need a code word in every conversation                 .

18 Q.        I'm not say ing in every conversation , but you're

19 look ing for that ; aren't       you ?

20 A.        I think you said every conversation , but we're

21 look ing for that .

22 Q.        If I mis spoke -- you're       look ing to find some

23 inter action      between   the two which would reference       the

24 amount    of drug s or amount     of money to ex change ; right ?

25 A.        Yes .




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 1            MR. MITCHELL:      Now , could   I approach    the board ,

 2 Your Honor ?

 3            THE COURT:     You may .

 4            BY MR. MITCHELL:

 5 Q.         Let 's see if I can work with you on this chart

 6 here .     I'm going to have you reference         some of the

 7 call s for Mr. Bynum .        If you could turn to Page 2, B28 .

 8 Is there any reference         to an amount     in that call ?

 9 A.         In this call , there is not .

10 Q.         B28 .

11            What about Page 11 , B149 ?       Is there any

12 reference     to an amount     of money ?

13 A.         I'm sorry , the page again?

14 Q.         Page 11 .    Is there any reference      to an amount of

15 money in that call ?        A dollar   figure    of any kind ?

16 A.         No , there is not .

17 Q.         What about Page 18 , A123 ?       Any dollar    figure

18 discuss ed in that phone call ?

19 A.         Yes , there is .

20 Q.         What is that ?

21 A.         If I could go back and just check and make sure

22 on the previous        call so I can make sure my answer         is

23 correct .     I would    like to change     my answer .   No , there

24 is not .

25 Q.         What about B336 on Page 39 .         Is there any




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 1 reference    to any dollar      figure    there in that call ?

 2 A.        There is not a mention          of money in this call .

 3 Q.        Turn to Page 41 , B341 .         Is there any mention      of

 4 any money or dollar         figure   in that phone call ?

 5 A.        Ms. Martin       says $62 I usually    loan you ; however ,

 6 she 's not referring        to money .

 7 Q.        So there is no reference          to a dollar   figure ,

 8 again , in that call , in your opinion ?

 9 A.        There is no reference          to the price for the

10 cocaine    she 's talk ing about , I would agree with that .

11 Q.        Okay .    Page 43 , B342 .      Is there any discussion

12 of a dollar       figure   in that phone call ?

13 A.        No , there is not .

14 Q.        Page 44 , B346 .      Is there any discussion      of a

15 dollar    figure    or price in that phone call ?

16 A.        No, there is not .

17 Q.        Page 58 , B46 6.      Is there any discussion      of a

18 dollar    figure    in that phone call ?

19 A.        No .

20 Q.        Page 59 , B467 .      Is there any discussion      of a

21 dollar    figure    or price in that phone call ?

22 A.        No , there is not .

23 Q.        Turn ing to Page 68 , B515 .        Is there any

24 discussion       of a price or dollar      figure   in that phone

25 call ?




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1 A.        Again , if I could flip back a couple           page s and

2 make sure .      No , there is not .

3 Q.        Turn ing to Page 78 , B679 .        Same question .       Is

4 there any discussion         of a dollar     figure   in that ?

5 A.        No , there is not .

6 Q.        Page 79 , B685 .     Same question .

7 A.        No , there is not .

8 Q.        Now , Page 114 , B811 .

9 A.        I have the call in front of me .

10 Q.       It 's the same question .

11 A.       No .

12 Q.       To save time here .

13 A.       No , there is not .

14 Q.       Page 115 , B816 .      Is there any reference       to an

15 amount   of money or dollar      figure ?

16 A.       No , there is not .

17 Q.       B822 , Page 116 .      Is there any reference       to money

18 or price figure     in that ?

19 A.       Again , this is similar      to a previous      call , Ms.

20 Martin   is say ing $62 .     That is a reference       to the

21 amount   of cocaine    Mr. Bynum is buy ing , not the price .

22 Q.       Page 118 , B824 .      Is there any reference       to money

23 or price in that phone call ?

24 A.       No , there is not .

25 Q.       All right .    Page 123, B838.        Any reference       to




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1 price or dollar        figure   in that ?

2 A.        No , there is not .

3 Q.        Page 123 , I'm sorry page -- we did that one .

4 Page 124 , B876 .       Is there any reference     to dollar

5 figure    or price ?

6 A.        No , there is not .

7 Q.        Turn ing to Page 127 , B888 .       Is there any price

8 or figure     in that phone call ?

9 A.        No , there is not .

10 Q.       Page 128 , B89 7.      Any discussion   of a price or

11 dollar   figure    in that phone call ?

12 A.       No , there is not .

13 Q.       Page 16 0, A406 .      Is there any discussion      of

14 price or dollar       figure   in that phone call ?

15 A.       I'm jus t check ing it .      No , there is not .

16 Q.       Turn to Page 18 7, B1511 .        Is there any

17 discussion      of price or dollar    figure   in that ?

18 A.       There 's no discussion       of price , no .

19 Q.       Now , turn ing to Page 253 , B2401 .      Is there any

20 discussion      about price or value -- money value in that

21 phone call ?

22 A.       No .

23 Q.       Page 26 3, B24 21 .     Is there any discussion      of

24 price or dollar       figure   in that phone call ?

25 A.       The only reference       I see is where about




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 1 two-thirds        of the way down , Ms. Martin      says no , not

 2 yet .     I told you I have to pay for those ticket s when I

 3 get them .        I have   to just wait a min ute 'til the show .

 4 That 's the       only discussion    about money that I see .

 5 Q.         Is there any value that you could reach from

 6 that statement ?

 7 A.         There is no amount        mention ed .

 8 Q.         Page 27 1, B2506 .       Same question .   Is there any

 9 monetary     value or money discuss ed ?

10 A.         No .

11 Q.         Page 281 , B26 33 .      Is there any monetary    value or

12 money discuss ed in that phone call ?

13 A.         Money is discuss ed , but they do not identify           the

14 value .

15 Q.         Page 28 3, B26 84 .      Is there any monetary    value or

16 amount     discuss ed in that phone call ?

17 A.         Mon ey is discuss ed , but the value -- the value

18 is not mention ed .

19 Q.         Page 28 7, B26 59 .      Is there any discussion    of a

20 dollar     figure    or price in that phone call ?

21 A.         No , there is not .

22 Q.         Turn to Page 29 4, A894 .        Is there any discussion

23 of price or value in that phone call ?

24 A.         I don't know      if this is what you're     referring

25 to , but there is a discussion           of her pay ing her tax es ,




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 1 but I don't think         that 's what you're         look ing for .

 2 Q.         But there 's no -- she may have             said she 's going

 3 to pay something , but there 's no dollar                figure    or

 4 quantity     of amount     of money ?

 5 A.         No .     I think this time you asked me was there

 6 any discussion        of value .      That would be the closest           it

 7 come s to it .

 8 Q.         Okay .     Page 29 9, B29 57 .      Is there any discussion

 9 about monetary        value or price in that phone call ?

10 A.         No .

11 Q.         Turn to Page 300 , B29 58.           Is there any

12 discussion        of price or value in that phone call ?

13 A.         Yes .

14 Q.         Quantity     amount ?

15 A.         The quantity      amount    is not identifi ed .        Ms.

16 Martin   says , I want to give you your money back .                    You

17 don't have do that -- middle                of the page .

18 Q.         Is there an amount         that she said she is going to

19 give back ?

20 A.         The amount     is not identifi ed , no .

21 Q.         Page 301 , B29 59 .       Is there an amount        that 's

22 discuss ed , a quantity        amount , dollar        figure   in that

23 phone call ?

24 A.         The amount     of money is not identifi ed .

25 Q.         Page 333 , B33 .        Dollar    figure   dis cussed   there , a




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1 dollar     figure    discuss ed , or quantity      amount , money

2 discuss ed in that phone call ?

3 A.          No .

4 Q.          All right .     Finally   Page 519 .     I believe     it 's in

5 the third book , B6695 .         Is there any dollar       figure     or

6 amount     discuss ed in that phone call ?

7 A.          No .

8 Q.          Would you agree with me look ing at this Chart 34

9 of the phone call s Mr. Bynum made with Ms. Martin , they

10 never discuss       an amount   of money that is in reference

11 to any of the drug s?

12 A.         I would not agree with that .           They do not

13 identify     the amount    of money,    but they do discuss         an

14 amount    of money .

15 Q.         What I asked you was can you identify               a dollar

16 figure    in any of these 34 phone call s?

17 A.         Again , I'm try ing to answer         your question .     You

18 asked me if they discuss ed money , and I do not agree

19 with that .       They did discuss     money .    They did not

20 identify     the money .    I do agree with that .

21 Q.         They did not identify       a dollar     figure ?

22 A.         In those phone cal ls we look ed at , that 's

23 correct .

24 Q.         Now , in assess ing an amount         of drug s that you

25 believe     your theory    was ex changed   between     parti es , one




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1 of the thing s you have to analyze          is the amount      that

2 they're    discuss ing ; is that correct ?

3 A.         That is not correct .       You don't need to know the

4 amount    of money .    If they say the amount        of drug s to

5 identify     the amount   of drug s; in other words , if I say

6 I want a kilogram , it 's not necessary         for me to know

7 what the price is to know that I want a kilogram .

8 Q.         Okay .   But if -- would you agree with me that if

9 there is a figure , that 's call ed a ticket           and there 's

10 no dollar     figure s involve d in this , you would have to

11 look to something      else to try to figure        out what it is ;

12 is that correct ?

13 A.        I would look to something       else , not just the

14 price , but would certainly         be something    that is an

15 indicator .

16 Q.        One of the thing s you would look for is price , a

17 dollar figure , so you can assess         whether    or not   size

18 eight , for example , is an eighth        of an ounce or it 's an

19 eighth   of a kilo .

20 A.        I would agree that is an indicator , but it 's

21 certain ly not the     only one .

22 Q.        No , I would agree with you .      It's not the only

23 thing you look for , but that 's one of the           thing s you

24 look for , and if there were figure s discuss ed in any of

25 these 34 phone call s, you would certain ly have




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 1 testifi ed about it and use d it as part of your opinion

 2 to the jury ?

 3 A.        I would agree that .

 4 Q.        And one of the reason s that you would reach the

 5 opinion    that dollar   figure s are important      is because

 6 people    who are in the business      of buy ing and sell ing

 7 drug s don't just give it away .        They expect     some dollar

 8 figure    in ex change , and they're    going to discuss      that .

 9 Would you agree with that ?

10 A.        I would say the vast majority        of drug s are paid

11 for , but certain ly people      do give them away sometimes .

12 Q.        Well , certain ly they would do that perhaps          to

13 get someone     addict ed so that they would get a new

14 customer .    Would n't that be one of the technique s that

15 a deal er would use to get people         to sell drug s to them ?

16 A.        I have never -- I know that 's a popular          theory

17 on TV.     I've never seen that in my experience , but I

18 guess that it would be a reason .

19 Q.        Maybe I' m watch ing too much TV.

20           If I could get Hayward -7 .

21           MR. WARD:    I was wond er ing if this would be an

22 appropriate     time for the matter     we discuss ed at the

23 bench .

24           THE COURT:     We will take a recess      until 10 :30 .

25                  (Jury excused at 10:14 a.m.)




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1                     (O ff the record    at 10 :14 a.m. )

2                     (On the record     at 10 :35 a.m. )

3             THE CLERK:    Are you ready for the jury ?

4             THE COURT:    Yes .

5             (Witness   resume s the stand at 10 :35 a.m .)

6             (Jury return s at 10 :36 a.m. )

7             THE COURT:    Mr. Mitchell , you may proceed .

8             MR. MITCHELL:     Thank you very much , Your Honor .

9             BY MR. MITCHELL:

10 Q.         All right .   Continui ng , Sergeant        Sakala .    I'm

11 going to put up here for the ladies and gentlemen of

12 the jury , this has been mark ed as Hayward -7 .             Are you

13 familiar     with this spiral      notebook   here ?

14 A.         Yes .

15 Q.         And what did you -- did you form an opinion               as

16 to what the spiral       notebook     contain ed ?

17 A.         It contain s a lot of thing s.

18 Q.         Was there any reference s to any drug

19 transactions , in your opinion , within              this document ?

20 A.         Yes .

21 Q.         As I understand       your opinion , when this was

22 initial ly identifi ed that this was a document              that Ms.

23 Martin   was using to determine         quantiti es and price s of

24 drug s; is that correct ?

25 A.         No , I don't think      she use d that book to




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 1 determine     quantiti es or price s.     I think she use d it to

 2 record    sale s to some customers .

 3 Q.         Have you had a chance      to look at that and are

 4 familiar     with it to determine     whether   or not there 's

 5 any reference       to Mr. Mitchell   in this Hayward -7 spiral

 6 notebook ?

 7 A.         Since I was wrong on Mr. Whiting , I would prefer

 8 to look through       it again to see if Mr. Bynum 's name is

 9 in there .

10 Q.         You want to look at it , or do you want me to put

11 it up on the screen ?

12 A.         Either   way you want to do it .      I think it would

13 be a little     bit quick er for me to flip through         it .

14            MR. MITCHELL:     May I approach     the witness , Your

15 Honor ?

16            THE COURT:     You may .

17            THE WITNESS:     I do not see an obvious       reference

18 to Mr. Bynum .

19            BY MR. MITCHELL:

20 Q.         I assume   no other un obvious    reference    to Mr.

21 Bynum there either ; correct ?

22 A.         Well t, here are a lot of phone number s that

23 aren't    mark ed , so I would say there is no obvious

24 thing .    I did not see his name mention ed in that book .

25 Q.         Okay .   And like , for example , you don't see




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 1 anything     like this in there with a number          of figure s

 2 such as these , which I believe         you had referred     to as

 3 perhaps     identify ing some type of quantity ; correct ?

 4 There 's nothing       in there with Mr. Bynum 's name similar

 5 to this ?

 6 A.         I do not see any -- any reference s to Mr. Bynum .

 7 And to be accurate , I did not identify          that page as

 8 drug figure s.

 9 Q.         I'm going to show you what government          has mark ed

10 as Hayward -9 .    Are you familiar      with this ?

11 A.         I believe    it 's another   book that came out of Ms.

12 Martin 's residence .

13 Q.         Are you familiar     with whether   or not    Mr. Bynum 's

14 name is contain ed within       this calendar    of 2003 ?

15 A.         I am not .

16 Q.         Would it be easier     for me to do this on the

17 screen    or do you want to look at it and determine

18 whether     Mr. Bynum 's name come s up ?

19 A.         Which ever way you want to do it .       I think it

20 might be easier, again, for me to do it myself.

21            MR. MITCHELL:     May I approach    the witness ?

22            THE COURT:     You may .

23            THE WITNESS:     I have found him in this book .

24            Do you want me to continue       and look for other

25 reference s?




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 1          BY MR. MITCHELL:

 2 Q.       That 's his tel ephone      number ?

 3 A.       That 's his name and a telephone           number   -- two

 4 telephone    number s be low it .

 5 Q.       If you would agree , that 's January           10 , 2003 ?

 6 A.       I would agree that 's what's           written , yes .

 7 Q.       Have you had a chance        to look at the rest of the

 8 year of this ?

 9 A.       I stopped    once I found the first reference            to

10 his name .

11 Q.       If I could ask you if you see it again at any

12 point in time in that book .

13 A.       The only additional        reference     I see is to Bose

14 shop with a phone number , but I do not know if that

15 refer s to Mr. Bynum or not .

16 Q.       Did you reference      that page ?

17 A.       It 's right here .

18 Q.       You're   talk ing about this number         right here ?

19 A.       That 's correct .

20 Q.       Bose as in the speak er s?

21 A.       That 's the way it is spell ed , that 's correct .

22 Q.       Would you agree with me this is a calendar               of

23 2003 ?

24 A.       It appear s to be a 2003 calendar , yes .

25 Q.       There appear s to be reference s all the way




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 1 through    December    of 2003 .

 2 A.         Yes .

 3 Q.         And even something       here on January , 2004 .    And

 4 would you agree with me that it 's not a far leap to

 5 assume    that this calendar        was use d day -- as a daily

 6 calendar     throughout    the year of 2003 ?

 7 A.         I would dis agree with that .       There are thing s in

 8 there that occurred        in 2004 that she has written        in

 9 there .

10 Q.         Okay .    But it was at least     some type of date

11 book that was being use d; correct ?

12 A.         It is a 2003 calendar .

13 Q.         And in this book and in the other ledger , that

14 little    notebook    also identifi ed as Hayward -7 , you found

15 one reference       to Mr. Bynum ?

16 A.         Yes .    His telephone    number s were in there .       We

17 mark ed them .

18 Q.         Over a two -year period ?

19 A.         I did not say that .        I said the -- it was in

20 there .

21 Q.         Okay .

22 A.         I do not know when those number s were written                in

23 there .    There are thing s that were written         in there

24 con temporaneous      to our wire , so I know she was using

25 that probably       in April , May .    There is reference     to a




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 1 traffic     accident   that her son had .     That occurred

 2 during    the wire .

 3 Q.        This 2003 calendar      and this other ledger , one

 4 reference     to Mr. Bynum ?

 5 A.        I believe     that 's accurate , yes .

 6 Q.        No list of amount s and dollar s or drug s in

 7 either    of these two document s; correct ?

 8 A.        No , there are amount s listed      for drug s.

 9 Q.        I'm sorry ?

10 A.        None that I can attribute        to Mr. Mitchell .

11 Q.        I stand correct ed .     That 's what I meant to ask .

12           One of the thing s that you would look for as an

13 investigator , in your opinion          and in your experience ,

14 is you would look for someone           to keep a record    of what

15 someone     is buy ing and sell ing ; correct ?

16 A.        That is common , yes .

17 Q.        And that 's because     memori es fade and people        in

18 the business      want to insure    that they're    get ting the

19 right money and they're        giving    the right thing s;

20 correct ?

21 A.        Yes .   If you have a non -cash customer , it is

22 common    that sometimes     both parti es will keep track of

23 how much is owe d.       But there 's no reference      to Mr.

24 Bynum being issue d anything        here -- strike     that .

25           There 's no reference     to any amount s of drug s or




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 1 amount s of money being received         in either     of these two

 2 document s?

 3 A.         There is nothing    that I can attribute       to Mr.

 4 Bynum .    That 's correct .

 5 Q.         One of the code words that you reference d with

 6 Mr. Bynum were ticket s; correct ?

 7 A.         I'm sure she probably      did use ticket s without

 8 look ing at a specific       conversation , but she use d that

 9 with everybody , so it would n't surprise          me .

10 Q.         Are you familiar    with --

11            MS. JOHNSTON:     Objection , Your Honor .      Counsel 's

12 going to show something        that 's not in evidence,      that we

13 haven't    been privy to .     If we could approach       the bench .

14            MR. MITCHELL:     Well , I will allow -- while I ask

15 my series     of question s, I will allow them to take a

16 look at this .

17            MS. JOHNSTON:     Your Honor , may we approach          the

18 bench , please ?

19            THE COURT:   All right .

20                    (At the bar of the Court.)

21            THE COURT:   I don't know     what document     he 's

22 get ting ready to -- what document         is that ?

23            MS. JOHNSTON:     When he put s something      up on the

24 document    present er in front of the jury that 's not in

25 evidence , that 's a problem , im proper .




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 1           THE COURT:       Don't put it on the        view box .

 2           MR. MITCHELL:       That 's fine .       I'll ask him about

 3 it .

 4           THE COURT:       What is it you're        going to ask him

 5 about ?

 6           MR. MITCHELL:       It's the     Office of National      Drug

 7 Policy printout         of their purpose     and polici es .

 8           THE COURT:       What 's the relevance       of that ?

 9           MR. MITCHELL:       Within that , they have the number

10 of street    term s for different        drug s.    I simply   want to

11 ask him if he 's familiar        with this organization         and if

12 he 's familiar    with street     term s such as ticket , which

13 are listed     here .

14           THE COURT:       All right .     I'll let you go a little

15 bit , but don't put that on the view box .

16           MR. MITCHELL:       Okay .     I'll ask him .

17           THE COURT:       You can ask him if he 's familiar

18 with this view box (sic) .

19           MS. JOHNSTON:       Your Honor , can we be here heard ?

20 I don't know     when this report        was done .    I don't know

21 what time frame it cove rs --

22           MR. MITCHELL:       Last update d April , 2003 .

23           MS . JOHNSTON :     That would be before        the wiretap

24 conversation s in this case .          That does not indicate

25 that those were words that were being use d during                 the




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 1 time of the wiretap .

 2            THE COURT:     I don't see how you can use this

 3 unless     he decides   to recognize      it as author itative .        If

 4 he do esn't recognize         it as author itative , you're      at an

 5 end .

 6            MR. MONTEMARANO :      He 's entitle d to ask him in

 7 term s of his expertise         if he 's familiar   wit h it .     It's

 8 like quizzing      an ex pert about treatise s; isn't it ?

 9            THE COURT:     You can ask him whatever       question s

10 you want , but I'm not going to let you use this

11 doc ument unless      he , himself , acknowledge s that he is

12 familiar     wit h it as an authoritative       mat ter in   the

13 field .

14            MR. MITCHELL:       Okay .

15            THE COURT:     If he 's not , then that 's the        end of

16 the inquiry .      All right ?

17            MR. MITCHELL:       All right .

18                         (Back in open court .)

19            BY MR. MITCHELL:

20 Q.         Sergeant   Sakala , I want to ask you      if you are

21 familiar     with the White House Office of National             Drug

22 policy .     Are you familiar      with that organization ?

23 A.         Am I familiar      with it ?

24 Q.         Yes .

25 A.         Probably   not .    I might have heard of it , but .




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 1 Q.       Okay .   If could play B24 29 .      If you could turn

 2 to Book 1, Page s 26 3-26 4, and in a minute , I'm going to

 3 have you listen     to another    phone call .

 4          I had the occasion      to go back and listen         to

 5 these phone call s and there was one thing that really

 6 struck   me on this phone call .

 7          MS. JOHNSTON:      Objection , Your Honor , to counsel

 8 discus sing what struck      him in a telephone      call .

 9          THE COURT:     Let him finish     his question       and then

10 we'll -- where are you going with this question ?               Wait

11 a minute .    Don't answer    him .   What was your question ?

12          MR. MITCHELL:      I haven't    even got ten there yet .

13          THE COURT:     Ask a question .

14          MR. MITCHELL:      I'm about to .     That was the next

15 statement .

16          THE COURT:     I don't want him answer ing a

17 non -question .    Answer   a -- pro pose a question .

18          MR. MITCHELL:      Okay .

19          BY MR. MITCHELL:

20 Q.       In that phone call --

21 A.       Okay .   Again , your page number       and book numb er

22 are not correct .      I'm try ing to    clarify   the call .

23 Q.       I'm sorry , it 's 26 3.      Is that not -- B24 29 ?

24          THE COURT:     In Book 2.

25          BY MR. MITCHELL:




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1 Q.        Oh , is it Book 2?          I'm sorry .   I stand

2 correct ed .    Book 2.     Page 26 3-26 4.

3 A.        B24 29 ?

4 Q.        Correct .

5 A.        I have     that in front of me .

6           THE COURT:      What page ?

7           MR . MITCHELL:      26 3, in Book 2.

8           THE COURT:      All right .

9            BY MR. MITCHELL:

10 Q.       Now , in this phone call on Page 264 , third line

11 down , you state -- it 's state d here , Derrick             Bynum , do

12 you want to try some Peruvian -style ticket s; correct ?

13 A.       On Page 26 4?

14 Q.       I believe     it 's 264 .

15 A.       264 , top of the page , he says that , yes .

16 Q.       And if I recall      your testimony , your opinion          of

17 that was that he was referring            to whether   or not Ms.

18 Martin   was look ing for another         source   of cocaine .    Do I

19 stand -- is that correct , or --

20 A.       That is correct .

21 Q.       -- correct     me if I'm wrong .

22 A.       That is correct .

23 Q.       If we could listen          to that portion   of the phone

24 call , which come s at about 30 seconds            into the call .

25 I'm going to have you listen            to that again .




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 1           (Audio    record ing begin s play ing at 11 :02 a.m. )

 2           (Audio    record ing stop s playing       at 11 :03 a.m .)

 3           BY MR. MITCHELL:

 4 Q.        All right .        I want to ask you if it 's possible

 5 that what he is actual ly say ing is do you want to try

 6 some Peruvian- style chicken .          Listen     to the

 7 conversation       again .

 8           (Audio    record ing begin s playing       at 11 :03 a.m. )

 9           (Audio recording        stop s playing    at 11 :03 a.m .)

10           BY MR. MITCHELL:

11 Q.        Listening     to it again , would you not agree with

12 me that what it sounds          like is he 's asking        if she would

13 like to try some Peruvian-style           chicken ?

14 A.        No , I would not agree with that .

15 Q.        Are you familiar        with what Peruvian-style

16 chicken    is ?

17 A.        No .

18 Q.        You ever been to the restaurant            Senor Chicken ,

19 locate d at 7970 New Hampshire          Avenue in Hyattsville ?

20 A.        I don't think so , no .

21 Q.        Are you familiar        with their men u?

22 A.        If I've never been there , no , I'm not familiar

23 with their men u.

24 Q.        Are you familiar        or are you -- would you agree

25 or dis agree that there is such a thing as




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 1 Peruvian-style      chicken ?

 2 A.       I have no idea .

 3 Q.       You would strong ly dis agree that that reference

 4 was to chicken      not ticket s?

 5 A.       I do not agree with that interpretation            of that

 6 conversation , that 's correct .

 7 Q.       At any time during       this investigation      of Mr.

 8 Bynum , did you ever stop him for or detain            him at any

 9 time during      this period    of your investigation     and find

10 any drug s on him ?

11 A.       I believe    the answer     to that would be yes .

12 Q.       I'm not t alk ing about the search        warrant .

13 A.       You said any time .

14 Q.       I'm say ing your investigation .         Your -- during

15 your investigation      of this , did you stop him , detain

16 him , and find any drug s on him ?

17 A.       He was stopped , detain ed , and arrested         on the

18 1st of June .      I belie ve there was drug s in his house ,

19 yes .

20 Q.       That was the search        warrant ?

21 A.       Yes .

22 Q.       But before    that -- during     the time of all these

23 phone call s, during     the time that we've been listening

24 to , the jury 's been listening        to , did you ever stop

25 him , detain     him , and find the drug s that you say he was




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 1 talk ing about in these phone call s?

 2 A.       Prior to his arrest , he was not stopped           or

 3 detain ed during     the wire .

 4 Q.       And you didn't      stop or detain    him and find any

 5 amount   of currency    on him as well ; correct ?

 6 A.       He was not stopped        or detain ed at all prior to

 7 his arrest .

 8          MR. MITCHELL:       Sergeant   Sakala , I appreciate     the

 9 time you've    spent on this , look ing at all the evidence .

10          I have no further        question s of this witness .

11          THE COURT:      Thank you .

12          MR. WARD:     Your Honor , may I just get something

13 from Mr. Trusty ?      Thank you .

14                          CROSS-EXAMINATION

15          BY MR. WARD:

16 Q.       Good afternoon , Sergeant .

17 A.       Good afternoon .

18 Q.       You know who I am and you know who I represent ;

19 don't you ?

20 A.       That 's correct .

21 Q.       All right , sir .     Now , I've been intrigue d by the

22 outset   of this case by the phrase , a moral certainty ,

23 that you use d and you told this jury that you are

24 testify ing to the matter s that you -- have testifi ed

25 about to a moral certainty ; is that correct , sir ?




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 1 A.         Yes .

 2 Q.         I'm not sure I've ever heard any witness            use

 3 that phrase        before .   What do you mean by "a moral

 4 certainty "?

 5 A.         It mean s I'm confident         in my opinion .   There is

 6 no doubt in my mind .

 7 Q.         Does it relate      to the legal concept s of maybe

 8 preponderance of the evidence          ?

 9 A.         I would not relate      it to that , no .

10 Q.         Clear and convinci ng evidence ?

11 A.         I think I just said I would not relate            it to

12 that , no .

13 Q.         You're    not say ing that your moral certainty           is

14 beyond a reasonable doubt         , are you ?

15 A.         I'm not say ing that at all .         I'm say ing I'm

16 confident      in my opinion ; there is no doubt my mind .

17 Q.         All right , sir .     Let 's explore    your opinion s.

18 You said at the outset          of this case that hustler      meant

19 somebody      who was involve d in the drug business ; is that

20 right , sir ?

21 A.         It is a common      term , yes .

22 Q.         It 's a common     term for other thing s, too ; isn't

23 it ?

24 A.         Yes .

25 Q.         Okay .    So one can be a hustler       and let 's say be




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 1 out on the street        corner    sell ing her favor s and that

 2 would be referred        to in police      language   as a hustler    or

 3 in common     language    as a hustler ; is that right , sir ?

 4 A.         If you're     referring    to a prostitute , I've never

 5 heard the term hustler          referred    to as a prostitute , no .

 6 Q.         You have never heard the term hustler            related    to

 7 a prostitute ?

 8 A.         I have not , no .

 9 Q.         You've   heard of Hustler       magazine , I guess ,

10 although     I'm sure you don't subscribe         to it .   You have

11 heard of it ; right , sir ?

12 A.         Yes , I have .

13 Q.         Does that feature        drug deal er s?

14 A.         I'm sorry ?

15 Q.         Does that     feature    drug deal er s?

16 A.         I don't read the magazine , but I do not believe

17 it does .

18 Q.         You've   never seen the cover of it ?

19 A.         I may have .     To be perfect ly honest       with you , I

20 haven't     thought    about that in a long time .

21 Q.         Lot s of scantily       clad young ladi es ?

22 A.         That is my recollection         of what the focus of the

23 magazine     would be , yes .

24 Q.         When they refer to hustler         there , they ain't

25 talk ing about drug deal er s; are they ?




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 1 A.        I don't think so , no .

 2 Q.        All right , sir .     Now you've     use d some code words

 3 and you've    told this jury that in the context          -- you

 4 said , first of all , the code words are always           something

 5 that have to be consider ed in context ; is that right ,

 6 sir ?

 7 A.        General ly , yeah .    It would be very difficult        to

 8 without   having   the context .

 9 Q.        You did not identify      the word "rock s:      As a code

10 word ; is that correct , sir ?

11 A.        The word what ?

12 Q.        Rock s, R O C K S.

13 A.        I think there was conversation          where the word

14 rock is mention ed .

15 Q.        Rock ?

16 A.        Yes .

17 Q.        You've   also heard rock s in term s of, oh, look            at

18 the rock on her fi nger ; right ?       Referring     to diamonds .

19 A.        Yes , I have   heard that .

20 Q.        All right , sir .     How about the term rock s as big

21 as light bul bs.     Have you ever heard that ?

22 A.        Rock s as big as light bulb s?

23 Q.        Yes .

24 A.        In reference    to de scrib ing what ?

25 Q.        In the context      of this case .




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 1 A.         I have   not heard rock s compare d to light bulb s.

 2 Q.         All right , sir .    And you've     not heard drug s

 3 compare d to light bulb s; is that correct , sir ?

 4 A.         I don't believe     I have , no .

 5 Q.         All right , sir .    How about jewelry ?     In the

 6 context    of this case , is jewelry      a code word for drug s?

 7 A.         I do not believe     there was any reference s to

 8 drug s by referring      to it as jewelry      in this case .

 9 Q.         You did see plenty     of reference     to jewelry ;

10 didn't    you ?

11 A.         There were reference s, yes .

12 Q.         And we'll come to that in a minute .         What about

13 aqua marine s.      Do you know what an aqua marine      is ?    A

14 precious     stone that you might have in a ring ?

15 A.         No , I do not .

16 Q.         All right , sir .    But in the context     of this

17 case , aqua marine s, your concept       of moral certainty ,

18 does not equate       with drug s; is that right , sir ?

19 A.         I don't think     we -- the term aqua marine     was use d

20 to refer to drug s, no .

21 Q.         All right , sir .    What about flower s?      Have you

22 ever heard drug s -- let 's say in        the context    of this

23 case , have you ever heard drug s referred           to as flower s?

24 A.         I think there was a reference         to sugar , but not

25 flower s, and I don't recall        any reference s to flower s




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 1 mean ing drug s in this case .

 2 Q.         When I say flower s, I may have       gotten    confused .

 3 I mean F L O W E R S, the kind of thing that is               grow n

 4 in the garden,      you pick and smell , not flour that

 5 come s, you make bread out of , but flower s that come the

 6 ground   that you pick , you smell .         You have not

 7 identifi ed that as a code word for drug s in the context

 8 of this case ; have you , sir ?

 9 A.         I do not believe    so , no .

10 Q.         All right , sir .   Now , you were one of the how

11 many case agent s?      Did you say three ?

12 A.         There are three primary , yes .

13 Q.         Three primari es , and you're      one of those three

14 primar ies; is that correct       sir ?

15 A.         That is correct .

16 Q.         You've   been in this case pretty      much since its

17 inception ; is that correct , sir ?

18 A.         Since late 2002 , I think we've decide d.

19 Q.         And would it be fair to say that you are

20 familiar    with just about every aspect         of the case ?

21 A.         I would n't say that .    I'm familiar     with a lot of

22 aspect s.

23 Q.         A lot of aspect s with the case .        Let 's talk

24 about Becky Dobie as an aspect            of this case .    You know

25 her to be a ad dict, d rug addict ; is that correct , sir ?




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 1 A.         I do not .

 2 Q.         You remember     listening    to a number   of these

 3 tape s when Becky Dobie sounded           like she was just as

 4 high as could be ?

 5 A.         Yes .

 6 Q.         You do .     Did you think that that perhaps          had

 7 something     to do with drug in gestion ?

 8 A.         I don't know     if it 's drug s or alcohol .        I have

 9 no idea .

10 Q.         I see .    You remember   the one tape that was

11 play ed that I think it 's at Page 503 when Paulette

12 Martin    is talk ing to Becky Dobie on the phone , all of a

13 sudden    there 's dead silence , and Paulette         says , Becky ?

14 Becky ?     Becky ?   And finally,      Becky sort of come s to .

15 Do you remember       that conversation ?

16 A.         Yes , I do .

17 Q.         Do you think that had anything         to do with drug

18 use ?

19 A.         I have no idea .

20 Q.         I see .    You heard reference s to my client          say ing

21 something     about when she -- this was in the context                of

22 talk ing about keep ing her grandparent s out of the

23 nursing     home , say ing that she'd do pretty        much anything

24 to keep her grandparent s out of a nursing             home ?    Do you

25 remember     that conversation ?




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1 A.          Yes , I do .

2 Q.          All right , sir .      And she said in that case -- in

3 that particular         conversation , and you know I've

4 committed      plenty    of crime s, and like I say , I'd do

5 anything      to keep them out of a nursing        home ; is that

6 right , sir ?

7 A.          I don't know       if she use d those exact words , but

8 I would agree that 's a proper           characterization     of the

9 call , yes .

10 Q.         And you do know that my client         has a record   and

11 criminal     convictions ; is that right , sir ?

12 A.         yes .

13 Q.         She has never , never been convict ed of a drug

14 trafficking        offense ; is that correct , sir ?

15 A.         I do not know her record        as I sit here .    She may

16 or may not have .         I don't know .

17 Q.         You're    one of the case agent s and you don't know

18 what her record        is ?

19 A.         I do not know the record        of every defendant    in

20 this case , no , and certain ly not her s.

21 Q.         Could you check on that maybe during         the break

22 and when we come back afterwards           I'll ask you again ?

23 A.         I'm sure you've       been provided   copies , but I'm

24 sure Ms. Johnston         and I can look for it .

25 Q.         Okay .    Well , we'll do that , then we'll bring you




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 1 back again and you can tell us whether            or not my client

 2 has ever been convict ed for drug trafficking .

 3           You're    not familiar    with her record ; is that

 4 right , sir ?

 5 A.        Not the specific       crime s she 's been charge d with .

 6 Q.        I'll save that until you come back after you've

 7 refreshed    your recollection .

 8           Let 's talk about these tape s that we've heard

 9 many hour s of .      Do I understand    that you , at the

10 outset , re view ed all the log s pertain ing to the

11 differen t line s that were being tapped ?

12 A.        It was part of my daily duti es , yes .

13 Q.        And you would look to see if the synopsis            of

14 what was written       next to a call by the person       who was

15 monitoring       the call ; is that correct , sir ?

16 A.        I would listen       to the call and re view the

17 synopses , yes .

18 Q.        All right , sir .      And if you found any

19 discrepancy       between   what you heard on the tape and what

20 was put down by the monitoring          officer , you would

21 correct    that ; is that right , sir ?

22 A.        No .

23 Q.        No ?

24 A.        No .

25 Q.        All right .       There were a couple   of place s on the




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 1 tape s where I noticed       your name , where you would say ,

 2 for example , un known female      or un known male was

 3 actual ly , you know , Fred Smith or Joan Smith or

 4 whatever , and your name Sakala .         You did do that ,

 5 didn't    you ?

 6 A.        That is correct , but I did not correct          the

 7 monitor 's log s.      I would add a note that would clarify

 8 what the call was about or what I believe d it was

 9 about .

10 Q.        If you found anything      in the log s that did not

11 match what you heard on the tape s, did you make any

12 note of that on the log s or elsewhere ?

13 A.        Normally , again ,yes , especial ly if it was what

14 I thought    was a big deal or a grievous        area , for

15 example , when you say un known female , and I knew

16 un known female      from the voice was Jane Doe , but there

17 were certain ly other mis take s that were so min or, I

18 didn't    worry about .

19 Q.        How many call s would you say altogether          that

20 you , as you went along , you look ed at and you listened

21 to the call itself        and you look ed at the synopsis        that

22 was put down by the monitoring         officer   or agent ?

23 A.        How many    call s on daily bas is or how many calls

24 total ?

25 Q.        All together .




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1 A.         I think there is probably      over 10 ,000

2 activation s in this case .

3 Q.         All right , sir .     Now , how did you decide , sir ,

4 which tape s to transcribe        for the jury to hear ?

5 A.         The call s that -- how did we select        the call s

6 that were play ed for the jury ?

7 Q.         Yeah .

8 A.         We went through     -- I believe   the first process

9 we went through        the pertinent   call s that related    to the

10 defendant s who were going       to trial or who were

11 scheduled    to go to trial .      We then compare d them to

12 thing s like surveillance s thing s that we thought          were

13 important    to the case , and then start ing with a very

14 large number       of call s, we start ed whittli ng it down to

15 the call s that we thought       were the most important       to

16 the case and that would prove the case before            a jury ,

17 and keep ing in mind the length        of time that was going

18 to be necessary       to play the call s.

19 Q.        That was because , as you said a number         of time s,

20 you didn't    want to tie up too much of the Court 's time ;

21 is that right , sir , that you whittle d them down ?

22 A.        It 's a lot of calls , yes.

23 Q.        I understand .      And when you say you we went

24 through   and decide d this , who is "we "?

25 A.        I think the people      who had in put would have been




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 1 myself , Detective     Eveler , Agent Snyder , Ms. Johnston ,

 2 Ms. Green berg , and there certain ly could have been

 3 other people      who had in put .

 4 Q.       I see .     And who had the ultimate       decision        as to

 5 what tape s should     be play ed before       this jury ?

 6 A.       The ultimate     decision    of what evidence        is

 7 present ed rest s with the prosecuting           attorney s.

 8 Q.       Ms. Johnston     and Ms. Green berg ; is that correct ,

 9 sir ?

10 A.       That 's correct .

11 Q.       Now , in select ing these tape s, the concern                  was

12 to put on the strongest       case the government          had against

13 the defendant s; is that right , sir ?

14 A.       Sure , that 's a consideration .

15 Q.       Yes .     And to present    as complete    a picture           of

16 the defendant s' allege d involve ment as possible              to the

17 fin ders of fact , or in this case , the jury ; is that

18 correct , sir ?

19 A.       I would say complete        picture    with regard        to

20 their criminal      conduct , not complete       picture     as to the

21 defendant .

22 Q.       I'm sorry .     I meant criminal       conduct .

23          And I suppose     one of your concerns , sir , was

24 that the defendant s be given also a fair trial , that is

25 they would be fair ly confront ed with the evidence




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 1 against    them so that they would have a fair trial ?

 2 A.         That was never a concern         of mine .

 3 Q.         Never a concern     of your s that the defendant s

 4 have a fair trial ?

 5 A.         There was never a doubt in my mind that that was

 6 going to happen .         That was not a concern , no .

 7 Q.         Oh , I see .    Again , this is by a moral certainty

 8 you were convince d that they would get a fair trial .

 9 A.         I've been involve d in a number          of trial s, and in

10 the trial s I've been involve d in , I think the defendant

11 has always     gotten     a fair trial .

12 Q.         I see .    In your judgment      anyway ; right ?

13 A.         In the Court 's judgment        also .

14 Q.         I see .    Let 's look at a few of the call s we went

15 through    yesterday .      I'm not going to go through        all of

16 them , but -- you will be glad to hear , but I will go

17 through    some of them .

18            I want to start with Book 1, and another            Page

19 11 .   This is call B149, and this is the call between

20 Paulette     Martin   an d Derrick   Bynum .

21 Q.         Do you have that in front of you , sir ?

22 A.         Yes I do .

23 Q.         You recall     this was play ed and you offered       your

24 opinion    about it ; right ?

25 A.         Yes .




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 1 Q.         In this case , it appear s that Becky is at

 2 Paulette     Martin 's house ; is that right , sir ?

 3 A.         That is correct .

 4 Q.         An d Mr. Bynum want s to come over for some reason

 5 on some kind of business ; is that right , sir ?

 6 A.         He want s to come over an d make a drug deal .

 7 Q.         And he is told that Becky is at the house ; is

 8 that right , sir ?       That 's what Paulette   Martin    said ?

 9 A.         Yes .   She said -- I'm sorry .     I was reading        the

10 call , so I could n't answer       your question .

11 Q.         I'm sorry ?

12 A.         Yes .   The answer   is it appear s that she is still

13 there .    Derrick    Bynum asks if she 's still there and Ms.

14 Martin    says , uh-huh .

15 Q.         Mr. Bynum 's response    is , well , I'm on my way .           I

16 don't give a fuck , pardon       me , but that 's the     language

17 on the thing .       I'm on my way .   In other words , I don't

18 care if Becky is there , I'm going to come over and do

19 my business ; is that       right , sir ?

20 A.         That is correct .

21 Q.         Would you conclude from      that response     that he

22 really    didn't   want Becky to know his business , but his

23 business     is so urgent , he's comi ng over anyway ?

24 A.         I would agree with that , yes .

25 Q.         And Becky was charge d as a co -conspirator         of




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 1 his , yes ?

 2 A.        One of her charge s is a member        of the

 3 conspiracy , that is correct .

 4 Q.        A co -conspirator    of Mr. Bynum 's ?

 5 A.        That is correct .

 6 Q.        He didn't    want her know ing his business ?

 7 A.        On this particular     day , that is correct .

 8 Q.        I see .

 9           The next call I was going to refer to had do

10 with the business      of keep ing her parents      out of a

11 nursing    home and get ting into her crime s, but we're

12 going to come back to that later after you've               had a

13 chance    to refresh   your recollection .

14           Let 's turn to Page 97 in Book 1, a conversation

15 between    Lavon Dobie and John Martin ; is that right ,

16 sir ?    I mean , do you see that , sir ?

17 A.        Yes .

18 Q.        This is where apparent ly , according        to what is

19 here , Becky Dobie is say ing something         about the feds

20 got your car ?      And I guess that 's referring         to the

21 arrest    of Mr. Martin that he talk ed about , was it

22 Takoma    Park or something ?

23 A.        Yes .

24 Q.        But his car was forfeit ed or seize d by the

25 federal    authorities ; is that correct , or do you know?




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 1 A.       I don't believe      that 's correct .     I know that 's

 2 what she 's say ing , but I don't think         that 's correct .

 3 Q.       She 's say ing she thought         the feds had seize d his

 4 car ; is that correct , sir ?

 5 A.       That is correct .

 6 Q.       Then she goes on to talk about how Mr. Ma rtin

 7 can get a car and he can get a re liable            Hoop ty for $500

 8 or less .   I assume      Hoop ty mean s some kind of a, you

 9 know , a car ; is that right , sir ?

10 A.       Some type of what ?

11 Q.       A car .     Cheap car ?

12 A.       Yeah .    Hoop ty is a common       name for an

13 in ex pensive   car .

14 Q.       Yeah , in ex pensive      car .   And she goes on to say

15 something   to the effect       that -- let me find it right

16 here .   Something      about when I do my business , I don't

17 use my good car , I use the hoopty           because   if it 's --

18 then if it 's forfeit ed or grab bed by the feds , I don't

19 have to worry about it .

20 A.       She does not use th at language , but that is

21 essentially     what she's saying .

22 Q.       Essentially      what she said , and your opinion       was ,

23 sir , to a moral certainty , that what she meant was that

24 when she did the drug business , which you claim she was

25 do ing -- the prosecution        claim s she was do ing .    When




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 1 she did the drug business , she use d a hoopty              because

 2 she didn't       want her car to be seize d by the feds ; is

 3 that right , sir ?

 4 A.        Yeah , I think she also talk s about her car had

 5 been seize d before .

 6 Q.        Yeah , she does as a matter of fact           .   You know ,

 7 don't you , sir , that it was seize d in Henrico             County ,

 8 Virginia , with connection             with a larceny   charge   against

 9 her ?

10 A.        I don't think        her car was seize d.

11 Q.        You don't think it was seize d?

12 A.        No .    I think they just had it in a tow lot and

13 she never went to pick it up .

14 Q.        Do you know that or are you guess ing that ?

15 A.        I don't know        that .

16 Q.        Maybe that 's something          else you can look up

17 while we're on recess           and when we bring you back , we'll

18 ask you that,       too .

19           MS. JOHNSTON:         Objection , Your Honor .

20           Counsel    has the access        to the same records .

21           THE COURT:         Mr. Ward , I'm not going to have him

22 be given home work assignment s as a witness , so ask him

23 questions .

24           MR. WARD:         Your Honor , I'm simply     asking   him to

25 refresh    his recollection        by any mean s.




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 1            MS. JOHNSTON:       Your Honor , if counsel    want s to

 2 refresh      his recollection , he 's free do so at this time .

 3            MR. WARD:     Well , to quote someone , I don't want

 4 to waste a lot of the Court 's time , Your Honor , so I'll

 5 move on .

 6            MR. MARTIN:     Your Honor , objection .

 7            BY MR. WARD:

 8 Q.         Sir , let 's look at Page 107 , which is a

 9 several -page call , A267 , and this is , I believe , a call

10 between      Paulette   Martin   and Gwen Levi that was play ed

11 for this jury .

12            Do you see that , sir ?

13 A.         Yes .

14 Q.         All right , sir .     Now , in this call -- you

15 remember      this call ; is that right ?

16 A.         Yes .

17 Q.         All right , sir .     In this call , Ms. Martin     is

18 complain ing to Gwen Levi about what a damn ed nuisance

19 my client      is , Lavon Dobie ; is that right , sir ?

20 A.         She's c omplain ing about Ms. Dobie look ing around

21 in her house where Ms. Martin          think s she should n't be

22 look ing .

23 Q.         Would you accept      the characterization     being a

24 nuisance ?

25 A.         She does not complain      about her being a




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 1 nuisance .    She complain s about her look ing .

 2 Q.       She said if you go in --

 3          MS. JOHNSTON:         Objection   to counsel   not letting

 4 the witness      finish .

 5          MR. WARD:      I thought    he had finish ed .

 6          I beg your pardon .

 7          BY MR. WARD:

 8 Q.       Do you want to finish , sir ?

 9 A.       She complain s about Ms. Dobie , for lack of a

10 better   word , maki ng herself      at home in Ms. Martin 's

11 house an d looking     in thing s that perhaps        a guest of the

12 house should n't be look ing into .

13 Q.       For example , she complain s she went into my case

14 an d pull ed that candy out ; is that right , sir ?

15 A.       I'm sorry .        What page are you look ing at ?

16 Q.       108 , at the top .

17 A.       Yes .

18 Q.       In your opinion , sir , as an ex pert , you said

19 that candy , in that case , meant just exact ly that ,

20 candy and not drug s.         Is that right , sir ?

21 A.       I don't know        if I testifi ed to that , but I would

22 agree with that .

23 Q.       You would agree with that .          All right .   Paulette

24 Martin   also complain ed -- this is at Page 108 -- she

25 has a habit of going in my cabinet s, taking             out my




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 1 liquor , the best of my liquor , my Moet , and giving              it

 2 out , and you know , just going in my -- when she went

 3 off in that thing , and I said , what you asked her ,

 4 what , even you asked her what she was do ing .           So again ,

 5 she 's complain ing about , if not being a nuisance , at

 6 least do ing thing s that she should n't be do ing or

 7 maki ng herself    at home ; is that right , sir ?

 8 A.         That 's correct .

 9 Q.         All right , sir .

10            And Paulette   Martin   continue s, and I'm not use d

11 to people     like that just comi ng into a people 's place ,

12 going into thing s.       I don't care how close of a friend

13 I am to anybody ; is that right , sir ?

14 A.         That 's what she says , yes .

15 Q.         And then she says at the next response          by

16 Paulette     Martin , uh-huh , so you know , she -- what she 's

17 been say ing about you , I think she just thought            you

18 meant Larry or something , but that 's why I said I have

19 to , you know , give you those paper s at another           time .

20 Is that what she said ?

21 A.         Yes .

22 Q.         Now , isn't she say ing there -- you said , by the

23 way , paper s was a code word for money ; is that right ,

24 sir ?

25 A.         What she 's say ing there , when she 's using the




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 1 term "paper s", she 's refer ring to        money , yes .

 2 Q.        What she 's say ing there in substance         is I had to

 3 give you the money at another           time because   Becky was

 4 there and I didn't      want Becky to see me giving          the

 5 money .

 6 A.        Yes , essentially .

 7 Q.        In other words,     I don't want Becky in my

 8 business ?

 9 A.        Essentially , that 's what she 's say ing , though

10 not using those words .

11 Q.        All right , sir .     Thank you .

12           Now we come to Page 120 , Call B829 .          This is ,

13 again , a call between       Paulette    Martin   and Lavon Dobie .

14           Down at the bottom      of Page 120 , we hear Lavon

15 talk ing to somebody     in the background        about you need to

16 get the manager 's special .        Don't get ten -piece

17 nugget s.    The manager 's special       is 20 piece s of nugget s

18 for $10 .99 , end quote ; is that correct ?

19 A.        Yes .

20 Q.        I take it you're      not suggest ing , sir , that

21 nugget s has anything       to do with drug s?

22 A.        I did not testify      to that , no .

23 Q.        And the manager 's special       has nothing      to do with

24 drug s; is that right , sir ?

25 A.        I did not testify      to that , no .




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1 Q.        And $10.99 is not being use d in context           of a

2 drug transaction ; is that correct , sir ?

3 A.        I do not think so , no .

4 Q.        All right , sir .     And then Lavon Dobie says that

5 box of hard rock taffy that I left around             there , and

6 you said that in the -- in this context , you

7 interpret ed hard rock taffy to be drug s; is that right ,

8 sir ?

9 A.        Crack cocaine , yes .

10 Q.       Because    she had the word rock in there ?

11 A.       It 's a common    way to de scribe    crack cocaine .

12 Q.       Hard rock taffy ?

13 A.       Yes .

14 Q.       I see .    That 's something    that you hear common ly ?

15 A.       Yes , I've heard this many time s.

16 Q.       How many more time s in every one of these

17 transcript s that you've      com par ed , and in fact , in every

18 one of the call s that you look ed at in the log s, the

19 10 ,000 or whatever     it was call s, how many time s again ,

20 other than this , did you see hard rock taffy referring

21 to drug s?

22 A.       I think Ms. Dobie use s the term hard rock candy

23 in at least      one maybe two other occasion s.

24 Q.       One or two .     So in one place,     candy does n't mean

25 anything .    It's --




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1 A.          The taffy or candy does n't mean anything .          It's

2 the hard rock .

3 Q.          And because    it says hard rock candy , that mean s

4 something ?

5 A.          In this particular      instance , this drug here is

6 actual ly identifi ed in call s with Milburn          Walk er where

7 he order s a quantity         of crack co ca ine , and Ms. Martin

8 sell s it to her .        So this drug here is actual ly

9 identified in       several    call s.

10 Q.         What , this hard rock taffy ?

11 A.         No , as crack cocaine .

12 Q.         As crack cocaine ?

13 A.         That 's correct .

14 Q.         So because    you have reference s to crack cocaine ,

15 it is your conclusion         that this hard rock taffy also

16 refer s to crack cocaine ?

17 A.         No .   What I'm talk ing about , the specific       amount

18 of drug s that she 's tell ing Ms. Martin        she want s was

19 actual ly sold to Mr. Walk er , and that actual          amount   is

20 referred     to in other conversation s and identifi ed by

21 other code words to refer to crack cocaine .

22 Q.         Sir , Page 16 6, Call A423 .    This was a call that

23 was play ed for the jury .        It took place on March 22 ,

24 beginning     at 12 :39 p.m ., and continui ng into 12 :49 p.m ;

25 is that correct , sir ?




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 1 A.        Did you say 12 :39 to 12 :49 ?

 2 Q.        Correct .

 3 A.        Yes , that is correct .

 4 Q.        And the bulk of this call has to do with

 5 gambling ; is that right , sir ?

 6 A.        I don't know   about the bulk , but there is a fair

 7 amount    that 's still excerpt ed in the book deal ing with

 8 gambling .

 9 Q.        Huh ?   I'm sorry ?

10 A.        There is a fair amount       that deal s with     gambling .

11 Q.        That 's right and Becky Dobie is tell ing Paulette

12 Martin    that if they go at gambling , they're          talk ing

13 about $15,000 , a $15,000        cut , one guy want s $16,000 ,

14 you know somebody      left with $15,000       so forth .   So , a

15 lot of money ; right , sir ?

16 A.        Yes .

17 Q.        Basically , what Dobie says is she and her

18 husband    get involve d in these gambling          operation s and

19 there 's a lot of money .

20 A.        Her and her husband       would go gambling , yes .

21 Q.        All right , sir .      Let 's look at Book 2, Page 251 .

22 This is Call B23 83, date April 1, call beginning at

23 05:32.

24 A.        Yes .

25 Q.        This is between       Paulette   Martin   and John Martin ;




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1 is that correct , sir ?

2 A.          Yes .

3 Q.          Paulette      Martin   says , Becky woke me up at 1:30 ,

4 and John Martin          says who ?    Becky ?   Uh-huh .     Is that

5 correct , sir ?

6 A.          Yes .

7 Q.          And then Paulette         goes on at the bottom       of the

8 page , and then she had a "faggy stand ing .                 I'm not sure

9 what that mean s, but does "faggy stand ing " have

10 anything     to do with drug s?

11 A.         I think that 's a person        she's talk ing about .

12 Q.         What ?

13 A.         I think the reference         that you're    talk ing about

14 at the bottom        is referring     to a person .

15 Q.         Oh .     You mean like a ho mo sexual      person ?

16 A.         I have no idea .

17 Q.         Oh , okay .     I said Becky , please , but she don't

18 want anything .         She don't want anything .          She just want

19 to come by here and tell me heard Mumpsy                Bumpsy   got

20 shot six time s and then she called him , but she could

21 have call ed me on the phone , but said she did but I

22 didn't   answer ; is that right , sir ?

23 A.         Yes .

24 Q.         Now , I recollect , sir -- you tell me if I'm

25 wrong , but your testimony           was this was a drug -related




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 1 call .    That was your opinion        to a moral certainty ; is

 2 that right , sir ?

 3 A.         This call is related       to drug s, yes .

 4 Q.         It is ?   So when Paulette     Martin     says she don't

 5 want anything .       She don't want anything .         Isn't she

 6 talk ing about drug s or anything         else ?

 7 A.         No , she 's identify ing that particular         person    --

 8 that particular       visit for the reason         that Becky came

 9 by .

10 Q.         I'm not sure .   You have to explain          that to me

11 because    I'm not qualifi ed .       She says she don't want

12 anything .     Isn't she tell ing John Martin          Becky came by .

13 All she want ed to do was tell me about Mumpsy              Bumpsy ,

14 but she didn't       want anything     else ?

15 A.         The very fact that she said she didn't            want

16 anything     would , to me , identify     that she didn't      want to

17 come by here to get drug s, she just want ed to tell me

18 that Mumpsy     Bumpsy   got shot .     If you read the entire

19 call , you can see it's complaining about              Becky in the

20 middle of the night, and        there are a series        of phone

21 call s, some of which we play ed in court dealing              with

22 Becky comi ng by at all hour s of the night .

23 Q.         So if somebody   came up to me on the street             and

24 says , I want to sell you a $10 bag of heroin , and I say

25 I don't want it , that 's a drug con versation            to you ?




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 1 A.       That is a drug conversation , yes .

 2 Q.       Does that    make me a co -con spirator       or something ?

 3 A.       I would n't make a guess on that , no , but

 4 certain ly if someone     offer s to sell you drug s and you

 5 turn them down , that is a drug conversation .

 6 Q.       I see .    Turn to Page 36 1, please , Telephone           Call

 7 B4183 , the date is April 23 , '04, and time is 14:56 ; in

 8 other words , 2:56 in the afternoon .          Do you see that ,

 9 sir ?

10 A.       Call B4183 ?

11 Q.       4183 ; correct .

12 A.       Yes .

13 Q.       This is , again , between       Paulette    Martin   and

14 Lavon Dobie ?

15 A.       Yes , it is .

16 Q.       Paulette    Martin   says , I thought      we was going to

17 have a ticket .      A couple   people   call ed me , but

18 apparent ly she does n't have a tick et.            So apparent ly

19 Dobie is try ing to buy a ticket         on this occasion ;

20 right , sir ?

21 A.       I don't think      that 's what 's going on in this

22 call , no .

23 Q.       What do you think is going on ?            Let me strike

24 that .

25          Are you say ing this is not a drug -related            call ?




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 1 A.        I didn't   say that .    I said your characterization

 2 of the call , I did not --

 3 Q.        You tell us what you think was going on based on

 4 your --

 5 A.        Middle   of page , she says I'm call ing Girl -G irl

 6 to see what happened       to the show .        I thought    I was

 7 going to have a ticket .         A couple     of people     call ed me .

 8 I told them there was nothing         I could do .        I thought   we

 9 would be at one of your show s.

10           What she is saying      is that Ms. Dobie is work ing

11 on a source    of cocaine    for them .       There 's other call s

12 that we 've play ed , so it 's not talk ing about Ms. Dobie

13 buy ing drug s from Ms. Martin .           It is about Ms. Martin

14 check ing with Ms. Dobie to see if her source                of cocaine

15 has come through .

16 Q.        Oh , I see .   So when she says we're going            to be

17 at one of your show s, now this make s Lavon Dobie the

18 sup plier.    Is that what you're          say ing ?

19 A.        I think I character ized it , but again , I can

20 certain ly repeat     myself .    What she 's saying        is what Ms.

21 Dobie is -- Ms. Mart in is check ing into with Ms. Dobie

22 is whether    the source    of drug s that Ms. Dobie is try ing

23 to locate    has come through      yet .     Ms. Mar tin is say ing I

24 thought   we 'd be at one of your show s by now , mean ing I

25 thought   your source    was going to come through .            That 's




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 1 what she 's say ing .

 2 Q.        There is no evidence         that the guy she was

 3 work ing on back on April 23 ever did come through ; is

 4 that right ?

 5 A.        Yes , there is .

 6 Q.        There is ?      We'll get to that.        And then Becky

 7 Dobie goes on and says , a guy I want to see the thing ,

 8 want to see the jewelry .         Now , jewel ry in this context ,

 9 is that referring       to drug s or is that referring          to

10 jewelry    as it 's common ly understood ?

11 A.        She 's referring     to the source       of cocaine   or

12 source    of drug s being the person        the guy who want s to

13 also see the jewelry , so she 's identify ing someone                who

14 also want s to see the jewelry .

15 Q.        Yes , but jewelry     as it 's use d there , is jewelry

16 as we common ly understand        it ?

17 A.        Yes .

18 Q.        All right , sir .

19           Now , let 's see , I may have       one or two in Book 3.

20 I don't know .     Yes , I think I do .       The one I was going

21 to refer to was the one on Page 503 where Paulette

22 Martin    say ing Becky ?    Becky ?     Becky ?   That is the call

23 I referred     to before , right ?

24 A.        Yes , it is .

25 Q.        I don't have      to go over that again ?




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 1 A.         I'm sorry .

 2 Q.         I said I don't think         we need to go into that

 3 again .     Now , you play ed a call or maybe one or more

 4 call s which had to do with Gwen Levi being in the

 5 Howard     County Detention     Center or something , and Lavon

 6 Dobie call ing to find out what was going on .            And I

 7 think say ing that she was an investigator           or made a

 8 representation        that she was an investigator ; is that

 9 right , sir ?

10 A.         Ms. Le vi was in the Montgomery        County Detention

11 Center when Ms. Dobie made that call , yes .

12 Q.         You have    no evidence      that Ms. Dobie ever did go

13 out there and see Ms. Levi ; is that right ?

14 A.         That 's correct .

15 Q.         So it was all talk , in other words ; right ?

16 A.         I would not say that , no .

17 Q.         Well , she didn't     go .

18 A.         That 's correct .

19 Q.         Is that right ?

20 A.         That 's correct .

21 Q.         Now , I want to look at the -- I want to refer to

22 the log s.      I think you've     been referring   to the log s

23 before .

24            MS. JOHNSTON:       Mark ed as Government 's

25 Miscellaneous      9 and 10 for identification .




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1           MR. WARD:      That 's what I thought .

2           BY MR. WARD:

3 Q.        But I want to ask you a few question s related                to

4 the log s.      Do you have the log s?

5 A.        No , I do not .

6 Q.        Do we have them , please ?       Thank you .

7           Now , let me understand , these log s were

8 something    that you listened      to as they were produced

9 day by day ; is that correct , sir ?

10 A.       I listen ed to the telephone        call s.    The log s

11 record   the information .

12 Q.       That relate     to the log s; is that right , sir ?

13 A.       Yes .

14 Q.       You would check the call against          what was

15 report ed in the synopsis       by the officer     who was sitting

16 there operati ng the machine ?

17 A.       Yes .

18 Q.       Okay , sir .    And when you went to decide        which

19 transcript s to produce      for the jury 's benefit       in this

20 case , you start ed basically      with those log s, pick ed out

21 which ones ?

22 A.       I don't think     we use d these log s, no .

23 Q.       What , did you go to just your memory ?

24 A.       No , we have a listing       of pertinent     call s which

25 is a little      bit more efficient    than the log s.




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 1 Q.       Okay .    But that 's made up from the log s; is that

 2 right , sir ?

 3 A.       It 's one of the thing s that goes in it , yes .

 4 Q.       So although    you didn't     rely direct ly on the

 5 log s, you didn't     go back to the log s.      You had    gone to

 6 the log s, made a list of what you deem ed to be

 7 pertinent   call s, and that was the list that you use d in

 8 pair ing what     has been play ed before     this jury ; is that

 9 correct , sir ?

10 A.       That 's probably    an accurate     description , yes .

11 Q.       Well , probably    accurate .    Is it accurate ?

12 A.       It 's not exact ly what we did , but --

13 Q.       Tell us how it 's not accurate , sir .

14 A.       If I was allow ed to finish .        It 's a good summary

15 of what we did .      As I explained     before , there was a lot

16 of other step s in between that we went through.

17 Q.       I want was giving      you a summary     because   I didn't

18 want to waste the Court 's time .         Sir , let me refer you

19 to Line A, Call A502 .

20          MS. JOHNSTON:      Your Honor , may we approach        the

21 bench , please ?

22          THE COURT:     You may .

23                    (At the bar of the Court.)

24          MS. JOHNSTON:      I'm going to continue , because

25 Mr. Montemarano      and Mr. Hall are having       their own




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 1 conference    back there , but I don't know        if counsel      is

 2 going to ask him to summarize         what was said in that

 3 particular    call on Line A.      Again , it 's not admitted

 4 into evidence    here before     this jury .

 5          If there is a call that they think they should

 6 cross -examine   this witness     about , then they should         have

 7 that call and that transcript         as opposed    to a summary ,

 8 which he re view ed , but didn't      necessarily    write

 9 himself .    So I'm object ing to anyone        using what is said

10 in that log as what's       said in that call if it 's a call

11 that 's not been play ed yet .

12          MR. WARD:     Your Honor , he is testify ing as an

13 ex pert , and I respect fully suggest , and I think the law

14 is amply clear , that any documentation           or any

15 information    he use d in arrivi ng at his ex pert opinion ,

16 quote -un quote , is fair game .

17          MS. JOHNSTON:      My point is he did not use this

18 particular    call to form the opinion s that he 's given

19 here in this court if it 's not one that was play ed yet .

20          THE COURT:     If he didn't     use this call in

21 form ing his opinion , how can you cross -examine            him

22 about it ?

23          MR. WARD:     First of all , he went through         all the

24 transcript s, the entire      10 ,000 call s, and from those he

25 made selection s.      That is a process       of I use this one,




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 1 I don't use this one,        I suggest .       I think I'm entitle d

 2 to ask him if there are ones he didn't                  use and why he

 3 didn't    use them .

 4            THE COURT:     Why he didn't        select    them for being

 5 play ed to the jury in this case ?

 6            MR. WARD:     Exact ly .

 7            THE COURT:     He 's already    indicated       that was a

 8 decision    made with counsel .

 9            MR. WARD:     I know , but I want to know why .

10            THE COURT:     You're not going to put the

11 prosecutor    on the     stand and ask her that question , are

12 you ?

13            MR. WARD:     No , but I've got this witness             on the

14 stand .    Your Honor , he 's an ex pert .         I mean , I'm

15 entitle d to question       him about anything           that he

16 re view ed or reli ed on .      I mean , that 's black letter

17 law .

18            MS. JOHNSTON:      The problem       is he didn't       say he

19 re view ed -- he didn't      testify    that he re view ed -- he

20 reli ed upon this particular          call .    I don't know       what's

21 in the call .     Again , I'm concerned         we're get ting into

22 issue s of introducing       hearsay    that 's not admissible .

23            THE COURT:     Mr. Ward , ask him if he reli ed upon

24 this particular        call and the witness        answer s he gave .

25 Depend ing on what his answer          is , we will see where we




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 1 go .

 2           MR. WARD:     My point is , for reason s that I think

 3 have some bear ing on his opinion          in this case , he chose

 4 not to rely on this document         and the pair , and I want

 5 know why he didn't       --

 6           THE COURT:     You can ask him that .

 7           MS. JOHNSTON:       My concern   is get ting into the

 8 substance .

 9           THE COURT:     I don't want to get into the

10 substance     of the call .

11           MS. JOHNSTON:       Or the note that con tains a

12 summary     of what the call is about .       That would be

13 hearsay .

14           THE COURT:     If you really     want to get into this

15 call , you're    going to have to play the call .

16           MR. WARD:     I don't have    the call .    It was never

17 --

18           MS. JOHNSTON:       So the record   is clear , the

19 defense     counsel   has had copies   of all of these call s

20 since many , many month s, if not over a year ago , so I

21 just want that on the record .

22           MR. WARD:     Let 's put this on the record :        I

23 was n't even in the case a year ago , number one .

24           THE COURT:     Mr. Wa rd , I don't think     you can go

25 too far with this area of inquiry .           It depends    on what




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 1 his answer s are,       so you may ask him whether       he reli ed

 2 upon this call in forming        the opinion s that he gave in

 3 this call .

 4                         (Back in open court .)

 5          BY MR. WARD:

 6 Q.       Have you look ed at that log ?

 7 A.       Call A50 2?      Yes , I have .

 8 Q.       And you recall      reading   that .   Look ing at it now

 9 and refresh ing your recollection , do you recall            having

10 read that log and listening         to that tape earlier      when

11 you were back in the beginnings            of this case ?

12 A.       I do not recall      this call specifically , no .

13 Q.       But it 's certain ly one that you -- since you

14 testifi ed to this jury you've         listened   to these call s

15 day by day and you did listen          also to the actual     call s

16 in conjunction     with the log s.       This is certain ly in the

17 log s and it 's certain ly one of the call s that you would

18 have listened    to ?

19 A.       I'm sure I have      listened     to it , I just do not

20 recall   it .

21 Q.       All right , sir .     Do you recall      this being a --

22 well , it is .   It 's a conversation        between   Paulette

23 Martin   and Gwen Levi ; is that correct , sir ?

24 A.       That 's what the log s indicate , yes .

25 Q.       And you recall      whether   there 's any discussion         in




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 1 that --

 2           MS. JOHNSTON:      Object ion .      The witness   has

 3 already    said he does n't recall       that call .

 4           THE COURT:     Sustained .

 5           MR. WARD:     Well , I'll have to call him back and

 6 play it in my case then .

 7           MS. JOHNSTON:      Your Honor --

 8           MR. WARD:     We do have it .

 9           MR. MARTIN:     8502 is on that disk .

10           MR. WARD:     Good .     Can we play 8502 ?

11           MS. JOHNSTON:      Your Honor , can we approach          the

12 bench , please ?

13                    (At the bar of the Court.)

14           MS. JOHNSTON:      I'm going to object        to the

15 play ing of this call .          The witness   has said he does not

16 recall    this call , so therefore , it could not have

17 serve d as a basis for his opinion ; and therefore ,

18 playing    the call does nothing        at this juncture     in term s

19 of cross -examining      him .     It introduce s hearsay

20 testimony    that may or may not be admissible .

21           Certain ly if it 's not a statement          made in

22 furtherance    of the co nspiracy,       it is not admissible       in

23 this trial at this time .

24           THE COURT:     I don't know       anything   about the

25 call .    What 's the   call ?     Who are the part ie s to the




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 1 call ?

 2            MR. WARD:      It 's a call between    Gwen Levi and

 3 Paulette     Martin     in which they talk about not want ing

 4 Becky to be involve d in their business            at all .    Now,

 5 Your Honor , when a witness           is call ed , I suggest   the

 6 other -- the opposi ng party , when an ex pert witness                is

 7 call ed , the opposi ng party is entitle d to question               him .

 8            THE COURT:      How long is the call ?

 9            MR. WARD:      How long is the call ?      I've got

10 several     call s.     I'm going to go into the same thing ,

11 the same base basic thing .

12            THE COURT:      That 's what I'm asking     you , how long

13 is the call ?

14            MR. WARD:      I think about three minute s, but I've

15 got a whole bunch of them I can play .             If we need to do

16 that , I will .

17            MS. JOHNSTON:        We were not given a list of call s

18 prior to -- I think the Court asked them yesterday                   to

19 provide     a list of the call s.        There is no transcript .

20 I don't think         counsel   has proffered   a transcript    for us

21 to play .

22            My concern     is really    the question   of whether      or

23 not this call is admissible .            Certain ly if there was a

24 call and this witness           -- and the point was to say that

25 this witness      didn't    take that call into consideration




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 1 and maybe they should        have and that might have changed

 2 their opinion , that then it would be admissible                 to play

 3 without     regard   to the truth of the matter        assert ed

 4 therein .

 5           In this instance , the witness        has said , one , he

 6 does n't remember      that call ; two , he didn't      rely upon

 7 that call , so therefore       he could not have reli ed on

 8 that call in form ing his opinion .           So the call is being

 9 offered     for what at this point ?

10           Either     the question   of -- has to be being

11 offered     for the truth of what's      ass erted in there ,

12 which get s us then to the question           of whether       or not

13 it 's hearsay , and admissible        hearsay   at that point .

14           MR. WARD:      I don't need an offering       for the

15 truth of what's       assert ed .   Simply , to ex plain why he

16 did what he did .       Your Honor , if an ex pert is call ed

17 and re view s certain      data and then choose s to rely on

18 this data , in my right hand , I'm certain ly entitle d to

19 ask him , well , if you reli ed on that , why didn't              you

20 rely on this ?       Why did you simply      ignore   this ?

21           THE COURT:      Mr. Ward , I asked counsel       to provide

22 the government       with identification      of record ings they

23 want ed to play or refer to , and you apparent ly didn't

24 do that ; is that correct ?

25           MR. WARD:      That 's correct .




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 1            THE COURT:     We have a trial that needs to be

 2 tri ed within      a reasonable     period   of time , and we're

 3 going to be here forever          if we're going to have

 4 surprise    record ings brought       up that   have not been

 5 noticed    to the government .

 6            MR. WARD:     How is this a surprise      to the

 7 government ?       This is their evidence       that they gave me .

 8            THE COURT:     Mr. Ward , it is not a surprise         when

 9 I told defense       counsel what     to do prior to

10 cross-examination       , which was to let the government          know

11 what , if any , specific      record ings they wish ed to play .

12 So that we would not have this problem             regard ing --

13            MR. WARD:     All right , sir .

14            THE COURT:     We would be able to play it on a

15 moment 's notice , and if there 's a chance          to use it or

16 have one prepared .

17            MR. WARD:     Your Honor , it 's not my wish to play

18 the record ing .

19            THE COURT:     Well , if you don't want to play it

20 and you've     already    asked him did he consider        it and he

21 said no , we move on .

22            MR. WARD:     The question    is , why didn't    you

23 consider    it .

24            THE COURT:     You can ask him that if you want .

25            MS. JOHNSTON:     If the question      is a question     of




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 1 refreshing     the witness ' recollection      of what was in the

 2 call , the government       does n't have any objection       if -- I

 3 appreciate     my concern     as well as the   Court 's concern

 4 about scheduling .

 5            If he want s to play these cal ls for the witness

 6 before     witness   get s on the stand so that he can say ,

 7 well , he didn't       consider   call such- and -such .    Why

 8 didn't     you consider    it .   That way he 's refresh ing his

 9 recollection     as he would try to do it with if the log

10 was un success ful because        of the witness ' lack of a

11 memory .

12            THE COURT :     Mr. Ward , we're going   to be comi ng

13 up pretty     soon on a break .      Do you know what call s you

14 want to ask this witness          about ?

15            MR. WARD:     Yes .

16            THE COURT:      Well , then , what we'll do is on that

17 break , you can play those call s to that witness , and

18 when we come back , you can ask him about those call s.

19            MR. WARD:     All right .    Let me --

20            MR. MCKNETT:      Your Honor , while we're here on

21 this topic --

22            THE COURT:      I can not hear you .

23            MR. MCKNETT :     While we 're here on this topic and

24 I'm comi ng up las t, it had been my intention             -- it was

25 my understand ing that because         he is an ex pert , we are




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 1 allow ed to cross -examine       him on the basis for the

 2 opinion s he holds and also cross -examine           him on the

 3 fact s or event s that he choose s to discuss            in

 4 formulati ng his opinion .

 5            THE COURT:      Th at 's why I asked all of you to

 6 notify   the government       of any additional    call s you

 7 want ed to play .

 8            MR. MCKNETT :     I don't intend    to play any

 9 additional     call s during    the cross -examination .

10 However , I did -- depend ing on his answer s, if I ask

11 him , for instance , what are the question s I intend                 to

12 ask him that has to do with an event in which my client

13 was involve d, to ask him if he remember s -- the Court

14 may recall     there 's a conversation      about letterhead          and

15 fax es and time sheet s.

16            THE COURT:      Right .

17            MR. MCKNETT :     I'm going to ask him if he recall s

18 any other conversation s that concern           Ms. Ali and Ms.

19 Martin   and the preparation         of letter heads .    And then

20 depend ing on if he says , yes , then I'm fine .              If he

21 says , I don't remember , then I intended to             refer him to

22 a couple    of call s in the log s.       Not play them .

23            THE COURT:      Do you have any specific       call s you

24 want to play ?

25            MR. MCKNETT :     I don't   want to play them .       I just




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 1 want to refer him to them to refresh            his recollection .

 2          THE COURT:      Ask him question .

 3          MS. JOHNSTON:       I think the problem       become s is

 4 what 's in the log may not refresh          the detective 's --

 5 his memory     concern ing what the call s were about because

 6 sometimes    the log s were erroneous , and what he would

 7 need to do would be hear the call to fresh his

 8 recollection .

 9          It would mean not pl ay ing it for the jury , but

10 play ing it for him so as to refresh           his recollection      so

11 he can answer     the question .     That 's the problem .

12          MR. MCKNETT :     Your Honor , there are two problem s

13 with Ms. Johnston' s response        whether    he remember s what

14 he reli es on now -- whether        he remember s now what he

15 re lied on then is not the issue .          We can refresh     his

16 recollection     as to what his opinion        was .

17          Then the second      thing is he 's already      testifi ed

18 that he 's re view ed all these log s, and when he found a

19 discrepancy , he would put a note in the log that there

20 was a discrepancy .       None of the call s that I'm

21 referring    to indicate    any discrepanci es between       what he

22 heard then and what 's in the log s now .

23          THE COURT:      Mr. Sussman    want s to say something .

24          MR. SUSSMAN :     It seem s it's a common       problem .

25 Maybe since they can be refreshed           with these call s,




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 1 maybe if we took our last break , they play ed the call s

 2 for the guy .

 3           THE COURT:      That 's what I'd already         said .

 4           MR. SUSSMAN :     See , I miss thing s back there .

 5           MS. JOHNSTON:      What I must tell the Court is the

 6 government    does not necessarily          have those call s

 7 convenient ly handy .

 8           THE COURT:      I understand .       That 's why I ask ed to

 9 have this notification        given .   All right .        Counsel,

10 what I'm going to do is in a few minute s, we'll --

11 you're    nowhere   near the end of your cross ; is that

12 correct ?

13           MR. WARD:    Nowhere     near .

14           THE COURT:      All right .       Well , continue   on for

15 fi ve or so minute s, ten minute s, then I'll take a

16 20 -minute   break and we'll come back .           And during       that

17 20 -minute   break , I want you to play for the detective

18 the call s you want to play .

19           MR. WARD:    We have them .         Mr. Martin can produce

20 those .

21           MR. MONTEMARANO :      While we're up here , I would

22 like to put on the record        my object ion to       the call s

23 being play ed .     I understand     Ms. Johnston     --

24           THE COURT:      Play ed to the jury or play ed to the

25 witness ?




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 1            MR. MONTEMARANO :      To the jury .

 2            THE COURT:      I'm not play ing them to the jury .

 3 Your objection     is sustained .      You didn't    need to make

 4 it .     Any other -- any call s you want to ask him about

 5 he needs to listen        to to refresh   his recollection        about

 6 if he took it into account         or whether     he reli ed upon

 7 it , you can play it for them .

 8            MR. MONTEMARANO :      If I may make a --

 9            MR. MCKNETT :     If I may make a suggestion          to

10 speed this up a bit .         If Ms. Johnston     and I could ask

11 that he look at the log entri es , and if they appear                 to

12 be accurate , there would n't be any need to play the

13 tape .

14            THE COURT:      This not play ing tape is fine with

15 me .

16            MR. MCKNETT :     That 's a summary     of my precise

17 point , Your Honor .

18            MR. WARD:     I would ask that he listen       to the

19 tape com pare it to the log , and if there is any

20 discrepancy , he note d that .

21            MS. JOHNSTON:      He didn't   remember    the call .

22            THE COURT:      All right , counsel .     Proceed .

23                         (Back in open court .)

24            BY MR. WARD:

25 Q.         Detective    Sakala   -- I'm sorry .     Sergeant     Sakala ,




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 1 on Line E, which was the line for Gwen Levi , whose line

 2 you tapped , isn't it a fact , sir , that there are no

 3 call s from my client , Lavon Dobie , to Gwen Levi ?

 4 A.        I believe      that is accurate , yes .

 5 Q.        And as to Mr. Mangual , Luis Mangual , whose line ,

 6 Line D, was also tapped , and whom you've             ID'd as Mr.

 7 Mangual     as a suppli er , isn't it a fact , sir , that there

 8 are no call s from my client , Becky Dobie , to Luis

 9 Mangual ?

10 A.        There were no intercept ed call s between         the two ,

11 that 's correct .

12 Q.        All right , sir .     One of the tape s that was

13 play ed was in Book 1 at Page 289 .

14 A.        I'm sorry , the page number      again ?

15 Q.        Book 1, page -- I'm sorry .       Book 1, Page 31 .       Do

16 recall    this being play ed sir ?      This call ?     It occurred

17 -- it 's B289 .     It occurred    on March 11 , 2004 , beginning

18 at 13 :22 , that 's 1:22 p.m.       Do you remember      that ?

19 A.        Yes , I do .

20 Q.        All right , sir .     And in , or rather , on Page

21 0032, Ms. Martin      said in part , this -- this is about

22 ten line s up .     It begin s, I said , quote,       now -- do you

23 see where that is , sir ?

24 A.        Yes .

25 Q.        I said , "now , you haven't     seen J. R. since




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1 you've     been home .     Why would he , out of the clear blue

2 sky , ask you anything        about Becky , Tony ?        He said last

3 time he saw Beck y she was shaki ng like a leaf , and I

4 said , yeah , I guess so .        I said , she 's probably          shaki ng

5 to keep her from pull ing that trigger                on that hammer

6 she had with her .         And he said , huh ?        End quote .

7             Do you remember     that , sir ?

8 A.          Yes .

9 Q.          All right , sir .    And do you remember        your

10 opinion    about the trigger      on the hammer        and what that

11 signified     to you to a moral certainty ?

12 A.         I don't eve n know if that 's code , but yeah , I

13 know what it mean s.        I know what I testif ied to,            yes .

14 Q.         What did you testify         to , sir ?

15 A.         Pull ing the trigger     on the gun .

16 Q.         All right , sir .    Now , did you ever , in your

17 re view of documentation       related      to this case , including

18 the log s themselves       and the call s that you've        listened

19 to that related       to the log s, did you ever hear any call

20 in which it was suggest ed that that statement               by

21 Paulette     Martin   was a joke to the person          that she had

22 made that representation         to ?     That is a joke about

23 Becky having       a gun or a hammer       and pull ing the trigger ?

24 A.         I don't know    that it 's identifi ed as a joke or

25 not a joke .




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1 Q.          You don't ?

2 A.          There 's no indication       one way or another .        If

3 you're     asking     me does it --

4 Q.          On this call .

5 A.          Yeah , in this call , no , and I'm not aware if

6 this reference s.

7 Q.          I'm asking    you , sir --

8 A.          I'm not aware of the reference            with Anthony    Hall

9 in other call s that you were asking            me about either .

10 I'm not aware of that either .

11 Q.         Well , you heard this call play ed ; right ?            The

12 one I just read ?

13 A.         Yes .

14 Q.         My question    is to you , sir :        Do you recall

15 another    telephone     call at or around     the same time as

16 the one I just read in which it was suggest ed by

17 Paulette     Martin    that what she had told this person

18 about Becky having        a hammer   and Paul pull ing the

19 trigger    was said as a joke ?

20 A.         No , I do not .

21 Q.         You simply    don't recall     it or are you say ing it

22 didn't    happen ?

23 A.         I'm say ing I don't recall       it .

24 Q.         Okay .    If you were to hear a call to that

25 effect , would that have any effect           on your opinion       that




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 1 you ex pre ss ed in this court , sir ?

 2 A.        It would have no effect       on my opinion      that she 's

 3 say ing she 's probably      shak ing to    keep from pulling      the

 4 trigger     on the gun .    That would not change        that

 5 opinion .     If you're    say ing there 's another      call where

 6 that 's a joke , I don't think       I ex press ed an opinion       one

 7 way or another , so the answer        is no , I do not think it

 8 would effect my opinion .

 9 Q.        You don't think it would effect your opinion .

10 All right , sir .

11           In going through     the log s and listening          to the

12 correspond ing call s, sir , you recall         a number    of

13 telephone     call s deal ing with jewelry      and fur s and rock s

14 as big as light bulb s referring           to jewel s?

15 A.        I recall   reference s to jewelry .       The light

16 bulb s, I think you asked me about before , and I don't

17 recall    that .

18 Q.        But you do recall     reference     to jewelry    and fur s?

19 A.        I'm try ing to think if I recall         a reference      to

20 fur s and there may have been .         I do not recall .

21 Q.        But with respect     to the jewelry      that you do

22 recall , the context       of those reference s was with regard

23 to Becky Dobie sell ing or offering           for sale jewelry

24 that she had stolen ?

25 A.        There were call s to that -- about that , yes .




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1 Q.          I asked   you before    about aqua marine , and let me

2 ask you :      Do you recall     a couple     of telephone        call s

3 referring      to the fact that Becky Dobie had offered                    for

4 sale some $8,000         aqua marine   earring s that she had

5 stolen   for $800 ?

6 A.          She had jewelry      for sale .    What type s and

7 price s, I do not recall .          I know there was discussion

8 of that .

9 Q.          All right , sir .     Are you familiar        with the fact ,

10 sir , that when Ms. Dobie 's house was raid ed pursuant                     to

11 a search     and seizure    warrant , the y found in the house

12 probably     a couple    of hundred    items of jewelry ?

13 A.         There was jewelry      re covered .   I don't know         the

14 exact amount .

15 Q.         Hum ?

16 A.         There was jewelry      re covered .   I don't know         the

17 exact amount .

18 Q.         It was a number .      It was n't one or two ; is that

19 correct ?

20 A.         That 's correct .

21 Q.         It was quite a substantial         number ?

22 A.         It was a lot of jewelry .

23 Q.         And most of it was in small glassine                 envelope s;

24 is that correct ?

25 A.         I don't know .      I don't remember .        No .




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 1 Q.        Hum ?

 2 A.        I do not remember .

 3 Q.        Were you there , by the way , at the raid ?

 4 A.        I was not .

 5 Q.        So you would n't remember        it anyway .     We'll have

 6 to get to that through       other witness es .

 7           Do you know , as one of the three case agent s in

 8 this case , that the jewelry        that was taken from Ms.

 9 Dobie 's house was taken by Custom s with the intent              of

10 --

11           MS. JOHNSTON :     Objection .

12           MR. WARD:     To forfeit ?

13           MS. JOHNSTON:      Objection .

14           THE COURT:     Sustained .

15           MR. WARD:     All right .    All right .       Your Honor , I

16 think we've identifi ed the -- some call s that we need

17 to get into as we discuss ed at the bench .

18           THE COURT:     All right .    Ladies and gentlemen      ,

19 we'll take a recess       until 12 :35 .    And then we will go

20 non stop until 2:00 and you're         out of here .

21                   (Jury excused    at 12 :10 p.m. )

22           THE COURT:     Ms. Green berg .

23           MS. GREENBERG:      My quick question        is -- if

24 counsel   could stay a moment .        We went on time estimate s

25 here yesterday .       We have a witness      here .   Is it safe to




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 1 say we can re lease that witness         based on time

 2 estimate s?

 3           THE COURT:      Mr. Ward is just warm ing up and we

 4 have two more cross -exam inations        to go and you may have

 5 some re direct .     You may re lease him .

 6           MS. JOHNSTON:      Your Honor , I'm going to direct

 7 Sergeant    Sakala   to stay in the courtroom        and listen     to

 8 any call s.

 9           THE COURT:      So he can say whether      he remember s

10 them or he considered       them or anything      else , that 's

11 fine .

12           MS. JOHNSTON:      For whatever    call s they want to

13 play .

14           THE COURT:      Whatever   you want him to listen        to .

15 All right .    See you at 12 :35 .

16           MR. MCKNETT :     Your Honor , I had suggest ed that I

17 refer to them that he could re view the log and see if

18 they're    accurate .

19           MS. JOHNSTON:      We can do that with Mr. McKnett's

20 call s while they're      try ing to   fin d these call s.

21                  (Off the record       at 12 :12 p.m. )

22                  (On the record at       12 :41 p.m. )

23                  (Witness resumes the stand.)

24                  (Jury return s at 12 :44 p.m. )

25           THE COURT:      You may proceed , Mr. Ward .




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 1            BY MR. WARD:

 2 Q.         Sergeant , I place d up there Hayward -7 , the

 3 notebook     that was re covered , I believe , from Ms.

 4 Martin 's house .

 5 A.         Yes .

 6 Q.         I believe      you testifi ed yesterday     about phone

 7 intercept s you believe         related   to Becky Dobie ; is that

 8 correct , sir ?

 9 A.         Yes .

10 Q.         Would you -- I mean , since the page s are not

11 numbered , let me just put the page up .             Ask you if you

12 can turn to that page , please .

13 A.         Can you give me an idea where in the book it is ?

14 Q.         Oh , I'm sorry .

15 A.         You can put it back up there .           I'm sorry I may

16 have it .     Is it this page ?

17 Q.         That 's it .     That 's exact ly it .    Now , before    we

18 get into the de tail s, in the context          of this case and

19 particular ly with respect         to Ms. Dobie , $125 refer s to

20 an eighth     of an ounce ?

21 A.         That 's correct .

22 Q.         Which is how many grams ?

23 A.         3.5 .

24 Q.         All right .      And that is not -- that amount          is

25 not in consistent      with use by a drug user or an addict ;




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1 is that correct ?

2 A.       The amount       purchase d would be in consistent          for

3 if they were using an entire            amount , but if they were

4 using it and sell ing part of it to pay for what they

5 were using , it would not be in consistent .

6 Q.       Are you say ing that somebody            with a long -term ,

7 heavy habit would not buy $125 worth , an eighth , and

8 personally     use it ?

9 A.       A long -term,      heavy habit , I would assume .

10 Q.      Let me finish .       Over a period       of several      day s?

11 A.      If that 's what you're         say ing , yeah .       I would

12 dis agree with that.        A long -term , heavy user would not

13 stockpile    cocaine     for several    day s.    They would use it

14 as long as    they got it .     If they've       got $20 , they would

15 go buy a rock and smoke it .

16 Q.      You never found any amount s larger               than $125 , or

17 an eighth , with respect       to Ms. Dobie ; is that correct ?

18 A.      That is in correct .

19 Q.      Huh ?

20 A.      In correct .

21 Q.      In correct .      Let 's go through      it , sir .     It start s

22 out at the top , B.D.        And first of all , you're          assuming

23 that B.D. is Becky Dobie ; is that correct ?

24 A.      That , and one of the conversation s where she

25 tell s her to put it on my bill .




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 1 Q.         Yeah .   All right .     It start s out owe 39 0 suit , S

 2 U I T; is that right , sir , the top ?

 3 A.         Yes .

 4 Q.         Now , is -- you're      not suggest ing that suit is a

 5 quantity     of drug s; is that correct ?

 6 A.         I am not .

 7 Q.         Okay .   So apparent ly she bought       a suit ?

 8 A.         I have no idea what that mean s.

 9 Q.         Okay .   Well , it was 39 0 buck s anyway , and it

10 appear s that on -- I can't re ad , I think it 's 11 /17 ,

11 she paid 200 on account , and that brought             her balance

12 down to 19 0; is that correct ?

13 A.         She paid 200 an d brought      it down to 19 0.      Yes .

14 Q.         Then there was another       payment   of 100 , bring ing

15 it down to 90 ?

16 A.         Yes .

17 Q.         And then it look s like 12 /5, I'm not sure how

18 that fit s in , but 10 /3, got 125 .        That's    an eighth ,

19 correct ?

20 A.         10 /5, got 125 .

21 Q.         10 /5, yeah , and then 10 /11 , six day s later ,

22 again , got 125 ; is that right , sir ?

23 A.         Yes .

24 Q.         A total of 250 .       I can't read what that says .

25 It look s like J something .         But anyway .




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 1 A.        Something      paid .   Joy paid maybe .

 2 Q.        Appear s $100 paid , bring ing it down to a balance

 3 of 150 , an d then on 10 /18 , there is a charge          of 125 ,

 4 taking    that to 27 5.      A subsequent    un date d payment    of

 5 100 , bring ing it down to 17 5; am I correct          so far ?

 6 A.        Yes .

 7 Q.        And then we have on 10 /21 , a charge        of 125 ,

 8 maki ng a total owe d of 300 , 10 /23 minus 75, and I'm not

 9 sure I understand        what all this cross ing out is .         But

10 in any event , 11 /1 look s like a charge          of 125 ; is that

11 correct ?    And then be low that , minus 35 .

12 A.        She has a lot of cross -out s, so I'm not sure

13 what she 's referring        to there .

14 Q.        And then 11 /2, it appear s a charge        of 125 and

15 then a payment     of 60 ?

16 A.        Yes .

17 Q.        11 /4, 125 .     11 something , I can't read that ,

18 150 .    And 11 /9, 125 , a total of 400 ; is that correct ,

19 sir ?

20 A.        Yes .

21 Q.        That then carries        forward   to the top , right-hand

22 column; is    that right ?

23 A.        Appear s to be , yes .

24 Q.        In other words , a payment         of 125 -- I'm sorry .

25 A charge    125 on November       13 , a total of 525 , a payment




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1 on the same date of 300 , bring ing you down to 225 , and

2 another     charge    un date d of 125 .     11 /17 , it appear s the

3 total is 350 .        Payment    of 200 bring ing you down to 150 ,

4 and then a payment           of 45 , and then this next one is a

5 -- it appear s a payment          of 125 , 25 , 25 , bring ing it

6 down -- I'm sorry,           those are charge s.     125 , 25 , 25 ,

7 17 5.     Now , $25 , what's     -- in term s of narcotic s

8 transactions        and the context    of this case , what's      a $25

9 tran saction ?

10 A.        It mean s that whatever         drug s that she got were

11 either    worth $25 , or she paid $100 , put up 25 on her

12 bill , which is probably         a little    bit more like ly since

13 the 125 is the overwhelming          charge .

14 Q.        Twenty-five       would be a real small amount .        I

15 mean , if 125 is three point         something    grams , then 25

16 would be pro portion ately less , I assume ?

17 A.        It would be less , yes .

18 Q.        Okay .    And then we have , that 's 17 5, a payment

19 of 75 , bring ing down to a balance           of 100 .   There 's 125 .

20 Apparent ly that 's a charge , and another           charge   of 125 ,

21 plus another       charge    of 25 for a total of 250 , but --

22 and as we go down , most if not           all -- here 's another

23 $90 suit .    It appear s that on that page , other than the

24 suit at $390 in the upper left-hand             corner , the highest

25 charge    is 125 ; is that correct ?




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 1 A.         That appear s to be correct , yes .

 2 Q.         Okay .    Let 's go to the -- it 's about the second

 3 page forward .        First of all , we end up with -- at the

 4 bottom     of the page we were just talk ing to , we end up

 5 with a balance        of $615 .   Do you see that ?

 6 A.         $615 , yes .

 7 Q.         And then we go to this next page .

 8            Do you have this , which says B. D. at the top ?

 9 A.         Yes .

10 Q.         And then we have , again , going down this column ,

11 and I'll just skip down , 125 it look s like , 135 -- now ,

12 does 135 signify,         in the context     of this case , a drug

13 charge ?     I mean , is there something         -- like an eighth

14 or whatever        that 's equivalent     to $135 ?

15 A.         It 's what she paid on .        I believe    that look s

16 like -- I can't make out the fourth              day of whatever

17 month they're        talk ing about .

18 Q.         740 , that 's right .    She paid 135 , leavi ng a

19 balance     of 605 ; is that right ?

20 A.         That 's right .

21 Q.         Then we have another         charge   of 125 , 125 , 125 ,

22 125 , 125 , 125 , 125 , 125 , 125 , Wednesday          up with a

23 balance     in the first column         of 555, and we take that

24 forward     and then there 's payment        of $500 ; is that

25 correct ?




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1 A.         Yes .

2 Q.         And then again 125 , 125 , look s like 25 , 25 , 125 ,

3 125 , 125 ?

4 A.         I think you skip ped a distribution        there .   The

5 1,000 is not highlight ed on your copy , right in the

6 middle .

7 Q.         (Indicati ng .)

8 A.         Right there .

9 Q.         1,000 ?

10 A.        Yes .

11 Q.        Right .    And that 's 2/3.    Now , do you know

12 whether   there were other , from your investigation           and

13 your knowledge       of this case , there were other monetary

14 transactions       between   Ms. Dobie and Paul ette Martin ,

15 that is , other than Dobie ?

16 A.        I do not know .

17 Q.        Well , we have -- we do have a $350 thing up here

18 that is a suit or $39 0; is that right , sir ?

19 A.        That is correct .      That 's the notation .

20 Q.        And then we have another       $90 suit down here .

21 A.        That is the notation , I believe .

22 Q.        Okay .    So , there is no notation    next to the

23 $1,000 , but you have no basis for say ing to a -- a

24 moral certainty       that $1,000   represent s strict ly

25 narcotic s or drug s?




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 1 A.        It 's a common      price for an ounce of cocaine .

 2 Q.        I'm sorry ?

 3 A.        It was a common       price for the ounce of cocaine .

 4 I would note the non -cocaine         purchase s entri es are

 5 note d with clothi ng , whereas       the cocaine     entr ies are

 6 not note d at all .

 7 Q.        So your assumption , then , is that this $1,000

 8 relate s to a one -ounce deal , right ?

 9 A.        Yes .

10 Q.        And then we've got 25 , 125 , 125 , 125 , 25 , and

11 then it    look s like from then on , the re a re simply

12 payment s reducing      it down to --

13 A.        That 's correct .

14 Q.        -- a balance       of 26 40 , and we don't go anywhere

15 from there ; is that right , sir ?

16 A.        Yes .

17 Q.        All right , sir .      Give me a moment .

18           Let me just clarify       a question      I asked you

19 earlier , and that was if there was a statement             on one

20 of those tape s to the effect         of the business     about the

21 hammer    and trigger     was a joke , that would not alter

22 your opinion      at all .

23 A.        I did not offer an opinion        as to whether     that

24 comment    was a joke .      I offered   opinion    of what the

25 hammer    -- trigger    on the hammer     meant .




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 1 Q.        I see .     But if there was a comment        made known to

 2 you that that comment        about the trigger     and the hammer

 3 was said as a joke , would that alter your opinion                 that

 4 trigger    and hammer     meant a gun ?

 5 A.        No .     I don't see how it would .

 6           MR. WARD:      Okay .    That 's all I have    at this

 7 point .    Thank you .

 8           THE COURT:      Thank you .

 9           Mr. Sussman .

10                               CROSS-EXAMINATION

11           BY MR. SUSSMAN :

12 Q.        Good afternoon , Sergeant .

13 A.        Good afternoon .

14 Q.        At the beginning        of your testimony , you

15 indicated    the basis of your opinion s, and one of the

16 thing s you said was that your opinion s weren't            just

17 based on the wiretap s and sell s, but on the totality                of

18 the investigation ; is that right ?

19 A.        That there were other thing s that figured           in ,

20 yes .

21 Q.        Okay .     And is it fair to say that the more you

22 know in term s of the in vestigation,         the better    the

23 quality    of your opinion s?

24 A.        I would agree with that , yes .

25 Q.        Okay .     Now , among the thing s that you reli ed on




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1 were the numerous       search es that had been done in this

2 case ?

3 A.       Yes .

4 Q.       A lot of surveillance        that was report ed to you ;

5 is that correct ?

6 A.       Yes .

7 Q.       And surveillance      you , yourself , did ?

8 A.       Yes .

9 Q.       Pin register s, you talk ed about those earlier

10 on ; is that right ?

11 A.      Yes .

12 Q.      And they allow ed you to see who was call ing who ?

13 A.      They establish ed pat terns between         telephone s,

14 not necessarily     who 's making    the call s.

15 Q.      You had phone bill s to look at ?

16 A.      Yes .

17 Q.      So there is a whole variety         of information

18 available   to you .    And that all help ed form the base of

19 your opinion ; is that correct ?

20 A.      That 's correct .

21 Q.      Okay .    Now , the one exception      you made was that

22 none of your opinion      was based on any inter view s with

23 cooperating     witness es ; is that right ?

24 A.      That 's correct .

25 Q.      Now , during    the course    of your duti es in




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 1 connection     with this case , you did inter view

 2 cooperating       witness es ; is that right ?

 3 A.         I've inter view ed some of them , yes .

 4 Q.         You spent some hour s discuss ing thing s with

 5 them ; is that right ?

 6 A.         That 's correct .

 7 Q.         And it 's your testimony     that you can totally        put

 8 anything    those folk s told you out of your mind during

 9 the course     of your testimony ?

10 A.         I never testifi ed to that .

11 Q.         But you're     testify ing you're   not rely ing on

12 anything    they told you during      the course of those

13 de brief ings ?

14 A.         That 's correct .

15 Q.         You indicated     that your involve ment in the

16 investigation       began in late -2002 ; correct ?

17 A.         That 's correct .

18 Q.         And the arrest s and search es were conduct ed en

19 masse in June 1st , June 2nd of 2004 ; isn't that right ?

20 A.         There were some arrest s and search es then , yes .

21 Q.         Well , there were approximately        25 , 30 arrests    or

22 more in June of 2004 ; right ?

23 A.         I don't know     the number , but there were arrest s

24 on that day , there were arrests         before   that day , and

25 there were arrest s after that day .




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 1 Q.        You recall        that 33 people   were indicted when         the

 2 case first came down ; weren't            they ?

 3 A.        They were not indicted on that day, no.

 4 Q.        So there are about 33 people             in indicted;    is

 5 that right ?

 6 A.        That 's right .

 7 Q.        And there are other people           who were involve d,

 8 perhaps    not on the       chart , who are also involve d in this

 9 conspiracy      in your opinion ; is that right ?

10 A.        Yes .

11 Q.        There are people        who would agree to plead

12 earlier    before    arrest s were made ; is that right ?

13 A.        Before    June 1st ?     I don't think      we had any

14 guilty    plea s before      June 1st .    There may be , but I

15 don't -- as I sit here , I can't remember               any guilty

16 plea s before      then .

17 Q.        There are people        clear ly who, in your mind and

18 in your opinion , were involve d but not part of the

19 indict ment .

20 A.        Yes .

21 Q.        Okay .    There are people       who you could n't

22 identify ; is that right ?

23 A.        Correct .

24 Q.        There are people , in one case , Stev en Brim ,

25 who 's dead ; is that right ?




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1 A.        Yes , he was dead .

2 Q.        So the number      of actual     people    who might have

3 been participati ng in this conspiracy               might have been

4 as high as 40 or more ; is that right ?

5 A.        Yeah .   I don't know     what the total number          would

6 be , but it would be more than 30 , I guess .              33 .

7 Q.        You're   aware that the con spiracy          is charge d to

8 have be gun in 19 97 ; is that correct ?

9 A.        That sounds     right , yes .

10 Q.       Okay .   And you play ed no role in the

11 investigation     between   19 97 and 2002 ; is that right ?

12 A.       I would not say that .          There were thing s that I

13 did in other investigation s that became              part of this

14 investigation , so it would depend , I guess , on your

15 definition   of role .

16 Q.       Let me ask this :       You had indicated       at least    a

17 number   of time s that your participation            in this

18 investigation     began in 2002 ; i s that correct ?

19 A.       That is correct .

20 Q.       You actual ly are using information            or are privy

21 to information     that occurred    between        19 97 and 2002 in

22 your opinion ?

23 A.       That 's correct .

24 Q.       Some of that information          you got from other

25 people ; is that right ?




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 1 A.         Between      '97 and 2002 .

 2 Q.         What was going on --

 3 A.         Oh , yes .     I'm sorry , yes .

 4 Q.         Because      they were more active     in the

 5 investigation        than you were ; is that right ?

 6 A.         Well , it 's just that --

 7 Q.         It 's yes or no .     They were more active      than you .

 8            MS. JOHNSTON:       Objection , Your Honor .

 9            THE COURT:       One person    at a time , all right ?

10 Let him finish        and then you ask your question .

11            MR. SUSSMAN :      I asked the question .

12 Q.         Were those people         more active ly involve d in the

13 investigation        than you were between       '97 and 2002 ?

14 A.         Okay .

15            THE WITNESS :      Your Honor , I cannot    answer     that

16 question     yes or no .      If I could explain .

17            THE COURT:       Answer    the way you want .

18            THE WITNESS:       Thank you , Your Honor .     There were

19 thing s that happened         between    19 97 and 2002 that

20 subsequent ly became         part of this investigation , so they

21 were involve d in do ing whatever           they were do ing .    But

22 as our investigation          progress ed , we were able to tie

23 event s that happened         back during     the time frame to the

24 current    investigation .

25            BY MR. SUSSMAN :




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 1 Q.         It's fair to say that your information

 2 concern ing those year s principally           came from other

 3 people ; is that right ?

 4 A.         A lot of it did , yes .

 5 Q.         And you have no way of ascertain ing for sure

 6 where their information         came from ; is that right ?

 7 A.         No , I know where a lot of their information            came

 8 from , yes .

 9 Q.         Well , you -- one police officer        may tell you

10 something      he heard from another     police officer .        That 's

11 frequent ly the case ; isn't that right ?

12 A.         No , I don't think    we -- if you're     asking    what we

13 reli ed -- that we re lied on what one police officer

14 told us that another         police officer     said , if that

15 occu rred, we would go back to th e original           police

16 officer    and verify   the information        and go back to the

17 source .

18 Q.         During   the curse of your testimony , didn't          you

19 frequent ly rely on police        report s that you read during

20 the course      of your investigation ?

21 A.         I don't think so .     It 's possible    though .

22 Q.         Well , in circumstance s where you talk ed about

23 search es -- you reli ed upon search es and surveillance s,

24 you didn't      personally    participate     in all those search es

25 and surveillance s; is that correct ?




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1 A.          That is correct .

2 Q.          In every one of those case s, you talked         to the

3 officer     who 's involve d in that search       or su rveillance?

4 A.          I think every officer      we could identify , yes ,

5 we've talk ed to every one we could identify .

6 Q.          That would avoid any confusion        about what had

7 occurred      actual ly ?

8 A.          Yes .     Go back to the source , yes .

9 Q.          Let me ask some question s about the code .          I

10 recall   that Mr. Montemarano        asked you some question s

11 about direct       buy or under cover buy and you were very

12 specific     in correct ing him ; is that right ?

13 A.         Yes .

14 Q.         Because     those are specific    term s that police

15 officers     use ; is that right ?

16 A.         That is correct .

17 Q.         The reason      you they use specific     term s is you

18 don't get confused         when you're   referring   to something

19 everybody     know s what you're     talk ing about ?

20 A.         They refer to specific        identifiable   technique s.

21 Q.         Right .     The police officers    have a code ; isn't

22 that right ?

23 A.         We have jargon , yes .

24 Q.         So when -- and that 's pretty       common   in every

25 business ; is that correct ?




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1 A.          I belie ve so , yes .

2 Q.          And one of the      thing s -- one of the    reason s you

3 do it is so everybody 's talk ing a common             language , so

4 you all know what you're          talk ing about .

5 A.          It 's probably   just that there are specific          term s

6 that are unique        to any individual    career .

7 Q.          The police   have a "10 code ;" isn't that right ?

8 A.          Yes .

9 Q.          And there 's "1 code " for officer       in trouble ?

10 A.         Yes .

11 Q.         And everybody    who 's a police officer      in the

12 metropolitan       area really   has got to know that ?

13 A.         Well that would be -- no .      Different     from

14 different     department s.

15 Q.         Well , there 's some attempt s to uniform       -- make

16 that code uniform , right ?

17 A.         There 's actual ly a push now towards        plain talk

18 language     since 9/11 , so the codes were always         different

19 and that was a problem         and now it 's a push towards

20 plain talk .

21 Q.         When the codes get different , people         can't

22 understand     one ; is that correct ?

23 A.         That 's correct .

24 Q.         In term s of the code d language , is it fair to

25 say that all the codes you listed          that the codes seem




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1 to be whatever      word popped    into someone 's head ?

2 A.         I think that 's probably        a fair representation ,

3 yes .

4 Q.         I mean , it would sort of be like asking , I need

5 one of those what chamacallits ; right ?

6 A.         Yes .

7 Q.         And people   use the same word to mean different

8 thing s?

9 A.         People   use the same word to mean different          --

10 I'm not sure I understand        that .

11 Q.        Well , somebody   could say ticket      and mean heroin ,

12 someone   could say ticket     and mean crack , someone        could

13 say ticket     and mean cocaine ?

14 A.        I agree with that , yes .

15 Q.        And depend ing on the     way the word was use d, it

16 might refer to different       quantity     or eve n a different

17 drug ; is that right ?

18 A.        That is correct .

19 Q.        And it would seem from that testimony          the

20 various   people   in this conspiracy       would not be able to

21 talk to one another      in all case s; is that right ?

22 A.        If they had not previous ly talk ed or did not

23 know each other , and would n't even be a conspiracy , it

24 would be difficult     to talk in code with someone         you

25 don't know .




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 1 Q.         In fact , people   on the wiretap        who are charge d

 2 together     might not understand       what each other were

 3 talk ing about in this con text ; is that right ?

 4 A.         That 's not un usual where even people         they know ,

 5 they can't get the -- one person            will understand     the

 6 conversation        mean ing one thing and one person        will

 7 understand        it to mean something     else .

 8 Q.         Well , the question     I asked you was specifically

 9 from your listen ing to       the wiretap s, is it your opinion

10 that people        in this conspiracy    might well not be able

11 to understand        one another   when they spoke in that code ?

12 A.         Yes .    I think we saw that example , was it

13 Monday , with the conversation          between     Ms. Mart in and

14 Ms. Dobie .        There was confusion .

15 Q.         So the answer    is yes ?

16 A.         I said yes .    Yes .

17 Q.         And difficult ies in the code make your job a

18 little   bit more difficult        in interpret ing it ; isn't

19 that fair ?

20 A.         If people    spoke and said cocaine , it would be

21 easier , yes .

22 Q.         And thing s that make your job more difficult ,

23 would it be fair to say , make it more prone to error ?

24 A.         No .    I don't agree with that .        I would say some

25 conversation s are more difficult           to interpret .




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 1 Q.        Now , it 's clear from the investigation , and this

 2 has been going over some , that Mrs. Martin               sold

 3 clothi ng at Hayward      Lane; is that right ?

 4 A.        I belie ve that 's accurate .

 5 Q.        And in fact , you were aware that when Hayward

 6 Lane was search ed in early June of 2004 , that clothi ng

 7 was found ; is that right ?

 8 A.        I believe    so , but I'm not 100 percent         sure .   I'm

 9 not a hundred     percent , but I believe          so .

10 Q.        If I might approach         the --

11           THE COURT:      You may .

12           BY MR. SUSSMAN :

13 Q.        Sergeant , I'm show ing you what 's been mark ed as

14 P-104 for identification        and ask if that 's a

15 representation     of the base ment or downstairs           of the

16 Hayward     Lane address ?

17 A.        I've never been there , but I have seen this

18 picture .

19 Q.        And you recognize         it as such ?

20 A.        I believe    so , yes .

21 Q.        If I might put that on the -- can you see that

22 on the monitor ?

23 A.        Yes , I can .

24 Q.        It 's fair to say that this depict s a rack , and I

25 mean that literal ly , a rack of clothi ng , some plastic




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 1 bag s and -- a sub stantial       amount    of clothi ng ; is that

 2 right ?

 3 A.        Yeah .    If you move it over a little       bit , you can

 4 see it a little      bit better , I believe .

 5 Q.        I'm sorry ?

 6 A.        Can you move the picture         over a little   bit ?

 7 Q.        Is that better ?

 8 A.        Yes , thank you .

 9 Q.        Okay .    And fair to say that the picture        depict s

10 a rack of clothi ng with plastic           bag s and the like ?

11 A.        They're    hang ing clothe s, yes .

12 Q.        That would be consistent         with the way -- loose ly

13 consistent    with the way the clothi ng is dis play ed in a

14 store ?   Would that be consistent          with ?

15 A.        I don't know .      I don't know     if that 's her

16 clothe s or but it is clothe s.

17 Q.        Okay .    Now , on the bottom      of the picture , you

18 note -- I'm going to move it up a little             bit here .     You

19 note that there 's a number        of shoe s dis play ed ; is that

20 right ?

21 A.        Yes .

22 Q.        That would be consistent         with the way shoe s

23 might be dis play ed in a shoe store ?

24 A.        I would not say that .

25 Q.        Well , if you look close ly , would you agree with




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 1 me that there 's one shoe of each kind being dis play ed

 2 there ?

 3 A.         I don't know     that I can say that .              It 's

 4 possible .

 5 Q.         Well , let me ask you this :             During the course of

 6 your investigation , you didn't             un cover the fact that a

 7 number     of one -leg ged people       live d at Hayward         Lane ; is

 8 that fair ?

 9 A.         I think both the people          -- all three people           at

10 Hayward     Lane had two leg s.

11 Q.         Two leg s.     Okay .     And you're      also aware that --

12 clear ly that Ms. Martin           was , and Mr. Bynum I think for

13 that matter , were promoting            concert s; is that right ?

14 A.         No , that 's not correct .            They had in vested      money

15 in a concert .       They were not promoting            it .

16 Q.         All right .     Well , I don't want to parse words

17 with you .     They were try ing to get concert s off the

18 ground .     Would that be accurate ?

19 A.         They had in vested        in what they believe d was a

20 concert,     yes .

21 Q.         In fact , when look ing at some of the document s

22 you seize d, you saw listing s -- there were listing s for

23 theatrical     agent s; right ?

24 A.         I do not recall         that , no .

25 Q.         Do you recall     name s, kind of in phone book s,




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 1 like Luther     Van dross ?

 2 A.      No .

 3 Q.      You don't recall         that ?

 4 A.      I do not .

 5 Q.      These are name s that would have struck           you in

 6 term s of your investigation ; is that right ?

 7 A.      Luther    Vandross?

 8 Q.      Yes .

 9 A.      I don't know      that that would have had any

10 particular     importance .

11 Q.      If you saw that in a log that you took in a drug

12 raid , a ledger    or phone book that might have -- as an

13 experience d drug investigator , that might have piqued

14 your attention ; would that be fair ?

15 A.      I don't know      that I would , no .

16 Q.      Do you recall         seeing   the name Lou Rawls ?

17 A.      No , I do not .

18 Q.      These were name s that would have had no

19 significance     to you in the course        of your

20 investigation ?

21 A.      If Mr. Rawls was purchasi ng cocaine           from Ms.

22 Martin , it might ; but otherwise , no .

23 Q.      Otherwise , it 's just a name ?

24 A.      That 's correct .

25 Q.      Like , Boo , or what have you ?




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 1 A.       Correct .

 2 Q.       Okay .   Now , Ms. Martin,        in her conversation s

 3 with some of the people        on the wiretap , had no --

 4 was n't bash ful about talk ing about these concert s; is

 5 that right ?

 6 A.       She was not .

 7 Q.       Okay .   In fact , in term s of a call , and I

 8 reference    you to a call between         Ms. Martin   and Ms.

 9 Harden   that occurred     on April 19 , that 's Book 2, Page

10 335 .

11 A.       I'm sorry , the page again ?

12 Q.       335 , I think .

13 A.       335 ?

14 Q.       I'm sorry , I'm wrong about that page .           Well , let

15 me ask it like this :       You recall      a call on April 19 --

16 I know this is difficult , but where -- that was play ed

17 where you eliminate d a substantial           part of that call ,

18 there were about eight or nine minute s redact ed from

19 that call , a call on April 19 th , and if you want to use

20 your book to refresh       your recollection .

21 A.       April 19 ?

22 Q.       April 19 , yes .

23          MS. GREENBERG:       345.

24          MR. SUSSMAN:       That 's it .     Everybody 's helping

25 me .




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 1            BY MR. SUSSMAN:

 2 Q.         Did I at least     have the right book ?      Book 2,

 3 345 .

 4 A.         Yes , I have it here .

 5 Q.         My point is there was a substantial          redaction   in

 6 that -- in the play ing of that call , some seven , eight

 7 minute s?

 8 A.         Yeah .    It 's a ten -minute   call and there 's

 9 probably     --

10 Q.         Just ballpark ?

11 A.         Yeah .    About -- maybe two minute s here , maybe

12 three .

13 Q.         That were play ed ?

14 A.         Correct .

15 Q.         Right .     So there 's a portion    that was n't play ed .

16 And you recall        that that portion    feature d significant

17 conversation        about Aretha   Franklin    and a summer   concert

18 tour ?

19 A.         I do not recall .

20 Q.         You have no recollection        of that ?

21 A.         No .

22 Q.         And there 's nothing     that would refresh     your

23 recollection        concern ing that ?

24 A.         If I heard the call .

25 Q.         Now , but it 's your recollection       that in these




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 1 call s, Ms. Martin      was n't frequent ly spoke about the

 2 concert ?

 3 A.       Yes , I would agree with that .

 4 Q.       She spoke about the concert         to some people     more

 5 than other s; would that be accurate ?

 6 A.       That 's probably    true .    I would say she talk ed a

 7 lot to a lot of people , but I'm sure there 's somebody

 8 she didn't     talk to about it.

 9 Q.       In point of fact , she talk ed different ly to

10 different    people .    You must have noticed        that during

11 the course ?

12 A.       Yes , I did .

13 Q.       There was some people        she was short er and curt er

14 with ?

15 A.       Yes .

16 Q.       And some people     she was more chat ty with ?

17 A.       Yes .

18 Q.       And the latter     group are the people        she was more

19 prone to talk about Aretha        Franklin   and the concert

20 tour and enter tain ment class es and thing s of that

21 nature ; is that fair ?

22 A.       I'm sorry , could you repeat        that ?

23 Q.       Probably   not .   Let me try to do it this way :          In

24 term s of the    long er conversation , she was more like ly

25 to be talk ing about business         and the business     of




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1 entertain ment and the problem s with entertain ment

2 lawyer s and agent s and th ing s of that nature ?

3 A.         Some of those call s were very long , yes .

4 Q.         And you recall      call s about problem s about Aretha

5 Franklin     being too big to get on stage or too big to

6 fit into dress es or thing s of that nature ?

7 A.         Yes , there could have been call s like that .

8 Q.         And talk about concert         tour s in Kansas    City and

9 Atlanta .     You recall     those conversation s?

10 A.        I recall   Kansas       City ; I do not recall    Atlanta .

11 Q.        Point of fact , there was a listing           in one of the

12 journal s you took from Mr. Goodwin 's home or office

13 that had the listing        of a theater     in Kansas     City .   Do

14 you remember    that ?

15 A.        I think it 's the        Mid land Theater   in Kansas     City .

16 Q.        Then it was the Mid land Theater ?

17 A.        I don't know      if it 's listed , but that was the

18 theater    that they discuss ed .

19 Q.        You recall     a listing     for a phone listing      for a

20 theater    in Kansas     City ?

21 A.        No , I do not .     I recall    they talk ed about a

22 theater in    Kansas     City .

23 Q.        Ms. Martin     was also involve d with pro motion          of

24 -- well , strike     that -- in term s of some involve ment

25 with fashion    show s that were being put on ; is that




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 1 correct ?

 2 A.        That is not correct .

 3 Q.        Well , during   the course    of your investigation ,

 4 you came across a guy name d Harvey         Star Washington ;

 5 isn't that right ?

 6 A.        Yes .

 7 Q.        He was name d as a potential      witness   or a name

 8 that was read off to the jury earlier           when this trial

 9 start ed .

10 A.        Yes .

11 Q.        He is a guy who promote s fashion        show s in D.C.

12 and around      the country ; isn't that right ?

13 A.        I don't know    about around    the country.      I do

14 know he has done at least        one in the Washington      area .

15 Q.        And the one he did in Washington         that you're

16 referring      to was done in November     of 2003 ; isn't that

17 right ?

18 A.        It was sometime     before   we went up .   I don't know

19 the exact time.

20 Q.        When you "went up ", that mean s before        the

21 wiretap      start ed ?

22 A.        That 's correct .

23 Q.        The investigation     was pr oceed ing before     the

24 wiretap      start ed ?

25 A.        That 's correct .




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1 Q.       So that would be during the period of the active

2 investigation in this case,             November, 2003?

3 A.       Yes.

4 Q.       You were aware of it , and you were aware it was

5 held tat Convention         Center ; is that right ?

6 A.       No, I do not know where it was held .

7 Q.       Never saw a brochure ?           Never found a brochure ?

8 A.       I have seen a brochure,           I just don't recall .

9 Q.       You recall     Ms. Martin       was feature d in that show

10 as an honor ee?

11 A.      I'm aware that 's what the flier said , yes .

12 Q.      No police officers        attend ed that show ?

13 A.      I have no idea .

14 Q.      Certain ly not on official          business ?

15 A.      I have    no idea .

16 Q.      You have no idea .        There was frequent      talk on

17 the wiretap s about clothi ng and ticket s and show s;

18 correct ?

19 A.      Yes .

20 Q.      And considering        the fact that there was

21 legitimate     business    concern ing show s and clothi ng ,

22 which you've     concede d; correct ?

23 A.      No , I'm sorry,       I have    not concede d there was

24 legitimate     business    concern ing clothe s and show s.

25 There was business        concern ing clothi ng and show s.     I




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1 have not offered      my opinion .    I don't think     you asked

2 about the legitimacy of it.

3 Q.       Whatever    you might think about clothi ng and

4 show s, that was clear ly not the focus of this trial ; is

5 that correct ?

6 A.       That 's correct .

7 Q.       So there was -- there were discussion s about

8 buy ing clothi ng and show pro motion        and show s and that

9 like on the    wiretap ; isn't that right ?

10 A.      That is correct .

11 Q.      You've   concede d earlier , I believe , that some of

12 that conversation     on the wiretap s was legitimate

13 conversation ; isn't that right ?

14 A.      I didn't    use the word legitimate,        no , I did not .

15 Q.      Well, I'll use the word.          Would you concede        some

16 of that conversation      -- at least    some of it was

17 legitimate   conversation ?

18 A.      I would agree that it 's about investing            money ,

19 which may or may not be legitimate , into concert s and

20 clothi ng , which may or may not have come from a

21 legitimate   source , that mean ing not stolen , was

22 discuss ed on the wire .

23 Q.      But in term s of this narcotic s investigation ,

24 you had to sort out what was narcotic s-related            and what

25 was n't from those conversation s; is that right ?            A.




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 1 That 's correct .

 2 Q.        That made your job a little         bit more difficult ;

 3 is that co rrect ?

 4 A.        I don't know      if it made it more difficult .       It

 5 was pretty       obvious   when she was talk ing about the

 6 show s.    Like you said , she was very open about it .

 7 Q.        But there were some call s where you didn't           know

 8 whether    they were really       referring   to clothi ng or

 9 drug s; isn't that right ?

10 A.        I don't think      we really   ever had that

11 di fficulty , no .

12 Q.        Okay .    But weren't    th ere call s that you didn't

13 use because       you weren't   clear as to what was being

14 dis cussed ?

15 A.        No .

16 Q.        I thought    -- hadn't    you mention ed one back --

17 well , the call s you eliminate d were call s you were

18 certain    were legitimate      discussion s; correct ?

19 A.        I did not say that       either , no .

20 Q.        When you use the word "legitimate ", you're

21 talk ing about break ing some law somewhere ; isn't that

22 right ?

23 A.        That 's correct .

24 Q.        Thing s that aren't      the focus of this case or

25 this trial at least ; is that correct ?




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 1 A.        That 's correct .

 2 Q.        And if someone      was buy ing clothi ng -- whatever

 3 you might think about the         source   of that clothi ng , the

 4 conversation , at least , was not drug -related ; is that

 5 fair to say ?

 6 A.        I would agree with that , not drug -relat ed in

 7 that the source     of the    conversation    with clothe s was

 8 buy ing clothe s and not sell ing drug s.

 9 Q.        Now , and a suit meant a suit ?

10 A.        In most circumstance s, yes .

11 Q.        Now , I remember     at the beginning    of your

12 testimony , you said that deciphering          the code was n't

13 rocket    science ; correct ?

14 A.        That 's correct .

15 Q.        In fact , the opinion s you give aren't          science   at

16 all , are they ?

17 A.        I would agree with that , yes .

18 Q.        Okay .   You can't -- you're       not certain    that you

19 have all of the information         out there ; is that right ?

20 A.        I am certain     I probably   do not have every bit of

21 information     out there .

22 Q.        In numerous    instance s, you have to re ly on

23 other s to provide      you the information ; isn't that

24 right ?

25 A.        I'm not sure .      In reference    to what ?




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 1 Q.         Well , when you talk       to an officer      who did a

 2 search , he may be rely ing on information               that was given

 3 to him by another        officer ; is that right ?

 4 A.         I do not believe       th at 's accurate .     I would be

 5 rely ing on the person       who did the search          to accurate ly

 6 report    and bring back what he 's search ed on the

 7 residence .

 8 Q.         When a search     is under taken , there are nine , ten

 9 officer s do ing that search         at least ; isn't that right ?

10 A.         There is one officer        who is responsible       for

11 collect ing all the evidence           from the house .       The nine

12 or ten officer s are not responsible             for that .

13 Q.         That 's just part of the search .            There are other

14 thing s that happened       in the course      of the search        as

15 well ?

16 A.         Other thing s that happened         be sides the search ?

17 Q.         During    the course     of the   search    other than just

18 the recovery        of evidence .    There are people       there ,

19 there are event s occurring ; isn't that true ?

20 A.         One officer    is responsible       for identifying        the

21 people    who are there .     There 's one officer         who is

22 responsible     for collect ing evidence .            That 's the

23 officer    you would talk to .

24 Q.         You consider    that officer       to be an in fallible

25 observer    and source     of information ; isn't that right ?




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 1 A.       I can't say that , no .

 2 Q.       So if that officer        is wrong , the information

 3 you've   gotten   is in correct ; is that right ?

 4 A.       If the officer     was wrong and he re lay ed that

 5 wrong information      to me , and I use d that wrong

 6 information , then it 's possible , yes .

 7 Q.       There 's also the possib ility that you can

 8 mis understand    the information      as it 's related   to you ;

 9 isn't that true ?

10 A.       That , I do not believe       is true .   I would make

11 sure I understood .

12 Q.       No problem s in communication        ever ?

13 A.       I didn't    say that .

14 Q.       Okay .   And i n term s of the hundreds of       opinion s

15 you gave , there 's no mathematical        way to ass ess a

16 ba tting --

17 A.       I'm sorry ?

18 Q.       You can't compute        a bat ting average   for how

19 often you 're right and how often you're           wrong ; isn't

20 that correct ?

21 A.       If you're     asking   would I give a percentage        to

22 how often I'm right or how often I'm wrong ?

23 Q.       I know the percentage        you would give , but nobody

24 else can objectively make a percentage estimate             as to

25 -- it 's never been done before         in your case ; has it ?




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 1 A.         I'm not sure what you're         referring    to or what

 2 you're    asking .

 3 Q.         Okay .    I'll move along then .

 4            Your opinion s about Ms. Harden           and her -- what

 5 she was do ing were based on the totality               of the

 6 investigation ; correct ?

 7 A.         They were taking         a lot of thing s into

 8 consideration , yes .

 9 Q.         During    the investigation , there was no evidence

10 that Ruby Harden even         met with any allege d

11 co -con spirator      other than Paulette      Martin ; is that your

12 understand ing ?

13 A.         Of the known conspirator s, I would agree with

14 that .

15 Q.         And that didn't     effect your ultimate         opinion ; is

16 that correct ?

17 A.         Did it effect     my opinion ?     No .

18 Q.         I asked you , that had no effect           on your ultimate

19 opinion ?

20 A.         Probably    not , no .

21 Q.         During    the course      of your investigation , your

22 information     was that Ms. Harden         never had any telephone

23 contact     with any of the 40 or so people           that were

24 potential ly co -con spirators         in this case other than

25 Paulette     Martin ; is that right ?




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1 A.         I am not aware of any telephone          contact      that she

2 had .     She may have ; I am not a ware of any .

3 Q.         As you sit here , you can't direct         me to any

4 phone log or any surveillance          or phone bill that point s

5 out that Ms. Hard en had a phone conversation               with

6 anyone     else ; is that right ?

7 A.         That is correct .

8 Q.         Okay .   And that does n't effect your opinion ; is

9 that correct ?

10 A.        That is correct .

11 Q.        How many -- numerous      search es were conduct ed

12 during    the course    of this case ; is that right ?

13 A.        Yes .

14 Q.        Can you tell me how many ?

15 A.        I can give you an approximate        numb er.

16 Q.        Yeah , that 's good enough .

17 A.        Probably   40 or 50 .

18 Q.        Forty or 50 .    And in the course       of those 40 or

19 50 search es , is it fair to say that the police                fa il ed

20 to turn up an add ress book or diary that had Ms.

21 Harden 's current      phone number   or address ?

22 A.        I do not know if that 's accurate         or not .

23 Q.        Well , if you can you point me to a ledger , phone

24 book , or other paper that        was re covered   in any of those

25 search es that has Ms. Harden 's phone number             and




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 1 address ?

 2 A.         I cannot     as I sit here , no .

 3 Q.         That fact do esn't effect your opinion            either ?

 4 A.         No .     Obvious ly they had each other 's phone

 5 number .

 6 Q.         Okay .     During   the course    of the investigation ,

 7 you didn't        locate   any drug ledger s that had Ms.

 8 Hard en 's name ; is that correct ?

 9 A.         That is accurate , yes .

10 Q.         And that do esn't effect your opinion            either ?

11 A.         No .

12 Q.         And you're      aware that during     the course        of the

13 investigation , her home was search ed ; is that correct ?

14 A.         That is correct .

15 Q.         It 's fair to say that that search            revealed     no

16 drug , drug par aphernalia,        drug ledger s of any kind ; is

17 that right ?

18 A.         That is accurate , yes .

19 Q.         That do esn't e ffect your opinion           either ?

20 A.         It does not .

21 Q.         Now , how long did you have surveillance                on 810

22 Hayward ?

23 A.         It would depend       on the day .

24 Q.         I mean over what period          of time .

25 A.         Probably     at some point during      the investigation ,




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1 it was probably        over one and half year s.      I don't know .

2 Whenever     she move d in there -- I think she was in there

3 when we start ed , so I'm sure surveillance s start ed

4 around    that time on occasion s, and then counted          all the

5 way through     to the end .

6 Q.         Is it fair to say that none of the         surveillance

7 report s indicate       Ms. Harden 's presence    at 810 Hayward

8 Lane ?

9 A.         Her presence    at the house ?

10 Q.        That 's correct .

11 A.        I think th at 's accurate .

12 Q.        That doesn't effect     your conclusions      either ; is

13 that right ?

14 A.        That 's correct .

15 Q.        Would the same thing be true about the          dance

16 studio   on South Dakota      Avenue ?

17 A.        I believe    there was no surveillance      with her at

18 that location .

19 Q.        Can you point to -- you believe        that she was

20 seen that the     location?

21 A.        No, I said I believe d there was no surveil lance

22 --

23 Q.        So at the    same -- I'm sorry .

24 A.        -- that would put her at that location , that 's

25 correct .




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 1 Q.         In the course     of the    10 ,000 or so wiretap s, were

 2 there any call s between        Paulette    Martin    or any the

 3 intercept ed line s, five of them , in which Ms. Harden

 4 did not -- well , strike        that .    Let me say that in

 5 English .

 6            Any of those call s in which Ms. Harden          did not

 7 participate     in which her name was mention ed by other

 8 people     on the phone ?

 9 A.         Yes , I'm sure there are .

10 Q.         Well , you 're sure there are .      Can you point us

11 to any ?

12   A.       Not as I sit here .        I'd have to go through       the

13 log s, but I'm sure Ms. Martin           talk ed about Ruby to

14 other people , mention ed her name .

15 Q.         You should   have time to locate       those

16 conversation s.

17 A.         You have the copies        of the log s.

18 Q.         I'm asking   -- I'm asking      the question .    I'm

19 asking     if you can point to one .

20 A.         As I sit here ?     No .    Not without    going through

21 the log s.

22 Q.         Now , there were certain       -- during the course       of

23 the wiretap , there were certain           event s that you would

24 consider     significant    event s in the li fe of the

25 conspiracy ; would that be accurate ?




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 1 A.         Sure .

 2 Q.         The Digger 's Lane search,     would that be a big

 3 event ?

 4 A.         It was an event , yes .

 5 Q.         The arrest    of Gwen Levi with 2.2 kilograms of

 6 heroin, that's a pretty big event        ; is that right ?

 7 A.         It is an event , yes .

 8 Q.         And that guy , Perne ll Philpot      was going 73 in a

 9 70 zone or whatever        it was , and he got stopped     and

10 arrested     in Wyoming    with a substantial    amount   of

11 cocaine ; is that right ?

12 A.         Yes .

13 Q.         And thing s like tha t are the news of the

14 conspiracy ; is that fair to say ?

15 A.         Is what ?

16 Q.         It 's front -page news in a drug conspiracy , who

17 got arrested        and where and what ; is that right ?

18 A.          I don't know    what you mean by "front -page

19 news ," but I would not agree with that , no .

20 Q.         On the wiretap s, there was not a lot of

21 discussion     about whether    the republican s would lose the

22 White House or the Congress         or whether   the war in Iraq

23 was going bad ly .       The news -- the front -page news among

24 the people     talking    is what happen s in the course       of the

25 conspiracy .




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 1 A.         Okay .   Now , I think I understand       what you're

 2 say ing as front -page news .        What people     are talking

 3 about ?

 4 Q.         Yes .

 5 A.         Yes , people    talk ed about those thing s.

 6 Q.         Is it fair to say in the conversation s between

 7 Ms. Harden     and Ms. Martin , there was no conversation

 8 whatsoever     about any of these event s occurring ?

 9 A.         I believe    that 's accurate .

10 Q.         That does n't have any effect       on your opinion

11 either , does it ?

12 A.         No , it does not .

13 Q.         During   the surveillance     of Hayward    Lane , it 's

14 accurate     to say no police officer        that you're   aware of

15 ever saw drug s actual ly changi ng hands outside           Hayward

16 Lane ; is that right ?

17 A.         I believe    that's   accurate , yes .

18 Q.         Whatever    was happening   was happening     be hind

19 close d door s, right ?

20 A.         We never observe d it .

21 Q.         Okay .   Never saw any drug s being left off in the

22 garbage    can s or the trash bags; right ?

23 A.         I believe that's accurate,        yes .

24 Q.         Never saw drug s being left in the flower          pot or

25 anything     like that ?




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 1 A.        Yeah , I don't think      we ever saw any actual        drug

 2 transactions .

 3 Q.        Okay .   And in term s of a discussion       that was had

 4 between    Ms. Harden   and Ms. Mart in that occur red on

 5 March 11 , 2004, and I will         direct   you , hope fully

 6 correct ly this time , to Book 1, Page 35 .

 7           Could you take a look at th at , please ?          When

 8 you've    got it just --

 9 A.        I have it .

10 Q.        In the middle    of the page, your testimony          has

11 been that that was a drug -related           conversation ; is that

12 right ?

13 A.        Yes .

14 Q.        Okay .   In the middle     of the page , there 's a

15 discussion    about leavi ng something        out on the mat under

16 the front door mat ; is that correct ?

17 A.        I'm sorry , what page ?

18 Q.        Thirty-five .    Middle    of the page .

19 A.        Ms. Harden    says , it 's that way with me , too .

20 You don't have a mat in front of the            door , do you ?

21 Q.        The clear implication       of that is that Ms. Harden

22 is asking    Ms. Martin    if she would leave something           under

23 the mat ; is that right ?

24 A.        Yes .

25 Q.        And it 's your conclusion      that de spite all the




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 1 observation s that have been made , that they were

 2 talk ing about leavi ng drug s under the front door mat ;

 3 right ?

 4 A.         Yes .

 5 Q.         That would have been pretty      un usual about the

 6 observations       about and the observation s of other police

 7 officers     about what    was transpiri ng at Hayward       Lane; is

 8 that right ?

 9 A.         No , I did not testify     to that .

10 Q.         So a lot of drug s being left in flower           pot s and

11 under mat s and thing s of that nature ?

12 A.         No .    I said we did not see it , but I can not say

13 we didn't     see , so I don't know    if it 's un usual or not .

14 Q.         You would have note d if someone        was pick ing up

15 something     from under a mat or hidden        location .     That

16 would have been a surveillance         worthy     of a note during

17 the surveillance ?

18 A.         I do not know that that would be note d.            I don't

19 know if you can see the mat , which would be by the side

20 door .    I don't know     if that 's visible     from the street .

21 Q.         In term s of the general     way that the drug s are

22 sold , you'd agree with me that drug deal er s maximize

23 their profit s when they sell small er amount s; is that

24 right ?

25 A.         Yes .




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1 Q.         And but it 's a cost benefit      analysis    because

2 when you sell small er amount s, you face more risk ;

3 isn't that right ?

4 A.         I would agree with that , yes .

5 Q.         And small er amount s are associate d with drug

6 user s; isn't that right ?

7 A.         Very small amount s, yes .

8 Q.         Well , it would be -- in your experience , there

9 was some discussion       on the   wiretap s about welfare

10 check s being cash ed ; isn't that right ?

11 A.        Yes .   Well , they referred    to the first of the

12 month , and my interpretation         was that was deal ing with

13 welfare   check s.

14 Q.        Consistent   with your experience      that the cash ing

15 of -- that welfare      recipient s don't usually      pool their

16 money and go out and buy key s of cocaine           or heroin     or

17 whatever ; is that right ?

18 A.        That 's correct .

19 Q.        General ly, people    ar e going to buy small amount s

20 for use ; isn't that right ?

21 A.         People who are going to take their money from

22 welfare   check s and buy drug s with them .        It could be a

23 large amount      or small amount .

24 Q.        Consistent   with that kind of re tail business ,

25 would it be consistent        with a lot of people     comi ng to




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 1 and from your -- the location          where you're   deal ing ; is

 2 that right ?

 3 A.          If you're   dealing    in very small amount s, yes ,

 4 it would in crease      your traffic .

 5 Q.        That 's exact ly one of the problem s that the

 6 community    note d in connection      with Ms. Martin 's

 7 residence ; isn't that right ?

 8 A.        Yes .

 9 Q.        Earlier   in testimony , you said that $100 , $125

10 amount    was consistent , in your opinion , with

11 distribution ; is that right ?

12 A.        Yes .

13 Q.        But to really    make an opinion     and form the

14 opinion    about that , you have to know something          about

15 the drug habit s of person s who receive         that quantity       of

16 drug ; is that right ?

17 A.          I think you have      to know something   ab out the

18 drug trade , not about the person         receiving   them .

19 Q.        For example , there are a lot of people         in this

20 society    who are drug user s who are accountants .           I'm

21 try ing to avoid say ing lawyer s.        I don't want to say

22 doctor s, but people      -- professional    people ; isn't that

23 right ?

24 A.        Yes .

25 Q.        And they're    general ly not out on the street




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1 buying    dime s and 20 s when they're       buy ing drug s; is that

2 right ?

3 A.        That 's not true .

4 Q.        I said general ly .

5 A.        I would say that 's not true .

6 Q.        You don't think they could acquire          their drug s

7 -- it 's not your experience        they can acquire      their

8 drug s at an office , at a set ting at a club , where

9 someone    will tell sell them 100 buck s a weekend          or

10 whatever ?

11 A.       I'm sure they could , but your question           dealt

12 with who buy s on the street       corner , and I know from

13 experience   that professional      people    will often   buy

14 drugs on a street corner.

15 Q.       You think it's more common than not that they're

16 --

17 A.       It's more common than you're alleging it to be.

18 It's very common.

19 Q.       I didn't   allege    that it was    un known , but I'm

20 say ing people    with 100 or $150 can gain access         to drug s

21 in different     way s; isn't that right ?

22 A.       I would say it 's almost      the exact opposite .        A

23 well -known person    probably    does n't have a lot of drug

24 deal er s they can go to , and it 's very eas y to drive up

25 to the anonymous     deal er on the    street , whereas    if




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 1 you're    in the drug trade , you could probably          go to any

 2 of your friends      or other     deal er s and pick up , so I

 3 would say your analogy         is probably   the exact opposite

 4 of what it should       be .

 5 Q.        If somebody    who --    a professional     person   who has

 6 a drug habit or is what they call a re creation al user

 7 want ed drug s for a weekend , that person           would like ly go

 8 right out in the street         and be buy ing from the first

 9 guy out on wherever       the drug strip is local ly ; correct ?

10 A.        Yes , that 's very , very common .

11 Q.        They don't have a connect        or hook up or find a

12 way to get drug s other than through          the street ?

13 A.        I won't say that they don't , but it 's very , very

14 common , they would just go to an area of town whether

15 it 's in Baltimore , Wash ington,       Montgomery     County,

16 Prince    George's   County    where they know drug s are sold .

17 They can drive up to someone , make the purchase , and be

18 on their way .

19 Q.        Let me turn your attention , if I can , to March

20 29 .   Do you recall     that particular     day ?

21 A.        Yes .

22 Q.        Now , there was a series       of phone conversation s

23 between    Ms. Martin    and Ms. Harden ; correct ?

24 A.        That 's correct .

25 Q.        And those call s culminate d in a meet ing ; is that




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 1 right ?

 2 A.         Yes .

 3 Q.         Now -- and it 's fair to say that in term s of

 4 your surveillance , that 's the only time during              the

 5 course    of this investigation      that you can point to in a

 6 situation     where the police     actual ly saw them meeting ;

 7 is that right ?

 8 A.         I believe    that 's true , yes .   When you say

 9 "them ," you mean Ruby Harden and           Ms. Martin?

10 Q.         One of the good thing s about the        wiretap    is not

11 only can you listen        in , but you can -- well , let me

12 fin d the word .       You can actually     know certain     event s

13 that are going to occur before            they occur;    isn't that

14 right ?

15 A.          You know where certain        thing s are going to take

16 place , yes .

17 Q.         And get the police     there to watch it or to do

18 whatever     the police    think the appropriate        thing to do

19 is; right ?

20 A.         Quite often , that is the case , yes .

21 Q.         That was the case in connection         with this e vent ;

22 isn't that right ?

23 A.         Yes .

24 Q.         And it was my understand ing , and hope fully your s

25 as well , that Officer       Musselman     was dis patched    to the




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1 park ing lot on New Hampshire          -- correct    that , a

2 shop ping center       on New Hampshire      Avenue ; is that

3 correct ?

4 A.         Yes .

5 Q.         And you weren't      there ?

6 A.         No , I was not .

7 Q.         But Officer     Musselman      is an experience d

8 narcotic s officer ; is that right ?

9 A.         I believe    that 's true , yes .

10 Q.        Were you here for his testimony ?

11 A.        Yes .

12 Q.        Perhaps   15 , 16 year s of narcotic s experience ?

13 Would that be consistent         with your rec ollection ?

14 A.        I don't know .      I don't remember     the number    of

15 year s, but quite a few .

16 Q.        Quite a few .      And he was able to position

17 himself    15 to 20 feet from Ms. Martin 's Mercedes            Benz;

18 is that right ?

19 A.        Again , I think I testifi ed I don't remember           the

20 exact amount , but I do remember           he was in close

21 proximity.

22 Q.        In term s of a surveillance , that 's about as

23 close as you can get ; right ?

24 A.        It 's pretty    close , yes .

25 Q.        And most people      who are do in g dirty business         are




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 1 care ful they're       not do ing it around       somebody   who could

 2 be watch ing ; is that right ?

 3 A.         I would say that 's a general          rule , yes .

 4 Q.         Okay .   And it was his testimony , which you heard

 5 here , that he saw Ms. Martin            pass a piece of paper to

 6 Ms. Harden ; is that correct ?

 7 A.         That is correct .

 8 Q.         And his testimony         didn't   effect your opinion

 9 either ?

10 A.         No , it did not .

11 Q.         Okay .   In fact , it didn't        have much effect     on

12 your sworn testimony        either , because       in term s of your

13 participation       in this case , you recall        testify ing

14 before     the grand jury on October          27 of 2004 ?

15 A.         It sounds    like one of the date s, yes .

16 Q.         And do you recall         testify ing about this event ?

17 A.         I'd have to look at the transcript             whether   this

18 event was on that day or one of the other day s.

19 Q.         Okay .   And Page 52 .       October   27 .   And at the

20 time that you were testify ing about the event s of March

21 29 -- just indulge        me one moment       to get an extra copy ,

22 sir .    We'll do it the easy way .

23            MR. SUSSMAN :     If I might approach .

24            THE COURT:      You may .

25            THE WITNESS:      Yes .




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1            BY MR. SUSSMAN :

2 Q.         Okay .   You recall      testify ing in front of the

3 grand jury on October          27 , 2004 ?

4 A.         Yes .

5 Q.         Under oath , just kind of a court proceed ing ;

6 right ?

7 A.         I'm sorry ?

8 Q.         You were under oath just as you are today ?

9 A.         That is correct .

10 Q.        And since you hadn't        actual ly seen the event s of

11 March 29 , necessarily , you had to rely on something

12 other than your own observation s; is that right ?

13 A.        That 's correct .

14 Q.        Did you have the report           of investigation     of --

15 that was made in connection           with the case ?

16 A.        There are a lot of report s made .           Which one are

17 you referring      to ?

18 Q.        Well , I'm referring       to the ROI for that date ,

19 but did you -- had you discuss ed the matter              with

20 Officer   Musselman       before   you testifi ed ?

21 A.        No , I had not .

22 Q.        Had you read report s before          you testifi ed ?

23 A.        Regard ing this incident ?

24 Q.        Regard ing this incident .

25 A.        I don't recall      if I had or not .       I could have ,




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 1 but I don't recall .

 2 Q.        Well , it 's a pretty    serious    matter    going in

 3 front of the       grand jury an d testify ing ; don't you

 4 think ?

 5 A.        Do I consider     it a serious     matter ?

 6 Q.        That was my question , yes, sir .

 7 A.        I've done it quite a few time s.           I don't know

 8 that I consider       it a serious   matter .    It is certain ly

 9 --

10 Q.        Put your hand up , take an oath an d tell the

11 truth ?

12 A.        I certain ly consider      it an important      court

13 proceed ing , but serious      im pli es something      ominous , and

14 I don't know       that I would classify     it that way .

15 Q.        Serious    when people 's live s are at stake , don't

16 you consider       it that way ?

17 A.        Yes .

18 Q.        Can we agree that when you put your hand up to

19 take an oath , that it 's serious ?

20 A.        Okay .    I will go with your definition .         Again , I

21 guess I don't consider       it as serious      as you're

22 im ply ing .   The grand jury appearances , I've been before

23 them quite a few time s, so it 's -- I don't want to say

24 routine , but I just don't consider          it as serious , but

25 certain ly taking      an oath to tell the truth , I would say




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1 is serious .

2 Q.          Okay .    And during    the course    of your testimony ,

3 you testifi ed about the event that we just discuss ed ;

4 is that correct ?

5 A.          In front of the    grand jury ?       Yes .

6 Q.          That was the single , as we said , the single

7 surveillance         of Ms. Harden    by the authoriti es ; is that

8 right ?

9 A.          Yes .

10 Q.         And during    the course    of your testimony , you got

11 the date wrong .        You said March 21 ; is that right ?

12 A.         I either    got the date wrong or the court

13 reporter     heard me wrong ; one or the other , yes .

14 Q.         But we get date s wrong .

15 A.         Yes .

16 Q.         But specifically , de spite Officer           Musselman 's

17 specific     observation , you told the grand jury that Ms.

18 Martin   pass ed a package        to Ms. Harden ; isn't that what

19 you said ?

20 A.         Yes , I did say that .

21 Q.         And that was wrong ?

22 A.         I don't think    it 's wrong , no .

23 Q.         That was n't a mis take on your part ?

24 A.         It was not a mis take .      She pass ed a package

25 contain ing cocaine       to Ms. Harden .




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 1 Q.         And you're      as certain     of that as you are of

 2 everything     else you've      testif ie d in this case ?

 3 A.         I'm very certain          of it , yes .

 4 Q.         Thank you .      I have nothing      further .

 5            THE COURT:       Okay .     Mr. McKnett .

 6            MR. MCKNETT :      Your Honor , for scheduling , may I

 7 approach    for a moment ?

 8            THE COURT:       Yes , you may .

 9                    (At the bar of the Court.)

10            MR. MCKNETT :      Your Honor , my understand ing is

11 the Court want s to end this about 2 o'clock .

12            THE COURT:       Correct .

13            MR. MCKNETT :      We've got about 18 minute s on the

14 clock , and my cross will take significant ly long er than

15 that .    There are place s where I can comfortably               break .

16 When I get close to 2 o'clock              and I'm at one of those

17 points,    I can just break and we can continue              on

18 Wednesday     morn ing .

19            MS. JOHNSTON:       Your Honor , I would advise         the

20 Court we are now a full day be hind schedule                based on

21 the length     of cross-examination          , so the Court know s

22 that .

23            THE COURT:       This is a major witness .

24            MS. JOHNSTON:       Right .      Well , in term s of if

25 counsel    is asking       to cut it off now --




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 1            THE COURT:      I certain ly will have to break

 2 around    2 o'clock     and I appreciate .

 3            MR. MCKNETT :     It 's with the discretion       of the

 4 Court .    If the government        would prefer   that we break

 5 now .

 6            MS. JOHNSTON:      No , I prefer    we use every

 7 possible    min ute we have .

 8            THE COURT:      We'll go until five of .

 9            MR. MCKNETT :     Five of ?   A comfortable      break

10 point , so I will get as close to five of .

11            MS. JOHNSTON:      Just as we do at 4:30 .

12            MR. WARD:     Let me sway respect       to the ruling      the

13 Court made earlier        on my cross-examination         of Sakala .

14 I will , over the weekend , prepare           a written    proffer    of

15 what I pro pose d and I think that --

16            THE COURT:      Okay .

17                         (Back in open court .)

18                            CROSS-EXAMINATION

19            BY MR. MCKNETT :

20 Q.         Good afternoon , Sergeant .

21 A.         Good afternoon .

22 Q.         Sergeant , I want to follow        up , first of all ,

23 with a subject     that Mr. Ward touch ed on .        It 's your

24 opinion    as an ex pert that an eight ball is not a

25 personal    use quantity      of cocaine ?




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 1 A.          I didn't    say it was n't .    I said it is

 2 in dic ative of possession      with intent .     It is within     the

 3 realm of conceiv ability       that it could be .

 4 Q.        So a person     who is buy ing an eight ball could be

 5 either    a user or someone     who sell s or both ?

 6 A.        I would say that it is possible         that the person

 7 is using .    In my experience , I have not seen that , but

 8 it is in the realm of possibiliti es .

 9 Q.        Were you here when Michael         Thurman   testifi ed ?

10 A.        I was not .

11 Q.        Well , if Michael     Thurman    had testifi ed in this

12 courtroom    that he had been a user and that he bought

13 eight ball s for his personal         use --

14           MS. JOHNSTON:      Objection , that mis state s the

15 testimony    of Mr. Thurman .

16           MR. MCKNETT :     It does not , Your Honor .

17           MR. MARTIN:      Objection .     Not to you .    Just

18 argui ng in general      in front of the jury .

19           THE COURT:      I don't know     that that 's consistent

20 with what he said .

21           MS. JOHNSTON:      Excuse    me , Your Honor .

22           THE COURT:      Approach    the bench

23                    (At the bar of the Court.)

24           THE COURT:      We've got an objection       from Mr.

25 Martin.




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 1          MR. MARTIN:       Sorry about that .

 2          THE COURT:       You object ed .

 3          MR. MARTIN:       My objection     was that we sometimes

 4 don't play well in the sand box , and it does n't look

 5 good in front of the jury , so it was n't correct ed .

 6          THE COURT:       We're all up here out of the

 7 sand box .

 8          MR. MCKNETT :      The only reason     I said it does not

 9 in response     to Ms. Johnston 's in appropriate       comment

10 that I had mis state d the testimony , which I had not .

11          MS. JOHNSTON:       I belie ve he --

12          THE COURT:       What don't you believe      --

13          MS. JOHNSTON:       Mr. Thurman     very specifically

14 testifi ed that people       buy eight ball s, they keep some

15 to use and they sell the rest of that , so they have

16 more money t o buy drug s.        It was very specific      in his

17 testimony .     Counsel   has a transcript     that the Court

18 allow ed them to get over night of Mr. Thurman 's

19 testimony , I believe , so they could be prepare d to

20 cross -examine    him .

21          It is my recollection       that that is very

22 specifically     what he said .     He never said user s buy it

23 just to use .     They buy it , they keep some to use and

24 they keep some to sell .

25          MS. GREENBERG:       My recollection     comport s with




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 1 Ms. Johnston 's.

 2          MR. MCKNETT :     My note s --

 3          THE COURT:      Why don't we do this ?       My memory is

 4 not perfect .     If there 's a transcript       th at's prepared ,

 5 why don't you locate       the transcript     over the    weekend

 6 and resolve     the question .

 7          MR. MCKNETT :     That 's fine .    Your Honor , I would

 8 ask the Court to instruct        the government      not to make

 9 speak ing objections .

10          THE COURT:      All right .    I will a sk both sides

11 that .   Both sides .     Let 's do that , but I'll defer

12 ruling   on the objection      by the government      over the

13 weekend , and you can come back on Wednesday             and you can

14 take it up .

15          MR. MARTIN:      It's the first time the Court

16 sustained    my objection .

17                       (Back in open court .)

18          BY MR. MCKNETT :

19 Q.       Sergeant , we'll come back to that .            Let me ask

20 you some specific       question s about an eight ball .

21          An eight ball , if I understand         it , is about

22 three , three and a half ?

23 A.       It 's 3.5 grams .     It's an eighth     of an ounce .

24 Q.       Three point five grams scientifically , but

25 sometimes    drug deal er s don't always      sell a full 3.5




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 1 gram eight ball ?

 2 A.        Sure.     And sometimes    they might sell more .            It's

 3 their scale, whatever their          scale is .

 4 Q.        If they can stretch       it by short ing somebody           a

 5 little    bit , then they make more money , right ?

 6 A.         That 's possible .     I don't know      if you'd keep

 7 your customers , though , if you did that .

 8 Q.        Well , it 's a risk of the business .

 9 A.        Yes .

10 Q.        Now , we know how much an eight ball weigh s.                    How

11 big , physically , is an eight ball ?

12 A.        Not as big as an eight ball .           Small er than ,

13 like , a ping-pong .      I'm try ing to    look around     the

14 courtroom .       Some of the candy on the U. S. Attorney 's

15 desk there might be representative           size .

16           MR. MCKNETT :     The government    has proffered         or

17 offered    their candy dish .       Your Honor , may I approach ?

18           THE COURT:      As long as   you give it back .         We

19 don't want the prosecutor s to star ve to death .

20           MR. MCKNETT :     I will give it back .       I don't know

21 what the witness       will do with it .

22           BY MR. MCKNETT :

23 Q.        Could you please      pick one out that you think is

24 an eight ball size ?

25 A.        I don't know     the weight s of these , so they might




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 1 be denser     or something , but something       around    this size .

 2 Q.         So they would weigh about three , three and a

 3 half grams ?

 4 A.         Correct .

 5 Q.         And look something     like this ?

 6 A.         Yes , and the look could be different , depend ing

 7 on whether it 's powder        or crack .

 8            MR. MCKNETT :     Your Honor , I guess for the

 9 record , we are talk ing about a piece of Jolly Rancher ,

10 watermelon- flavor ed , hard candy .        I don't know     if we

11 sh ould submit    this into the record       or not , Your Honor .

12            THE COURT:      I think the jury can observe       it .

13 They've    seen it .

14            MR. MCKNETT :     Then I will return     it , in tact , to

15 the government .        Ms. Johnston   insist s that I keep it ,

16 Your Honor .

17            THE COURT:      It's professional    courtesy .

18            MR. MCKNETT :     Thank you , Ms. Johnston .

19            THE COURT:      I notice   you put it in your pocket

20 though .

21            MR. MCKNETT :     I did , Your Honor , for safekeeping

22 only .

23            BY MR. MCKNETT :

24 Q.         I keep want ing to call you detective , and I

25 apologize .     It 's sergeant    and -- detective     -- sergeant




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 1 is correct ; right ?

 2 A.       That is correct .

 3 Q.       I've previously       known you as a detective        --

 4 A.       That 's correct .

 5 Q.       -- that 's the problem       I'm having , and I

 6 apologize .    It 's not -- an eight ball is not wrap ped up

 7 in clear cellophane       like a --

 8 A.       It can be , but usually       not .

 9 Q.       It 's usual ly a piece of plastic        or paper fold ?

10 A.       Zip loc baggy now aday s.

11 Q.       Zip loc bag s.      Okay .

12          Sergeant , let me just run quick ly , and I

13 apol ogize for repeat ing , but I just want to get the

14 frame work here .     There were more than 10 ,000

15 activation s; is that correct ?

16 A.       That 's correct .

17 Q.       And some of them didn't        have any conversation        on

18 them ?

19 A.       That 's correct .

20 Q.       Some of them were just in complete          call s?

21 A.       Some were data stream s, some were busy signals ,

22 for whatever     reason   they did not contain       conversation .

23 Q.       Without    asking    you for an accurate     precise

24 account , it 's fair say that there were thousands              of

25 actual   conversation s; correct ?




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1 A.       I think that 's probably       true , yes .

2 Q.       And of the thousands       of actual     conversation s,

3 there were approximately        48 0 that were transcribe d for

4 re view in this case ; correct ?

5 A.       No .     We transcribe d a lot more .      I think we only

6 play ed about that number       in court here .

7 Q.       Okay .     We play ed about 480 ?

8 A.       Yes .

9 Q.       And transcript s were prepared          for use in this

10 court of those conversation s; correct ?

11 A.      Yes .

12 Q.      Of that 48 0 approximate       number    of call s, about

13 two dozen involve d Ms. Ali or her husband ; correct ?

14 A.      Again , I haven't     done a count , but that sounds

15 to be an accurate      estimation .

16 Q.      It 's going to be about five percent          of the call s

17 that were play ed in this courtroom .

18 A.      I'll trust your math , okay ?

19 Q.      Thank you .     And all of those call s were on the A

20 or B line s; correct ?

21 A.      That 's correct .

22 Q.      Those were the line s that Ms. Martin           use d her

23 cell phone and her home hard line phone ?

24 A.      Yes .

25 Q.      None of the call s were on Mr. Lu is Mangual 's




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 1 line , phone line ; were they ?

 2 A.       No , they were not .

 3 Q.       On either     of the line s that he use d?

 4 A.       No , they were not .

 5 Q.       None of those call s were on the line use d by

 6 Gwen Levi ?

 7 A.       That is correct .

 8 Q.       I just want the be real clear with regard               to the

 9 log s that have been talk ed about the -- Mis cellaneous                8

10 and 9.

11          MS. JOHNSTON:       Mi sce llaneous    9 and 10 .

12          MR. MCKNETT :     Miscellaneous       9 and 10 .

13          BY MR . MCKNETT :

14 Q.       I believe     you said you re view ed all the log

15 entri es ; correct ?

16 A.       That was part of my daily du ties was to re view

17 the log s on previous      day s an d listen    to the log s, yes .

18 Q.       The log s were prepared       by call people        who were

19 actual ly listen ing to the conversation ; correct ?

20 A.       Yes .

21 Q.       And as they mention ed , they would take note s as

22 to what was goin g on in the conversation s; correct ?

23 A.       Yes .

24 Q.       At the end of the      day or the next day , as you

25 said you would listen       to the same call s; correct ?




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 1 A.         Either   that day or the next day , yes .

 2 Q.         And then you would compare      what you heard with

 3 what the -- monitoring       agent , is that what you call it ?

 4 A.         A monitor .

 5 Q.         A monitor .   You would re view what the monitor

 6 wrote in summary      fashion    about the call s; correct ?

 7 A.         As I'm re view ing the call , I'm reading      their

 8 synopsis , yes .

 9 Q.         Okay .   And as you re view ed their synopsis , if

10 you thought     you heard something     that differed     from

11 their synopsis , you would make a notation ; correct ?

12 A.         If it was significant , yes .

13 Q.         The article s of speech , you would n't worry about

14 that ?

15 A.         If it was a non -pertinent     call that was related

16 to nothing , I might not do anything .

17 Q.         But if you heard a noun that was written            one way

18 and you thought      it was a different     noun , you would      make

19 a note that you thought         it was a different    noun .     If it

20 was pertinent ?

21 A.         If it was pertinent     and it changed , you know ,

22 the mean ing of the call .        Specifically , I think I use d

23 that more to identify       people , so when I would go back

24 and look at the log s, I would n't just see un known

25 female .     I would know this call is with Becky Dobie or




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 1 whoever    because    you just go back and look at these

 2 cal ls, one un known female , the monitor          may not know the

 3 name .    It make s it difficult      to keep the call straight .

 4 Q.         In fact , there was , I think , one call when the

 5 monitor said it was -- an          un identifi ed male was using

 6 the phone at Ms. Martin's          house and you note d it was

 7 actual ly Ms. Ali 's husband        Ulysses ; correct ?

 8 A.         Yes , that 's true .

 9 Q.         In preparing   for this trial , with reference        to

10 these 48 0-some call s, you participat ed in the process

11 of select ing them ; correct ?

12 A.         Yes .

13 Q.         And then after the transcript s of those call s

14 were prepared , you re view ed them for accuracy ; correct ?

15 A.         Yes .

16 Q.         I think you said you re viewed      some of them for

17 as many as     four or five time s?

18 A.         Some of them more than that .       I've re view ed them

19 a lot .

20 Q.         Some of them , as you heard them today , well ,

21 heard them at trial , not necessarily          today , but

22 sometime     during   the course    of this trial , as you heard

23 them , you would      point out in accuraci es ?

24 A.         That 's correct .      And I hate to say it , if I

25 heard them again , I would probably          make more




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 1 correction s, yes .

 2 Q.         It 's an on going process ; correct ?

 3 A.         Yes .

 4 Q.         If kept -- if you listened         to them tonight , you

 5 might hear something        else ?

 6 A.         I would agree with that , yes .

 7 Q.         You've   testifi ed before    concern ing th e

 8 investigation;      haven't    you ?

 9 A.         Yes , I have .

10 Q.         You've   testifi ed at the grand jury about eight

11 time s?

12 A.         I don't think     that many time s, but it could be .

13 I think the number        is five in front of the      grand jury ,

14 but it may be eight .

15 Q.         Okay .   And you've    testifi ed in prior proceed ings

16 concern ing this case ; correct ?

17 A.         Testified   in one other trial , yes .

18 Q.         And your opinion s concern ing the inter action s

19 between     the defendant s in this case have remained

20 constant     and consistent      throughout   all your testimony ;

21 correct ?

22 A.         I don't know     that I've testifi ed to that , but I

23 believe     that 's probably     accurate .   I know some of the

24 earlier     grand jury proceed ings , there might be a

25 difference , but I'd have to look at the testimony .




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 1 Q.        Okay .   Now , with regard     to your testimony ,

 2 you're    testify ing as both a fact witness         and as an

 3 ex pert witness    with regard     to this case ; correct ?

 4 A.        Yes .

 5 Q.        An d when you testify     as a fact witness , you're

 6 testify ing concern ing what you know to be a fact

 7 because     you observe d it ; right ?

 8 A.          I believe   that 's a definition     of a fact

 9 witness , yes .

10 Q.        And when you testify      as an ex pert , you're

11 testify ing as to your opinion s about what was going on

12 between     the defendant s in this case ; correct ?

13 A.        Yes .

14 Q.        Your opinion s are based not only on what you

15 personally     observe d as a fact witness , but also upon

16 what you learn ed from other source s; correct ?

17 A.        Correct .

18 Q.        And upon your train ing and your expertise ;

19 correct ?

20 A.        That 's correct .

21 Q.        So for instance     --

22           THE COURT:      Mr. McKnett , are you just about at a

23 --

24           MR. MCKNETT :     I'm just about , Your Honor .        If I

25 can finish     this one little     section .




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 1            THE COURT:      You may finish   that one section .

 2            BY MR. MCKNETT :

 3 Q.         So when you testifi ed , for instance , that on May

 4 29 , 2004 , in Call No. B8110 on Page 612 -- if you want

 5 to look it up , that 's fine .

 6 A.         Yes .

 7 Q.         Do you have it there ?

 8 A.         Yes , I do .

 9 Q.         It 's fair to say you testifi ed as a fact witness

10 that Ms. Ali told Ms. Martin         that she need ed another

11 dress ; correct ?       That 's what she said ?

12 A.         Yes .

13 Q.         But then you further     testifi ed as an ex pert that

14 that somehow       meant that what Ms. Ali meant was that she

15 was tell ing Ms. Martin       that she want ed a quantity       of

16 drug s; correct ?

17 A.         Correct .

18 Q.         And you are so sure of your ex pert opinion s

19 that , as you said earlier , that in the over whe lming

20 majority     of the conversation s, you know exact ly what

21 the people     are talk ing about to a moral certainty ;

22 correct ?

23 A.         Yes .

24            MR. MCKNETT :     Your Honor , this would be a good

25 spot .




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 1          THE COURT :     All right .    Ladies and gentlemen       ,

 2 recess   now until 10 o'clock       on Wednesday .     I want to

 3 thank you , as I said at the be ginning          of the trial and

 4 I will   tell you again now and at the end of the            trial ,

 5 for your service .      I know what a sacrifice        this is .

 6 I'm sure that July 4th this year will have a special

 7 mean ing for you in light of what I told you about the

 8 declaration    of in dependence , whose an niversary        we

 9 celebrate , about the      right of trial by jury being taken

10 away by the King of England .          You now know one of the

11 basic princip le s of the Declaration         of Independence ,

12 and I thank you for your service .

13          Please remember , and this is a long weekend              an d

14 people   may want to talk to you about what on earth

15 you've   been do in g, that you should n't discuss         this case

16 with anyone    else nor among yourselves         until you have

17 ass embled   together   as a deliberati ng jury at the end             of

18 the case .    Thank you very much .       Have a nice 4th of

19 July weekend .

20                  (Jury excused     at 2:04 p.m. )

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 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap, RPR, CRR, an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, Criminal Action Number            RWT -04-0235 on

10 June 30 , 2006.

11

12       I further certify that the foregoing            179 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this 21st day of April 2008.

19

20

21                                    __________________________

22                                    TRACY RAE DUNLAP, RPR , CRR
                                      OFFICIAL COURT REPORTER
23

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